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            7KH 32 %R[ VHUYHV DV D ORFDWLRQ IRU &ODVV 0HPEHUV WR VXEPLW &ODLP )RUPV

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DQ LQWHUDFWLYH YRLFH UHVSRQVH ³,95´  V\VWHP ZKHUH &ODVV 0HPEHUV FDQ REWDLQ HVVHQWLDO

LQIRUPDWLRQUHJDUGLQJWKH6HWWOHPHQWDQGEHSURYLGHGUHVSRQVHVWRIUHTXHQWO\DVNHGTXHVWLRQV

&ODVV0HPEHUVKDYHWKHRSWLRQWROHDYHDYRLFHPDLODQGUHFHLYHDFDOOEDFNIURPWKHFDOOFHQWHU

UHSUHVHQWDWLYH 7KH WROOIUHH KRWOLQH DSSHDUHG LQ WKH 1RWLFH RI &ODVV $FWLRQ 6HWWOHPHQW DQG LQ

PXOWLSOHORFDWLRQVRQWKH6HWWOHPHQW:HEVLWH$VRI1RYHPEHUWKHWROOIUHHKRWOLQHKDV

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SURFHVVFRQVLGHUDWLRQVXQGHUWKH8QLWHG6WDWHV&RQVWLWXWLRQDQGE\FDVHODZSHUWDLQLQJWRWKH

UHFRJQL]HGQRWLFHVWDQGDUGVXQGHUUHOHYDQW1RUWKHUQ'LVWULFWRI&DOLIRUQLDDQG)HGHUDO5XOHVRI


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&LYLO3URFHGXUH5XOH ³)5&3´ 7KLVIUDPHZRUNGLUHFWVWKDWWKHQRWLFHSODQEHRSWLPL]HG

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LWVHOI QRW OLPLW NQRZOHGJH RI OHJDO ULJKWV²QRU WKH DELOLW\ WR H[HUFLVH RWKHU RSWLRQV²WR FODVV

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VHDUFKDGYHUWLVLQJWKLUGSDUW\FODVVDFWLRQZHEVLWHV6HWWOHPHQW:HEVLWHWROOIUHHKRWOLQH SUHVV

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FRQWDLQHGLQWKH&ODLP)RUP7KHRQOLQH&ODLP)RUPZDVGHVLJQHGWRVWUHDPOLQHWKHSURFHVVWKDW

DOORZHG &ODVV 0HPEHUV WR VHOHFW 3URGXFWV SXUFKDVHG DQG SURYLGH WKH UHTXLUHG SXUFKDVH

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                           7DEOH&ODLPV6WDWLVWLFV DVRI1RYHPEHU 
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VDIHJXDUGV WR HQVXUH WKDW &ODLPV WKDW KDG LQGLFDWLRQV RI DXWRPDWLRQ ZHUH VXEPLWWHG E\ UHDO
SHUVRQV,QWHUQHW3URWRFRO$GGUHVVYDOLGDWLRQDVZHOODVHPDLODQGGLJLWDOSD\PHQWYHULILFDWLRQV
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  3 1LGHQWLILHGDQGSURFHVVHGGXSOLFDWHFODLPVE\DJJUHJDWLQJWKHSURGXFWVFODLPHGIRUDOOFODLP
VXEPLVVLRQVZLWKLQHDFK³GXSOLFDWHJURXS´VXEPLWWHGE\D&ODLPDQW DJURXSRI&ODLPVVXEPLWWHG
ZLWK WKH VDPH &ODLPDQW QDPH DQG DGGUHVV  WR DUULYH DW WKH WRWDO SURGXFWV FODLPHG IRU HDFK
GXSOLFDWH JURXS 3 1 WKHQ FDOFXODWHG WKH PD[LPXP DOORZDEOH SURGXFWV IRU DQ DWWHVWHG &ODLP
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RISXUFKDVHIRUZKLFKWKHGRFXPHQWVVXEPLWWHGE\WKH&ODLPDQWGLGQRWVXEVWDQWLDWHWKHSURGXFWV
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WRVXEVWDQWLDWHWKHSURGXFWVFODLPHGDVUHTXLUHGE\WKHWHUPVRIWKH6HWWOHPHQW$JUHHPHQWDQGWKH

3UHOLPLQDU\ $SSURYDO 2UGHU  1HDUO\ DOO RI WKHVH GHILFLHQW &ODLPV ZHUH IRXQG WR EH GHILFLHQW

EHFDXVH  WKHGRFXPHQWVVXEPLWWHGDV³SURRIRISXUFKDVH´GLGQRWHYHQUHPRWHO\DSSUR[LPDWH

SURRIRIDQ\SXUFKDVHRIWKHUHOHYDQWSURGXFWVRU  QRSURRIRISXUFKDVHZDVVXEPLWWHG$OO

GHILFLHQW&ODLPVZHUHVHQWDQRWLILFDWLRQRIWKH&ODLPV$GPLQLVWUDWRU¶VGHWHUPLQDWLRQUHJDUGLQJ

WKHLU &ODLP GHILFLHQF\ DQG ZHUH SURYLGHG DQ RSSRUWXQLW\ WR FXUH WKH GHIHFW EHIRUH D ILQDO

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FODLPDQW LQ UHVSRQVH WR WKH GHILFLHQF\ QRWLFH &ODLPDQWV ZKR GR QRW FXUH WKH GHILFLHQF\ ZLOO

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'HSHQGLQJ RQ WKH QXPEHU RI GHILFLHQFLHV WKDW DUH FXUHG E\ &ODLPDQW UHVSRQVHV DQG WKH ILQDO

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GRVR2Q1RYHPEHU&ODVV&RXQVHOQRWLILHGWKH&RXUWE\ILOLQJDOHWWHUGilmore, et al.

v. Monsanto Co., No. 3:21-cv-08159-VC - Claims Form on Settlement Website WKH ³/HWWHU´ 

3XUVDQWWRWKH/HWWHU3 1KDVQRWLILHGLQGLYLGXDOVZKRVWDUWHGD&ODLPLQWKHKRXUVEHIRUH

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DVNHG WR SURYLGH WKHLU QDPH HPDLO DGGUHVV DQG DWWHVW YLD DQLQWHUDFWLYH FKHFN ER[ WKDW WKH\

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VXEPLW D ZULWWHQ REMHFWLRQ DV D SUHUHTXLVLWH WR DSSHDULQJ EHIRUH WKH &RXUW WR REMHFW WR WKH

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                                assurance – consulting – tax – technology

                                                               pncpa.com




Exhibit A: CAFA Notice
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                                                                                         JOHN J. ROSENTHAL
                                                                                                            Partner
                                                                                                      202-282-5785
                                                                                            jrosenthal@winston.com




June 21, 2021


VIA CERTIFIED MAIL OR FEDERAL EXPRESS

To: State and Federal Officials pursuant to 28 U.S.C. § 1715 (see enclosed distribution list)

       Re:      CAFA Notices for the Proposed Settlement in Scott Gilmore et al. v. Monsanto
                Company, Case No. 20-1085-MN, U.S. District Court for the District of Delaware

Dear Attorney General:

        Pursuant to the federal Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715, Defendant
Monsanto Company (“Monsanto”) hereby notifies you of the proposed settlement in the above-captioned
action (“Gilmore”) currently pending in the United States District Court for the District of Delaware, before
the Honorable Maryellen Noreika.

       This action relates to allegations of false advertising regarding certain Roundup®, Ace®, and
HDX® brand herbicide products. Plaintiffs allege that Monsanto unlawfully failed to warn consumers that
these products pose certain health risks, including that the products allegedly increase the risk of cancer.
Monsanto denies these allegations and any wrongdoing. However, viewing settlement of these claims as
being in the best interest of its business, and to avoid burdensome and costly litigation, Monsanto has
agreed to settle this matter on a nationwide basis.

       For purposes of the proposed settlement, the Settlement Class is defined as:

                [A]ll Persons in the United States who, during the Class Period, purchased Products
                [] in the United States other than for resale or distribution. Excluded from the
                Settlement Class are (i) judicial officers and associated court staff assigned to [the
                Gilmore] case, and their immediate family members; (ii) past and present (as of the
                Effective Date) officers, directors, and employees of Monsanto; [and] (iii) all those
                otherwise in the Settlement Class who timely and properly exclude themselves from
                the Settlement Class pursuant to this Agreement and in the manner approved by the
                Court and set forth in the Class Notice.

The “Class Period” is separately defined for each state by reference to the applicable statute of
limitations for false-advertising or breach-of-warranty claims (whichever is longer) in that state
(accounting for any COVID-related tolling and any tolling as a result of related cases). The Class
Period for each state is defined in Exhibit B to the Settlement Agreement. The “Products” are a
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                                                                                                  Page 2


defined set of products, set forth in Exhibit A to the Settlement Agreement, which include all
Roundup®, Ace®, and HDX® brand glyphosate-containing herbicide products manufactured by
Monsanto and marketed to consumers during the Class Period.

       Pursuant to 28 U.S.C. § 1715(b), please find enclosed a CD containing, and paper copies of, the
following materials related to the proposed settlement:

       1.      Copy of the complaint, any amended complaints, and any materials filed with the
               complaints. See 28 U.S.C. § 1715(b)(1).

       Enclosed is the Complaint, dated August 19, 2020; the First Amended Complaint, dated January
12, 2021; and the operative Second Amended Complaint, dated June 11, 2021.

       2.      Notice of any scheduled judicial hearing in the class action. See 28 U.S.C. § 1715(b)(2).

       No hearing has yet been scheduled.

       3.      Any proposed or final notification to class members of a proposed settlement and right
               to request exclusion from the class action. See 28 U.S.C. § 1715(b)(3).

        Enclosed is a copy of the Declaration of Brandon Schwartz Regarding Proposed Notice Plan (the
“Schwartz Declaration”), which was filed concurrently with Plaintiffs’ Motion for Preliminary Approval
of Class Action Settlement and for Certification of the Class For the Purposes of Settlement (“Plaintiffs’
Motion”). See Dkt. No. 28. The Schwartz Declaration describes the proposed notice plan. Exhibits C-E
to the Schwartz Declaration are, respectively, the Proposed Publication Notice (a short-form notice), the
proposed Class Action Settlement Notice (a long-form notice), and samples of display and social-media
banner notices that will direct potential Class Members to the Settlement Website (which shall include
copies of the proposed notices and other information on the settlement). The proposed notifications inform
potential Class Members of the terms of the proposed settlement and of their rights and legal options.

       4.      Any proposed or final class action settlement. See 28 U.S.C. § 1715(b)(4).

        Enclosed is a copy of the Class Action Settlement Agreement, which was filed concurrently with
Plaintiffs’ Motion. Dkt. No. 26-1.
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                                                                                                       Page 3


       5.      Any settlement or other agreement contemporaneously made between Class Counsel
               and Counsel for the defendants. See 28 U.S.C. § 1715(b)(5).

      There are no additional settlement or other contemporaneous agreements made between Class
Counsel and counsel for Monsanto in this matter.

       6.      Any final judgment or notice of dismissal. See 28 U.S.C. § 1715(b)(6).

       To date, neither a final judgment nor a notice of dismissal has been entered in this matter.

       7.      Names of class members who reside in each State and estimated proportionate share
               of the claims of such members to the entire settlement. See 28 U.S.C. § 1715(b)(7).

       It is not feasible at this time to ascertain with certainty the names and current addresses of potential
Settlement Class Members or their estimated shares of the settlement.

       8.      Any written judicial opinion relating to the materials described under subparagraphs
               (3) through (6). See 28 U.S.C. § 1715(b)(8).

       To date, there are no written judicial opinions relating to the settlement materials described above.


       If you have any questions about this notice or the above-referenced litigation, please contact the
undersigned counsel for Monsanto.


                                               Sincerely,
                                               John J. Rosenthal
                                               John J. Rosenthal
                                                             Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 17 of 211


                                                                                                              CAFA Notice Service List
Name 1                                         Name 2                    Address1                                          Address2                                Address3       City             State   Zip          Mail Date 1 Mail Date 2    Delivery Date
Office of the Attorney General                 CAFA Notice               1031 W. 4th Avenue, Suite 200                                                                            Anchorage        AK      99501‐1994     6/18/2021                   6/24/2021
Office of the Attorney General                 CAFA Notice               501 Washington Avenue                             PO Box 300152                                          Montgomery       AL      36104          6/18/2021                   6/23/2021
Office of the Attorney General                 CAFA Notice               323 Center Street, Suite 200                                                                             Little Rock      AR      72201‐2610     6/18/2021                   6/24/2021
Office of the Attorney General                 CAFA Notice               PO Box 7                                                                                                 Pago Pago        AS      96799           6/18/2021   7/29/2021      9/10/2021
Office of the Attorney General                 CAFA Notice               2005 N Central Ave                                                                                       Phoenix          AZ      85004‐2926      6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               CAFA Coordinator, Consumer Law Section            455 Golden Gate Avenue, Suite 11000                    San Francisco    CA      94102           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               Ralph L. Carr Colorado Judicial Center            1300 Broadway, 10th Floor                              Denver           CO      80203           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               165 Capitol Avenue                                                                                       Hartford         CT      06106           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               441 4th Street NW, Suite 1100S                                                                           Washington       DC      20001           6/18/2021                  6/24/2021
United States Office of the Attorney General   CAFA Notice               US Department of Justice                          950 Pennsylvania Ave, NW                               Washington       DC      20530‐0001      6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               820 North French Street                           6th Floor                                              Wilmington       DE      19801           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               The Capitol                                       PL‐01                                                  Tallahassee      FL      32399‐1050      6/18/2021                  6/28/2021
Office of the Attorney General                 CAFA Notice               40 Capitol Square SW                                                                                     Atlanta          GA      30334           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               Administrative Division                           590 S. Marine Corps Dr., Suite 901                     Tamuning         GU      96913           6/18/2021                  6/26/2021
Department of the Attorney General             CAFA Notice               425 Queen Street                                                                                         Honolulu         HI      96813           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               Hoover State Office Building                      1305 East Walnut Street                                Des Moines       IA      50319           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               954 West Jefferson Street, 2nd floor              PO Box 83720                                           Boise            ID      83720‐0010      6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               100 West Randolph Street                                                                                 Chicago          IL      60601           6/18/2021                  6/28/2021
Office of the Attorney General                 CAFA Notice               Indiana Government Center South                   302 West Washington Street, 5th Floor                  Indianapolis     IN      46204           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               120 SW 10th Ave, 2nd Floor                                                                               Topeka           KS      66612‐1597      6/18/2021                  6/29/2021
Office of the Attorney General                 CAFA Notice               700 Capitol Avenue, Suite 118                                                                            Frankfort        KY      40601‐3449      6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               PO Box 94005                                                                                             Baton Rouge      LA      70804           6/18/2021                  6/22/2021
Office of the Attorney General                 CAFA Notice               ATTN: CAFA Coordinator/General Counsel's Office   One Ashburton Place                                    Boston           MA      02108           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               200 St. Paul Place                                                                                       Baltimore        MD      21202           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               6 State House Station                                                                                    Augusta          ME      04333           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               G. Mennen Williams Building                       525 West Ottawa Street                  PO Box 30212   Lansing          MI      48909           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               445 Minnesota Street, Suite 1400                                                                         St Paul          MN      55101‐2131      6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               Supreme Court Building                            207 West High Street                                   Jefferson City   MO      65102           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               Administrative Building                           PO Box 10007                                           Saipan           MP      96950           6/18/2021                   7/2/2021
Office of the Attorney General                 CAFA Notice               Walter Sillers Building                           550 High Street, Suite 11                              Jackson          MS      39201           6/18/2021                  6/29/2021
Office of the Attorney General                 CAFA Notice               Justice Building Third Floor                      215 North Sanders                                      Helena           MT      59601           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               ATTN: Consumer Protection                         114 West Edenton Street                                Raleigh          NC      27603           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               State Capitol                                     600 East Boulevard Avenue, Dept. 125                   Bismarck         ND      58505           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               2115 State Capitol                                PO Box 98920                                           Lincoln          NE      68509           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               33 Capitol Street                                                                                        Concord          NH      03301           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               RJ Hughes Justice Complex                         25 Market Street                        PO BOX 080     Trenton          NJ      08625‐0080      6/18/2021                  6/25/2021
Office of the Attorney General                 CAFA Notice               ATTN: Farrah Diaz, Paralegal                      201 3rd St NW, Suite 300                               Albuquerque      NM      87102           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               Old Supreme Court Building                        100 North Carson Street                                Carson City      NV      89701           6/18/2021   7/29/2021       8/4/2021
Office of the Attorney General                 CAFA Notice               Office of the Attorney General                    The Capitol                                            Albany           NY      12224‐0341      6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               State Office Tower                                30 East Broad Street, 14th Floor                       Columbus         OH      43215           6/18/2021                  6/25/2021
Office of the Attorney General                 CAFA Notice               313 NE 21st Street                                                                                       Oklahoma City    OK      73105           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               Oregon Department of Justice                      1162 Court Street NE                                   Salem            OR      97301‐4096      6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               16th Floor, Strawberry Square                                                                            Harrisburg       PA      17120           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               PO Box 9020192                                                                                           San Juan         PR      00902‐0192      6/18/2021                  6/28/2021
Office of the Attorney General                 CAFA Notice               ATTN: Lisa Pinsonneault/CAFA Notice               150 South Main Street                                  Providence       RI      02903           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               PO Box 11549                                                                                             Columbia         SC      29211‐1549      6/18/2021                  6/28/2021
Office of the Attorney General                 CAFA Notice               1302 E. Highway 14, Suite 1                                                                              Pierre           SD      57501‐8501      6/18/2021                  6/24/2021
Office of the Attorney General and Reporter    CAFA Notice               PO Box 20207                                                                                             Nashville        TN      37202           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               Capitol Station                                   PO Box 12548                                           Austin           TX      78711‐2548      6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               Utah State Capitol Complex                        350 North State Street, Suite 230                      Salt Lake City   UT      84114‐2320      6/18/2021                  6/28/2021
Office of the Attorney General                 CAFA Notice               202 North Ninth Street                                                                                   Richmond         VA      23219           6/18/2021                  6/28/2021
Office of the Attorney General                 CAFA Notice               34‐38 Kronprindsens Gade                          Gers Building, 2nd Floor                               St Thomas        VI      00802           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               109 State Street                                                                                         Montpelier       VT      05609           6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               1125 Washington Street SE                         PO Box 40100                                           Olympia          WA      98504‐0100      6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               Wisconsin Department of Justice                   PO Box 7857                                            Madison          WI      53707‐7857      6/18/2021                  6/24/2021
Office of the Attorney General                 CAFA Notice               State Capitol                                     Building 1, Room E‐26                                  Charleston       WV      25305           6/18/2021                  6/23/2021
Office of the Attorney General                 CAFA Notice               Kendrick Building                                 2320 Capital Avenue                                    Cheyenne         WY      82002           6/18/2021                  6/24/2021
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                                assurance – consulting – tax – technology

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Exhibit B: Publication Notice
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                   Name: Cover Sub Blue
                   Color: 4




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Exhibit C: Digital Banner Notice
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Exhibit D: Digital Newsletter Notice
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From:                           Better Homes & Gardens - Partner Offers <BHG@specialoffers.meredith.com>
Sent:                           Wednesday, July 27, 2022 7:01 AM
To:
Subject:                        If You Purchased Certain Roundup®, HDX®, or Ace® Weed & Grass Killer Products




                          You may be entitled to get a payment from a class action settlement.
                                                    View in Browser




    Dear Better Homes & Gardens member:
    We're always searching for special offers to benefit Better Homes & Gardens members. Here's an offer
    from one of our partners that we thought might interest you.


     If You Purchased Certain Roundup , HDX , or Ace Weed & Grass
                                                                ®          ®              ®


     Killer Products, You May Be Entitled To A Cash Payment From A
                    Proposed Class Action Settlement

                                             SUBMIT A CLAIM
                               Documentation May be Required for Some Claims


     CLASS MEMBERS WILL RETAIN THEIR RIGHT TO SUE IF THEY CURRENTLY HAVE, OR
   LATER DEVELOP, CANCER OR ANY OTHER ILLNESS OR INJURY FROM EXPOSURE TO THE
                                                   PRODUCTS.



    This Settlement resolves a class action lawsuit, Scott Gilmore et al. v. Monsanto Company, et al . (No.
    3:21-cv-8159), pending in the United States District Court for the Northern District of California (the
    “Court”) against Monsanto Company, the manufacturer of certain Roundup ®, Ace®, and HDX® weed
    and grass killer products (the “Products”).

    The lawsuit alleges that Monsanto falsely advertised and promoted the Products by failing to disclose
    that they, and their active ingredient, glyphosate, could potentially cause cancer or other adverse health
    effects. Monsanto denies these allegations and any wrongdoing. The Settlement avoids costs and risks
    from continuing the lawsuit, provides relief to purchasers of the Products during the relevant time
    period, and releases Monsanto and others from liability for related claims.

                                               Who’s Included?

                                                           1
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You may be a Settlement Class Member entitled to a cash payment if you purchased certain Roundup®,
HDX®, or Ace® brand weed and grass killer products containing glyphosate sold by consumer retailers
during the relevant time period. This case is not a personal-injury case. Plaintiffs do not allege that they
were injured or became ill from exposure to the Products. You do not have to have suffered personal
injury to be a member of the Settlement Class or to file a claim. If you purchased any of the Products
during the Class Period for purposes other than resale or distribution, you are in the Settlement Class
and can make a claim.

The time period during which purchases are included in this Settlement differs from state to state,
depending on each state’s statutes of limitations. Visit the Settlement Website at
www.WeedKillerAdSettlement.com for a complete list of the eligible Products and to determine if your
purchase(s) are eligible for compensation.

                            What Does The Settlement Provide?
The proposed Class Action Settlement Agreement (“Settlement” or “Agreement”) will provide the Class with
monetary relief in an amount not less than $23 million (the “Floor Amount”) and not greater than $45
million (the “Ceiling Amount”) to pay all aspects of the Settlement. Class Members will be able to make
claims for payments for the qualifying Products they bought during the Class Period, equivalent to
approximately 20% of their weighted average retail price during the relevant Class Period. Payments per
unit range from $0.50 to $33.00, for between 2 and 11 units without proof of purchase, depending on the
state of purchase (you may be able to exceed the applicable limits with valid proof of purchase). If the Court
approves the Settlement and you have not excluded yourself as described below, you will be bound by the
Settlement and barred from suing Monsanto and related entities for the claims released in the Settlement.
The Released Claims are described in detail at www.WeedKillerAdSettlement.com.


                              What Are My Rights And Options?
Make a Claim. You must submit a claim by going to www.WeedKillerAdSettlement.com and
submitting (or mailing) a claim form. Class Members may make a claim by either an affirmation of the
identity and quantity purchased or submitting proof(s) of purchase. The deadline to postmark or
submit your claim online is October 19, 2022.

Other Options. The purpose of this Notice is to inform you of this lawsuit so you can make an
informed decision as to whether you should remain in or opt out of this Settlement. Your legal rights
are affected, and you have a choice to make now. If you do not want to be legally bound by the
Settlement, you must exclude yourself by October 19, 2022. If you do not exclude yourself, you will
release any claims you may have, as more fully described in the Settlement Agreement, available at
www.WeedKillerAdSettlement.com. You may remain a Settlement Class Member and object to the
Settlement by December 5, 2022. You may choose to pay for and be represented by a lawyer who
may send the objection for you. The Settlement Website explains how to exclude yourself or object.




                                                      2
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The Court will hold a Final Approval Hearing on January 12, 2023, at 2:30 p.m. to consider whether to
approve the Settlement, attorneys’ fees and expenses, and Class Representative service awards. You
may ask the Court to appear at the Final Approval Hearing, but you do not have to appear at the hearing.

                              How Can I Get More Information?
This notice summarizes the proposed Settlement. For detailed information, visit the Settlement
Website, contact the Claims Administrator at (833) 749-1489, contact Class Counsel at (310) 396-9600,
or access the Court docket in this case, for a fee, through the Court’s Public Access to Court Electronic
Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the
Court for the United States District Court for the Northern District of California, between 9:00 a.m. and
4:00 p.m., Monday through Friday, excluding Court holidays.




                                                Unsubscribe

          This email was sent to bschwartz@pncpa.com | Was this email forwarded to you? Subscribe here


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                                        Privacy Policy | Terms of Service




                                                        3
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From:                           Better Homes & Gardens - Partner Offers <BHG@specialoffers.meredith.com>
Sent:                           Wednesday, August 3, 2022 7:02 AM
To:
Subject:                        If You Purchased Certain Roundup®, HDX®, or Ace® Weed & Grass Killer Products




                          You may be entitled to get a payment from a class action settlement.
                                                    View in Browser




    Dear Better Homes & Gardens member:
    We're always searching for special offers to benefit Better Homes & Gardens members. Here's an offer
    from one of our partners that we thought might interest you.


     If You Purchased Certain Roundup , HDX , or Ace Weed & Grass
                                                                ®          ®              ®


     Killer Products, You May Be Entitled To A Cash Payment From A
                    Proposed Class Action Settlement

                                             SUBMIT A CLAIM
                               Documentation May be Required for Some Claims


     CLASS MEMBERS WILL RETAIN THEIR RIGHT TO SUE IF THEY CURRENTLY HAVE, OR
   LATER DEVELOP, CANCER OR ANY OTHER ILLNESS OR INJURY FROM EXPOSURE TO THE
                                                   PRODUCTS.



    This Settlement resolves a class action lawsuit, Scott Gilmore et al. v. Monsanto Company, et al . (No.
    3:21-cv-8159), pending in the United States District Court for the Northern District of California (the
    “Court”) against Monsanto Company, the manufacturer of certain Roundup ®, Ace®, and HDX® weed
    and grass killer products (the “Products”).

    The lawsuit alleges that Monsanto falsely advertised and promoted the Products by failing to disclose
    that they, and their active ingredient, glyphosate, could potentially cause cancer or other adverse health
    effects. Monsanto denies these allegations and any wrongdoing. The Settlement avoids costs and risks
    from continuing the lawsuit, provides relief to purchasers of the Products during the relevant time
    period, and releases Monsanto and others from liability for related claims.

                                               Who’s Included?

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You may be a Settlement Class Member entitled to a cash payment if you purchased certain Roundup®,
HDX®, or Ace® brand weed and grass killer products containing glyphosate sold by consumer retailers
during the relevant time period. This case is not a personal-injury case. Plaintiffs do not allege that they
were injured or became ill from exposure to the Products. You do not have to have suffered personal
injury to be a member of the Settlement Class or to file a claim. If you purchased any of the Products
during the Class Period for purposes other than resale or distribution, you are in the Settlement Class
and can make a claim.

The time period during which purchases are included in this Settlement differs from state to state,
depending on each state’s statutes of limitations. Visit the Settlement Website at
www.WeedKillerAdSettlement.com for a complete list of the eligible Products and to determine if your
purchase(s) are eligible for compensation.

                            What Does The Settlement Provide?
The proposed Class Action Settlement Agreement (“Settlement” or “Agreement”) will provide the Class with
monetary relief in an amount not less than $23 million (the “Floor Amount”) and not greater than $45
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unit range from $0.50 to $33.00, for between 2 and 11 units without proof of purchase, depending on the
state of purchase (you may be able to exceed the applicable limits with valid proof of purchase). If the Court
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The Released Claims are described in detail at www.WeedKillerAdSettlement.com.


                              What Are My Rights And Options?
Make a Claim. You must submit a claim by going to www.WeedKillerAdSettlement.com and
submitting (or mailing) a claim form. Class Members may make a claim by either an affirmation of the
identity and quantity purchased or submitting proof(s) of purchase. The deadline to postmark or
submit your claim online is October 19, 2022.

Other Options. The purpose of this Notice is to inform you of this lawsuit so you can make an
informed decision as to whether you should remain in or opt out of this Settlement. Your legal rights
are affected, and you have a choice to make now. If you do not want to be legally bound by the
Settlement, you must exclude yourself by October 19, 2022. If you do not exclude yourself, you will
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       Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 59 of 211


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This notice summarizes the proposed Settlement. For detailed information, visit the Settlement
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Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the
Court for the United States District Court for the Northern District of California, between 9:00 a.m. and
4:00 p.m., Monday through Friday, excluding Court holidays.




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From:                           Southern Living - Partner Offers <SouthernLiving@specialoffers.meredith.com>
Sent:                           Wednesday, July 27, 2022 7:00 AM
To:
Subject:                        If You Purchased Certain Roundup®, HDX®, or Ace® Weed & Grass Killer Products




                          You may be entitled to get a payment from a class action settlement.
                                                    View in Browser




    Dear Southern Living member:
    We're always searching for special offers to benefit Southern Living members. Here's an offer from one of
    our partners that we thought might interest you.


     If You Purchased Certain Roundup , HDX , or Ace Weed & Grass
                                                                ®          ®              ®


     Killer Products, You May Be Entitled To A Cash Payment From A
                    Proposed Class Action Settlement

                                             SUBMIT A CLAIM
                               Documentation May be Required for Some Claims


     CLASS MEMBERS WILL RETAIN THEIR RIGHT TO SUE IF THEY CURRENTLY HAVE, OR
   LATER DEVELOP, CANCER OR ANY OTHER ILLNESS OR INJURY FROM EXPOSURE TO THE
                                                   PRODUCTS.



    This Settlement resolves a class action lawsuit, Scott Gilmore et al. v. Monsanto Company, et al . (No.
    3:21-cv-8159), pending in the United States District Court for the Northern District of California (the
    “Court”) against Monsanto Company, the manufacturer of certain Roundup ®, Ace®, and HDX® weed
    and grass killer products (the “Products”).

    The lawsuit alleges that Monsanto falsely advertised and promoted the Products by failing to disclose
    that they, and their active ingredient, glyphosate, could potentially cause cancer or other adverse health
    effects. Monsanto denies these allegations and any wrongdoing. The Settlement avoids costs and risks
    from continuing the lawsuit, provides relief to purchasers of the Products during the relevant time
    period, and releases Monsanto and others from liability for related claims.


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        Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 63 of 211



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Other Options. The purpose of this Notice is to inform you of this lawsuit so you can make an
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       Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 64 of 211



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Court for the United States District Court for the Northern District of California, between 9:00 a.m. and
4:00 p.m., Monday through Friday, excluding Court holidays.




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From:                           Southern Living - Partner Offers <SouthernLiving@specialoffers.meredith.com>
Sent:                           Wednesday, August 3, 2022 8:01 AM
To:
Subject:                        If You Purchased Certain Roundup®, HDX®, or Ace® Weed & Grass Killer Products




                          You may be entitled to get a payment from a class action settlement.
                                                    View in Browser




    Dear Southern Living member:
    We're always searching for special offers to benefit Southern Living members. Here's an offer from one of
    our partners that we thought might interest you.


     If You Purchased Certain Roundup , HDX , or Ace Weed & Grass
                                                                ®          ®              ®


     Killer Products, You May Be Entitled To A Cash Payment From A
                    Proposed Class Action Settlement

                                             SUBMIT A CLAIM
                               Documentation May be Required for Some Claims


     CLASS MEMBERS WILL RETAIN THEIR RIGHT TO SUE IF THEY CURRENTLY HAVE, OR
   LATER DEVELOP, CANCER OR ANY OTHER ILLNESS OR INJURY FROM EXPOSURE TO THE
                                                   PRODUCTS.



    This Settlement resolves a class action lawsuit, Scott Gilmore et al. v. Monsanto Company, et al . (No.
    3:21-cv-8159), pending in the United States District Court for the Northern District of California (the
    “Court”) against Monsanto Company, the manufacturer of certain Roundup ®, Ace®, and HDX® weed
    and grass killer products (the “Products”).

    The lawsuit alleges that Monsanto falsely advertised and promoted the Products by failing to disclose
    that they, and their active ingredient, glyphosate, could potentially cause cancer or other adverse health
    effects. Monsanto denies these allegations and any wrongdoing. The Settlement avoids costs and risks
    from continuing the lawsuit, provides relief to purchasers of the Products during the relevant time
    period, and releases Monsanto and others from liability for related claims.


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                                           Who’s Included?
You may be a Settlement Class Member entitled to a cash payment if you purchased certain Roundup®,
HDX®, or Ace® brand weed and grass killer products containing glyphosate sold by consumer retailers
during the relevant time period. This case is not a personal-injury case. Plaintiffs do not allege that they
were injured or became ill from exposure to the Products. You do not have to have suffered personal
injury to be a member of the Settlement Class or to file a claim. If you purchased any of the Products
during the Class Period for purposes other than resale or distribution, you are in the Settlement Class
and can make a claim.

The time period during which purchases are included in this Settlement differs from state to state,
depending on each state’s statutes of limitations. Visit the Settlement Website at
www.WeedKillerAdSettlement.com for a complete list of the eligible Products and to determine if your
purchase(s) are eligible for compensation.

                            What Does The Settlement Provide?
The proposed Class Action Settlement Agreement (“Settlement” or “Agreement”) will provide the Class with
monetary relief in an amount not less than $23 million (the “Floor Amount”) and not greater than $45
million (the “Ceiling Amount”) to pay all aspects of the Settlement. Class Members will be able to make
claims for payments for the qualifying Products they bought during the Class Period, equivalent to
approximately 20% of their weighted average retail price during the relevant Class Period. Payments per
unit range from $0.50 to $33.00, for between 2 and 11 units without proof of purchase, depending on the
state of purchase (you may be able to exceed the applicable limits with valid proof of purchase). If the Court
approves the Settlement and you have not excluded yourself as described below, you will be bound by the
Settlement and barred from suing Monsanto and related entities for the claims released in the Settlement.
The Released Claims are described in detail at www.WeedKillerAdSettlement.com.


                              What Are My Rights And Options?
Make a Claim. You must submit a claim by going to www.WeedKillerAdSettlement.com and submitting
(or mailing) a claim form. Class Members may make a claim by either an affirmation of the identity and
quantity purchased or submitting proof(s) of purchase. The deadline to postmark or submit your claim
online is October 19, 2022.


Other Options. The purpose of this Notice is to inform you of this lawsuit so you can make an
informed decision as to whether you should remain in or opt out of this Settlement. Your legal rights
are affected, and you have a choice to make now. If you do not want to be legally bound by the
Settlement, you must exclude yourself by October 19, 2022. If you do not exclude yourself, you will
release any claims you may have, as more fully described in the Settlement Agreement, available at
www.WeedKillerAdSettlement.com. You may remain a Settlement Class Member and object to the
Settlement by December 5, 2022. You may choose to pay for and be represented by a lawyer who
may send the objection for you. The Settlement Website explains how to exclude yourself or object.

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The Court will hold a Final Approval Hearing on January 12, 2023, at 2:30 p.m. to consider whether to
approve the Settlement, attorneys’ fees and expenses, and Class Representative service awards. You
may ask the Court to appear at the Final Approval Hearing, but you do not have to appear at the hearing.

                              How Can I Get More Information?
This notice summarizes the proposed Settlement. For detailed information, visit the Settlement
Website, contact the Claims Administrator at (833) 749-1489, contact Class Counsel at (310) 396-9600,
or access the Court docket in this case, for a fee, through the Court’s Public Access to Court Electronic
Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the
Court for the United States District Court for the Northern District of California, between 9:00 a.m. and
4:00 p.m., Monday through Friday, excluding Court holidays.




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      FAMILY HANDYMAN: DIY TIPS & HINTS 8/2



BENEFIT TO HOLLAND HOUSE                          HOW IT WORKS
                                          ▪ High-click placement drives users to
                                            Holland House’s preferred landing page
▪ Reach Aspiring Home Chefs at scale        or retailer site
 with sticky and engaging messaging       ▪ Audience targeted to reach Aspiring
                                            Home Chefs
                                          ▪ User initiates to close
                                       Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 70 of 211




      FAMILY HANDYMAN: DIY TIPS & HINTS 8/11



BENEFIT TO HOLLAND HOUSE                          HOW IT WORKS
                                          ▪ High-click placement drives users to
                                            Holland House’s preferred landing page
▪ Reach Aspiring Home Chefs at scale        or retailer site
 with sticky and engaging messaging       ▪ Audience targeted to reach Aspiring
                                            Home Chefs
                                          ▪ User initiates to close
                                       Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 71 of 211




      FAMILY HANDYMAN: DIY TIPS & HINTS 8/26



BENEFIT TO HOLLAND HOUSE                          HOW IT WORKS
                                          ▪ High-click placement drives users to
                                            Holland House’s preferred landing page
▪ Reach Aspiring Home Chefs at scale        or retailer site
 with sticky and engaging messaging       ▪ Audience targeted to reach Aspiring
                                            Home Chefs
                                          ▪ User initiates to close
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Exhibit E: Sponsored Search Advertising
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Exhibit F: Third-Party Class Action Settlement
Websites
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Exhibit G: Email Notice
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Notice of Settlement - Gilmore v. Monsanto Co.

Gilmore v. Monsanto Co. Settlement Administrator<notice@pnclassaction.com>
Reply-To: info@weedkilleradsettlement.com




          If You Purchased Certain Roundup®, HDX®, or Ace® Weed
            & Grass Killer Products, You May Be Entitled To A Cash
              Payment From A Proposed Class Action Settlement

          The United States District Court authorized this Notice. It is not a solicitation from a lawyer. You
                                                 are not being sued.



                                              SUBMIT A CLAIM
                                  Documentation May be Required for Some Claims


           CLASS MEMBERS WILL RETAIN THEIR RIGHT TO SUE IF THEY CURRENTLY
            HAVE, OR LATER DEVELOP, CANCER OR ANY OTHER ILLNESS OR INJURY
                                   FROM EXPOSURE TO THE PRODUCTS.



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         disclose that they, and their active ingredient, glyphosate, could potentially cause cancer or other
         adverse health effects. Monsanto denies these allegations and any wrongdoing. The Settlement
         avoids costs and risks from continuing the lawsuit, provides relief to purchasers of the Products
         during the relevant time period, and releases Monsanto and others from liability for related
         claims.


                                               Who’s Included?
         You may be a Settlement Class Member entitled to a cash payment if you purchased certain
         Roundup®, HDX®, or Ace® brand weed and grass killer products containing glyphosate sold
         by consumer retailers during the relevant time period. This case is not a personal-injury case.
                Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 88 of 211
             Plaintiffs do not allege that they were injured or became ill from exposure to the Products. You
             do not have to have suffered personal injury to be a member of the Settlement Class or to file a
             claim. If you purchased any of the Products during the Class Period for purposes other than
             resale or distribution, you are in the Settlement Class and can make a claim.


             The time period during which purchases are included in this Settlement differs from state to
             state, depending on each state’s statutes of limitations. Visit the Settlement Website at
             www.WeedKillerAdSettlement.com for a complete list of the eligible Products and to determine if
             your purchase(s) are eligible for compensation.


                                       What Does The Settlement Provide?
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             Class with monetary relief in an amount not less than $23 million (the “Floor Amount”) and
             not greater than $45 million (the “Ceiling Amount”) to pay all aspects of the Settlement. Class
             Members will be able to make claims for payments for the qualifying Products they bought
             during the Class Period, equivalent to approximately 20% of their weighted average retail price
             during the relevant Class Period. Payments per unit range from $0.50 to $33.00, for between 2
             and 11 units without proof of purchase, depending on the state of purchase (you may be able to
             exceed the applicable limits with valid proof of purchase). If the Court approves the Settlement
             and you have not excluded yourself as described below, you will be bound by the Settlement and
             barred from suing Monsanto and related entities for the claims released in the Settlement. The
             Released Claims are described in detail at www.WeedKillerAdSettlement.com.


                                         What Are My Rights And Options?
             Make a Claim. You must submit a claim by going to www.WeedKillerAdSettlement.com and
             submitting (or mailing) a claim form. Class Members may make a claim by either an affirmation
             of the identity and quantity purchased or submitting proof(s) of purchase. The deadline to
             postmark or submit your claim online is October 19, 2022.


             Other Options. The purpose of this Notice is to inform you of this lawsuit so you can make an
             informed decision as to whether you should remain in or opt out of this Settlement. Your legal
             rights are affected, and you have a choice to make now. If you do not want to be legally bound
             by the Settlement, you must exclude yourself by October 19, 2022. If you do not exclude
             yourself, you will release any claims you may have, as more fully described in the Settlement
             Agreement, available at www.WeedKillerAdSettlement.com.


             You may remain a Settlement Class Member and object to the Settlement by December 5,
             2022. You may choose to pay for and be represented by a lawyer who may send the objection for
             you. The Settlement Website explains how to exclude yourself or object.


             The Court will hold a Final Approval Hearing on January 12, 2023, at 2:30 p.m. to consider
             whether to approve the Settlement, attorneys’ fees and expenses, and Class Representative

https://mail.google.com/mail/u/0/?ik=5abf1c1c48&view=pt&search=all&permthid=thread-f%3A1750793373156560457%7Cmsg-f%3A17507933731565… 2/3
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service awards. You may ask the Court to appear at the Final Approval Hearing, but you do not
have to appear at the hearing.


                         How Can I Get More Information?
This notice summarizes the proposed Settlement. For detailed information, visit the Settlement
Website, contact the Claims Administrator at (833) 749-1489, contact Class Counsel at (310)
396-9600, or access the Court docket in this case, for a fee, through the Court’s Public Access to
Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the
office of the Clerk of the Court for the United States District Court for the Northern District of
California, between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court holidays.




                                      Gilmore v. Monsanto Co.
                                            P.O. Box 4208
                                       Baton Rouge, LA 70821



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                                                               pncpa.com




Exhibit H: Press Release
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If You Purchased Certain Roundup®, HDX®, or Ace® Weed & Grass Killer Products, You May Be
Entitled To a Cash Payment From A Proposed Class Action Settlement
  Composite
English   PR Newswire ID: 3586519-1     Clear Time Jul 06, 2022 8:00 AM ET   View Release

Report shows data for: All 2 releases


     Pickup




                               112.9M                                                       441
                               TOTAL POTENTIAL AUDIENCE                                     TOTAL EXACT MATCHES




 TOP EXACT MATCH PICKUP



                         AP NEWS [The ...
                         24.2M visitors/month [1]


                         PR Newswire
                         7.6M visitors/month [1]


                         Seeking Alpha
                         6.4M visitors/month [1]



                         Markets Insider
                         5M visitors/month [1]


                         Benzinga
                         4M visitors/month [1]


                         KTLA [Los Ang...
                         3M visitors/month [1]



                         Morningstar
                         2.3M visitors/month [1]


                         KXAN-TV NBC-3...
                         2M visitors/month [1]


                         WFLA [Tampa, FL]
                         1.8M visitors/month [1]



                         WIVB [Buffalo...
                         1.8M visitors/month [1]


                         WJW-TV FOX-8 ...
                         1.8M visitors/month [1]


                         WGN [Chicago,...
                         1.7M visitors/month [1]



                         KDVR [Denver,...
                         1.5M visitors/month [1]


                         Nexis Newsdesk
                         1.5M visitors/month [1]


                         WXIN-TV FOX-5...
                         1.4M visitors/month [1]
                  Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 98 of 211
  *DATA SOURCES: [1]                            [2] ALEXA, [3] SITEWORTHTRAFFIC.COM [4] CISION DIGITAL REACH


  *THE DATA CITED HERE BY SIMILARWEB REPRESENTS SITE TRAFFIC DATA OF WORLDWIDE UNIQUE VISITORS ON DESKTOP AND MOBILE DEVICES. DATA IS UPDATED


  MONTHLY.




   Views & Engagement


Views & Engagement data will continue to mature over time. Totals below are expected to have reached 98% maturity when the circles below are darker in color.




                                                                         1,754                                                     4                             4,359
                                                                     CLICK-THROUGHS                                             SHARES                          RELEASE VIEWS




    Distribution




                                 949                                                                                1.4K
                                 TOTAL AP OUTLETS DISTRIBUTED                                                       TOTAL INFLUENCERS DISTRIBUTED



  TOP AP OUTLETS




  CISION INFLUENCER LISTS



                   C-SPAN
                   86.2M Visitors/Month
                   Washington, DC


                   Scribd, Inc.
                   43.5M Visitors/Month
                   San Francisco, CA


                   FoxNews.com
                   32.5M Visitors/Month
                   New York, NY

                   CBS News Radio
                   30M Visitors/Month
                   New York, NY

                   New York Time...
                   29.9M Visitors/Month
                   New York, NY


                   Apple Inc.
                   29.7M Visitors/Month
                   Cupertino, CA


                   CNBC.com
            Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 99 of 211
             26.1M Visitors/Month
             Englewood Cliffs, NJ

             CBSnews.com
             26.1M Visitors/Month
             New York, NY


List Name          Outlet                 Recipients

Human Interes...   Freelancer                    12


Human Interes...   Fusion                         8


Human Interes...   El Observador                  5


Human Interes...   NBC News Latino                5


Human Interes...   The Associated Press           4


Human Interes...   Dos Mundos                     3
                              Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 100 of 211




Pickup


Overview

   TOTAL PICKUP                                               441                        TOTAL POTENTIAL          112.9M
                                                                                                AUDIENCE

       Exact Match                           441 postings                 Exact Match           112.9M visitors




Total Pickup Over Time
Total pickup since your content was distributed
                       1000




                       100
  Total Pickup Count




                        10




                         1




                         0
                                06 Jul   07 Jul     08 Jul   11 Jul   02 Aug    04 Aug      05 Aug    31 Aug
           Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 101 of 211



Total Pickup by Source Type                                        Total Pickup by Industry




        Broadcast Media (171/49.4%)                                        Media & Information (319/72.3%)
        Newspaper (69/19.9%)                                               Multicultural & Demographic (102/23.1%)
        News & Information Service (56/16.2%)                              Financial (8/1.8%)
        Online News Sites & Other Influencers (25/7.2%)                    Retail & Consumer (7/1.6%)
        Blog (11/3.2%)                                                     General (2/0.5%)
        Other (14/4.0%)                                                    Other (3/0.7%)




Exact Match Pickup
Exact matches are full text postings of your content which we have found in the online and
social media that we monitor. Understand how it is calculated.

Total Exact Matches: 441
Total Potential Audience: 112,920,514


 Logo          Outlet Name                                Location   Source Type            Industry                 Potential
                                                                                                                     Audience


               AP NEWS [The Associated Press]             United     News & Information     Media &           24,200,584 [1]
               Online  View Release                      States     Service                Information       visitors/month




               PR Newswire                                Global     PR Newswire            Media &            7,560,415 [1]
               Online  View Release                                                        Information       visitors/month




               PR Newswire                                Global     PR Newswire            Media &            7,560,415 [1]
               Online  View Release                                                        Information       visitors/month




               Seeking Alpha                              United     Online News Sites &    Financial          6,422,118 [1]
               Online  View Release                      States     Other Influencers                        visitors/month




               Markets Insider                            Global     Online News Sites &    Financial          5,045,824 [1]
               Online  View Release                                 Other Influencers                        visitors/month
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  Benzinga                            United   Online News Sites &        Financial      3,982,964 [1]
  Online  View Release               States   Other Influencers                        visitors/month




  KTLA [Los Angeles, CA]              United   Broadcast Media            Media &        2,988,825 [1]
  Online  View Release               States                              Information   visitors/month




  Morningstar                         Global   Financial Data, Research   Financial      2,324,616 [1]
  Online  View Release                        & Analytics                              visitors/month




  KXAN-TV NBC-36 [Austin, TX]         United   Broadcast Media            Media &        2,035,709 [1]
  Online  View Release               States                              Information   visitors/month




  WFLA [Tampa, FL]                    United   Broadcast Media            Media &        1,844,121 [1]
  Online  View Release               States                              Information   visitors/month




  WIVB [Buffalo, NY]                  United   Broadcast Media            Media &        1,815,186 [1]
  Online  View Release               States                              Information   visitors/month




  WJW-TV FOX-8 [Cleveland, OH]        United   Broadcast Media            Media &        1,762,315 [1]
  Online  View Release               States                              Information   visitors/month




  WGN [Chicago, IL]                   United   Broadcast Media            Media &        1,680,649 [1]
  Online  View Release               States                              Information   visitors/month




  KDVR [Denver, CO]                   United   Broadcast Media            Media &        1,549,698 [1]
  Online  View Release               States                              Information   visitors/month




  Nexis Newsdesk                      United   News & Information         Media &        1,526,094 [1]
  Online  View Release               States   Service                    Information   visitors/month




  WXIN-TV FOX-59 [Indianapolis, IN]   United   Broadcast Media            Media &        1,443,768 [1]
  Online  View Release               States                              Information   visitors/month




  KLAS-TV CBS-8 [Las Vegas, NV]       United   Broadcast Media            Media &        1,359,632 [1]
  Online  View Release               States                              Information   visitors/month




  KLAS-TV CBS-8 [Las Vegas, NV]       United   Broadcast Media            Media &        1,359,632 [1]
  Online  View Release               States                              Information   visitors/month




  KTVI-TV FOX-2 [St. Louis, MO]       United   Broadcast Media            Media &        1,279,996 [1]
  Online  View Release               States                              Information   visitors/month
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  WHTM [Harrisburg, PA]             United   Broadcast Media   Media &        1,222,373 [1]
  Online  View Release             States                     Information   visitors/month




  WPIX-TV CW-11 [New York, NY]      United   Broadcast Media   Media &        1,173,192 [1]
  Online  View Release             States                     Information   visitors/month




  KRON [San Francisco, CA]          United   Broadcast Media   Media &        1,157,462 [1]
  Online  View Release             States                     Information   visitors/month




  KFOR [Oklahoma City, OK]          United   Broadcast Media   Media &           991,747 [1]
  Online  View Release             States                     Information   visitors/month




  KRQE [Albuquerque, NM]            United   Broadcast Media   Media &           986,140 [1]
  Online  View Release             States                     Information   visitors/month




  WBTV-TV [Charlotte, NC]           United   Broadcast Media   Media &           975,562 [1]
  Online  View Release             States                     Information   visitors/month




  KSWB [San Diego, CA]              United   Broadcast Media   Media &           949,528 [1]
  Online  View Release             States                     Information   visitors/month




  WGHP [Greensboro, NC]             United   Broadcast Media   Media &           922,100 [1]
  Online  View Release             States                     Information   visitors/month




  WOOD [Grand Rapids, MI]           United   Broadcast Media   Media &           894,836 [1]
  Online  View Release             States                     Information   visitors/month




  WHNT [Huntsville, AL]             United   Broadcast Media   Media &           881,829 [1]
  Online  View Release             States                     Information   visitors/month




  WDAF [Kansas City, MO]            United   Broadcast Media   Media &           880,652 [1]
  Online  View Release             States                     Information   visitors/month




  KOIN-TV CBS-6 [Portland, OR]      United   Broadcast Media   Media &           847,310 [1]
  Online  View Release             States                     Information   visitors/month




  WXIX-TV FOX-19 [Cincinnati, OH]   United   Broadcast Media   Media &           843,626 [1]
  Online  View Release             States                     Information   visitors/month




  WAVY-TV NBC-10 [Portsmouth, VA]   United   Broadcast Media   Media &           841,358 [1]
  Online  View Release             States                     Information   visitors/month




  WCMH [Columbus, OH]               United   Broadcast Media   Media &           788,876 [1]
  Online  View Release             States                     Information   visitors/month
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  WRIC [Richmond, VA]                     United   Broadcast Media   Media &           782,061 [1]
  Online  View Release                   States                     Information   visitors/month




  WNCN [Raleigh, NC]                      United   Broadcast Media   Media &           762,790 [1]
  Online  View Release                   States                     Information   visitors/month




  WAFB-TV [Midland, TX]                   United   Broadcast Media   Media &           754,775 [1]
  Online  View Release                   States                     Information   visitors/month




  KKTV-TV CBS-11 [Colorado Springs, CO]   United   Broadcast Media   Media &           712,044 [1]
  Online  View Release                   States                     Information   visitors/month




  WATE [Knoxville, TN]                    United   Broadcast Media   Media &           681,060 [1]
  Online  View Release                   States                     Information   visitors/month




  WREG [Memphis, TN]                      United   Broadcast Media   Media &           674,935 [1]
  Online  View Release                   States                     Information   visitors/month




  WKRN [Nashville, TN]                    United   Broadcast Media   Media &           666,630 [1]
  Online  View Release                   States                     Information   visitors/month




  WKRN [Nashville, TN]                    United   Broadcast Media   Media &           666,630 [1]
  Online  View Release                   States                     Information   visitors/month




  WKRN [Nashville, TN]                    United   Broadcast Media   Media &           666,630 [1]
  Online  View Release                   States                     Information   visitors/month




  WHSV-TV [Harrisonburg, VA]              United   Broadcast Media   Media &           645,324 [1]
  Online  View Release                   States                     Information   visitors/month




  WANE [Fort Wayne, IN]                   United   Broadcast Media   Media &           610,156 [1]
  Online  View Release                   States                     Information   visitors/month




  WKBN [Youngstown, OH]                   United   Broadcast Media   Media &           588,889 [1]
  Online  View Release                   States                     Information   visitors/month




  KHON [Honolulu, HI]                     United   Broadcast Media   Media &           586,365 [1]
  Online  View Release                   States                     Information   visitors/month




  KNWA/KFTA [Fayetteville, AR]            United   Broadcast Media   Media &           537,164 [1]
  Online  View Release                   States                     Information   visitors/month




  WTEN/ WXXA-TV [Albany, NY]              United   Broadcast Media   Media &           530,731 [1]
  Online  View Release                   States                     Information   visitors/month
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  WKYT-TV [Lexington, KY]            United   Broadcast Media   Media &           525,912 [1]
  Online  View Release              States                     Information   visitors/month




  KELO [Sioux Falls, SD]             United   Broadcast Media   Media &           494,570 [1]
  Online  View Release              States                     Information   visitors/month




  KTVX [Salt Lake City, UT]          United   Broadcast Media   Media &           460,216 [1]
  Online  View Release              States                     Information   visitors/month




  WOWT-TV [Omaha, NE]                United   Broadcast Media   Media &           457,108 [1]
  Online  View Release              States                     Information   visitors/month




  WNDU-TV [South Bend, IN]           United   Broadcast Media   Media &           453,928 [1]
  Online  View Release              States                     Information   visitors/month




  WWLP-TV NBC-22 [Springfield, MA]   United   Broadcast Media   Media &           451,170 [1]
  Online  View Release              States                     Information   visitors/month




  WKRG [Mobile, AL]                  United   Broadcast Media   Media &           443,457 [1]
  Online  View Release              States                     Information   visitors/month




  WPRI/WNAC [Providence, RI]         United   Broadcast Media   Media &           441,313 [1]
  Online  View Release              States                     Information   visitors/month




  The Cowboy Channel                 United   Broadcast Media   Media &           425,871 [1]
  Online  View Release              States                     Information   visitors/month




  WTNH [New Haven, CT]               United   Broadcast Media   Media &           410,559 [1]
  Online  View Release              States                     Information   visitors/month




  WJHL [Johnson City, TN]            United   Broadcast Media   Media &           406,462 [1]
  Online  View Release              States                     Information   visitors/month




  KOLD-TV [Tucson, AZ]               United   Broadcast Media   Media &           402,930 [1]
  Online  View Release              States                     Information   visitors/month




  WAFF-TV [Huntsville, AL]           United   Broadcast Media   Media &           388,746 [1]
  Online  View Release              States                     Information   visitors/month




  WIAT [Birmingham, AL]              United   Broadcast Media   Media &           388,618 [1]
  Online  View Release              States                     Information   visitors/month
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  KSEE/KGPE [Fresno, CA]                     United   Broadcast Media   Media &           385,418 [1]
  Online  View Release                      States                     Information   visitors/month




  WBTW [Myrtle Beach, SC]                    United   Broadcast Media   Media &           383,595 [1]
  Online  View Release                      States                     Information   visitors/month




  WSYR-TV ABC-9 NewsChannel [Syracuse, NY]   United   Broadcast Media   Media &           375,643 [1]
  Online  View Release                      States                     Information   visitors/month




  WSYR-TV ABC-9 NewsChannel [Syracuse, NY]   United   Broadcast Media   Media &           375,643 [1]
  Online  View Release                      States                     Information   visitors/month




  KSNW [Wichita, KS]                         United   Broadcast Media   Media &           371,242 [1]
  Online  View Release                      States                     Information   visitors/month




  WROC/WUHF/WZDX [Rochester, NY]             United   Broadcast Media   Media &           366,346 [1]
  Online  View Release                      States                     Information   visitors/month




  WHO-TV NBC-13 [Des Moines, IA]             United   Broadcast Media   Media &           359,380 [1]
  Online  View Release                      States                     Information   visitors/month




  WSYR-TV ABC-9 NewsChannel [Syracuse, NY]   United   Broadcast Media   Media &           353,477 [1]
  Online  View Release                      States                     Information   visitors/month




  WQRF/WTVO [Rockford, IL]                   United   Broadcast Media   Media &           353,266 [1]
  Online  View Release                      States                     Information   visitors/month




  WFRV [Green Bay, WI]                       United   Broadcast Media   Media &           349,628 [1]
  Online  View Release                      States                     Information   visitors/month




  KTXL [Sacramento, CA]                      United   Broadcast Media   Media &           349,284 [1]
  Online  View Release                      States                     Information   visitors/month




  KTXL [Sacramento, CA]                      United   Broadcast Media   Media &           349,284 [1]
  Online  View Release                      States                     Information   visitors/month




  WGNO [New Orleans, LA]                     United   Broadcast Media   Media &           346,782 [1]
  Online  View Release                      States                     Information   visitors/month




  WBRE/WYOU [Wilkes-Barre, PA]               United   Broadcast Media   Media &           341,248 [1]
  Online  View Release                      States                     Information   visitors/month




  WSPA/WYCW [Spartanburg, SC]                United   Broadcast Media   Media &           322,771 [1]
  Online  View Release                      States                     Information   visitors/month
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  WJHG-TV [Panama City Beach, FL]   United    Broadcast Media       Media &           307,516 [1]
  Online  View Release             States                          Information   visitors/month




  KOLR/KOZL [Springfield, MO]       United    Broadcast Media       Media &           289,825 [1]
  Online  View Release             States                          Information   visitors/month




  KOLR/KOZL [Springfield, MO]       United    Broadcast Media       Media &           289,825 [1]
  Online  View Release             States                          Information   visitors/month




  WEHT/WTVW [Evansville, IN]        United    Broadcast Media       Media &           288,412 [1]
  Online  View Release             States                          Information   visitors/month




  KARK-TV NBC-4 [Little Rock, AR]   United    Broadcast Media       Media &           275,113 [1]
  Online  View Release             States                          Information   visitors/month




  KVEO-TV CBS-4 [Harlingen, TX]     United    Broadcast Media       Media &           273,895 [1]
  Online  View Release             States                          Information   visitors/month




  Finanzen.at                       Germany   Online News Sites &   Financial         267,740 [1]
  Online  View Release                       Other Influencers                   visitors/month




  WCBD-TV NBC-2 [Charleston, SC]    United    Broadcast Media       Media &           261,686 [1]
  Online  View Release             States                          Information   visitors/month




  KLFY [Lafayette, LA]              United    Broadcast Media       Media &           253,238 [1]
  Online  View Release             States                          Information   visitors/month




  KXRM [Colorado Springs, CO]       United    Broadcast Media       Media &           251,646 [1]
  Online  View Release             States                          Information   visitors/month




  KSNT-TV NBC-27 [Topeka, KS]       United    Broadcast Media       Media &           245,510 [1]
  Online  View Release             States                          Information   visitors/month




  WTRF [Wheeling, WV]               United    Broadcast Media       Media &           241,629 [1]
  Online  View Release             States                          Information   visitors/month




  KGET [Bakersfield, CA]            United    Broadcast Media       Media &           238,960 [1]
  Online  View Release             States                          Information   visitors/month




  WDTN/WBDT [Dayton, OH]            United    Broadcast Media       Media &           230,693 [1]
  Online  View Release             States                          Information   visitors/month




  WJBF [Augusta, GA]                United    Broadcast Media       Media &           228,645 [1]
  Online  View Release             States                          Information   visitors/month
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  WETM-TV NBC-18 [Elmira, NY]                    United   Broadcast Media   Media &               227,602 [1]
  Online  View Release                          States                     Information       visitors/month




  WJTV-TV CBS-12 [Jackson, MS]                   United   Broadcast Media   Media &               226,065 [1]
  Online  View Release                          States                     Information       visitors/month




  KTSM [El Paso, TX]                             United   Broadcast Media   Media &               218,285 [1]
  Online  View Release                          States                     Information       visitors/month




  WMBD-TV CBS 31 / WYZZ-TV FOX 43 [Peoria, IL]   United   Broadcast Media   Media &               215,682 [1]
  Online  View Release                          States                     Information       visitors/month




  WSAV [Savannah, GA]                            United   Broadcast Media   Media &               215,266 [1]
  Online  View Release                          States                     Information       visitors/month




  KAMC/KLBK                                      United   Broadcast Media   Media &               214,585 [1]
  Online  View Release                          States                     Information       visitors/month




  WBOY [Clarksburg, WV]                          United   Broadcast Media   Media &               210,244 [1]
  Online  View Release                          States                     Information       visitors/month




  KLRT-TV FOX-16 [Little Rock, AR]               United   Broadcast Media   Media &               199,455 [1]
  Online  View Release                          States                     Information       visitors/month




  WNCT [Greenville, NC]                          United   Broadcast Media   Media &               198,621 [1]
  Online  View Release                          States                     Information       visitors/month




  Daily Journal [Tupelo, MS]                     United   Newspaper         Media &               196,513 [1]
  Online  View Release                          States                     Information       visitors/month




  WRBL [Columbus, GA]                            United   Broadcast Media   Media &               176,440 [1]
  Online  View Release                          States                     Information       visitors/month




  WLNS-TV CBS-6 [Lansing, MI]                    United   Broadcast Media   Media &               169,816 [1]
  Online  View Release                          States                     Information       visitors/month




  Ser Padres                                     United   Magazine          Multicultural &       164,467 [1]
  Online  View Release                          States                     Demographic       visitors/month




  WMBB-TV ABC-13 [Panama City, FL]               United   Broadcast Media   Media &               161,249 [1]
  Online  View Release                          States                     Information       visitors/month




  WOWK-TV CBS-13 [Charleston, WV]                United   Broadcast Media   Media &               161,032 [1]
  Online  View Release                          States                     Information       visitors/month
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  KXMA/KXMB [Bismark, ND]                          United   Broadcast Media   Media &           156,262 [1]
  Online  View Release                            States                     Information   visitors/month




  KTAB/KRBC [Abilene, TX]                          United   Broadcast Media   Media &           152,449 [1]
  Online  View Release                            States                     Information   visitors/month




  WCIA-TV CBS 3 [Champaign, IL]                    United   Broadcast Media   Media &           151,898 [1]
  Online  View Release                            States                     Information   visitors/month




  KFDX-TV NBC-3 / KJTL-TV FOX-18 [Wichita Falls,   United   Broadcast Media   Media &           149,742 [1]
  TX]                                              States                     Information   visitors/month
  Online  View Release


  RFD-TV [Nashville, TN]                           United   Broadcast Media   Media &           141,022 [1]
  Online  View Release                            States                     Information   visitors/month




  WTTV [Indianapolis, IN]                          United   Broadcast Media   Media &           137,336 [1]
  Online  View Release                            States                     Information   visitors/month




  KIAH [Houston, TX]                               United   Broadcast Media   Media &           135,843 [1]
  Online  View Release                            States                     Information   visitors/month




  WVLA [Baton Rouge, LA]                           United   Broadcast Media   Media &           130,855 [1]
  Online  View Release                            States                     Information   visitors/month




  WVLA [Baton Rouge, LA]                           United   Broadcast Media   Media &           130,855 [1]
  Online  View Release                            States                     Information   visitors/month




  WTAJ [Altoona, PA]                               United   Broadcast Media   Media &           129,409 [1]
  Online  View Release                            States                     Information   visitors/month




  WICZ-TV FOX-40 [Binghamton, NY]                  United   Broadcast Media   Media &           108,401 [1]
  Online  View Release                            States                     Information   visitors/month




  WJET-TV ABC-24 / WFXP-TV FOX-44 [Erie, PA]       United   Broadcast Media   Media &           108,116 [1]
  Online  View Release                            States                     Information   visitors/month




  WJET-TV ABC-24 / WFXP-TV FOX-44 [Erie, PA]       United   Broadcast Media   Media &           108,116 [1]
  Online  View Release                            States                     Information   visitors/month




  KAMR/KCIT                                        United   Broadcast Media   Media &           106,845 [1]
  Online  View Release                            States                     Information   visitors/month




  KTAL-TV NBC-6 [Shreveport, LA]                   United   Broadcast Media   Media &           101,761 [1]
  Online  View Release                            States                     Information   visitors/month
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  KSWO-TV [Lawton, OK]                        United   Broadcast Media   Media &           100,290 [1]
  Online  View Release                       States                     Information   visitors/month




  WTWO-TV NBC-2/WAWV-TV ABC-38                United   Broadcast Media   Media &             98,472 [1]
  MyWabashValley [Terre Haute IN]             States                     Information   visitors/month
  Online  View Release


  WTWO-TV NBC-2/WAWV-TV ABC-38                United   Broadcast Media   Media &             98,472 [1]
  MyWabashValley [Terre Haute IN]             States                     Information   visitors/month
  Online  View Release


  WFXR [Roanoke, VA                           United   Broadcast Media   Media &             93,245 [1]
  Online  View Release                       States                     Information   visitors/month




  QuadCities WHBF-TV CBS-4 / KLJB-TV FOX-18   United   Broadcast Media   Media &             92,056 [1]
  [Rock Island, IL]                           States                     Information   visitors/month
  Online  View Release


  QuadCities WHBF-TV CBS-4 / KLJB-TV FOX-18   United   Broadcast Media   Media &             92,056 [1]
  [Rock Island, IL]                           States                     Information   visitors/month
  Online  View Release


  WDKY [Lexington, KY]                        United   Broadcast Media   Media &             90,539 [1]
  Online  View Release                       States                     Information   visitors/month




  WFFF-TV FOX 44 / WVNY-TV ABC-22             United   Broadcast Media   Media &             86,658 [1]
  [Colchester, VT]                            States                     Information   visitors/month
  Online  View Release


  WVLA [Baton Rouge, LA]                      United   Broadcast Media   Media &             83,771 [1]
  Online  View Release                       States                     Information   visitors/month




  Skagit Valley Herald [Mount Vernon, WA]     United   Newspaper         Media &             83,011 [1]
  Online  View Release                       States                     Information   visitors/month




  Skagit Valley Herald [Mount Vernon, WA]     United   Newspaper         Media &             83,011 [1]
  Online  View Release                       States                     Information   visitors/month




  Skagit Valley Herald [Mount Vernon, WA]     United   Newspaper         Media &             83,011 [1]
  Online  View Release                       States                     Information   visitors/month




  Skagit Valley Herald [Mount Vernon, WA]     United   Newspaper         Media &             83,011 [1]
  Online  View Release                       States                     Information   visitors/month




  Skagit Valley Herald [Mount Vernon, WA]     United   Newspaper         Media &             83,011 [1]
  Online  View Release                       States                     Information   visitors/month




  Skagit Valley Herald [Mount Vernon, WA]     United   Newspaper         Media &             83,011 [1]
  Online  View Release                       States                     Information   visitors/month
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  KLST/KSAN [San Angelo, TX]                       United   Broadcast Media       Media &                 81,625 [1]
  Online  View Release                            States                         Information       visitors/month




  KSNF/KODE [Joplin, MO]                           United   Broadcast Media       Media &                 80,574 [1]
  Online  View Release                            States                         Information       visitors/month




  KCAU-TV ABC-9 Siouxland Proud [Sioux City, IA]   United   Broadcast Media       Media &                 78,558 [1]
  Online  View Release                            States                         Information       visitors/month




  KCAU-TV ABC-9 Siouxland Proud [Sioux City, IA]   United   Broadcast Media       Media &                 78,558 [1]
  Online  View Release                            States                         Information       visitors/month




  WYTV-TV ABC-33 [Youngstown, OH]                  United   Broadcast Media       Media &                 75,652 [1]
  Online  View Release                            States                         Information       visitors/month




  KARD/KTVE [West Monroe, LA]                      United   Broadcast Media       Media &                 73,755 [1]
  Online  View Release                            States                         Information       visitors/month




  WJMN-TV CBS 3 [Escanaba, WI]                     United   Broadcast Media       Media &                 69,254 [1]
  Online  View Release                            States                         Information       visitors/month




  Ellensburg Daily Record [Ellensburg, WA]         United   Newspaper             Media &                 68,801 [1]
  Online  View Release                            States                         Information       visitors/month




  Ellensburg Daily Record [Ellensburg, WA]         United   Newspaper             Media &                 68,801 [1]
  Online  View Release                            States                         Information       visitors/month




  Ellensburg Daily Record [Ellensburg, WA]         United   Newspaper             Media &                 68,801 [1]
  Online  View Release                            States                         Information       visitors/month




  AmericaTeVe                                      United   News & Information    Multicultural &         65,066 [1]
  Online  View Release                            States   Service               Demographic       visitors/month




  Suncoast News Network [Sarasota, FL]             United   Broadcast Media       Media &                 64,388 [1]
  Online  View Release                            States                         Information       visitors/month




  KDAF-TV CW-33 [Dallas, TX]                       United   Broadcast Media       Media &                 64,150 [1]
  Online  View Release                            States                         Information       visitors/month




  The Costa Rica News - TCRN                       Costa    Online News Sites &   Media &                 63,841 [1]
  Online  View Release                            Rica     Other Influencers     Information       visitors/month




  WVNS [Beckley, WV]                               United   Broadcast Media       Media &                 61,117 [1]
  Online  View Release                            States                         Information       visitors/month
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  WVNS [Beckley, WV]                     United   Broadcast Media      Media &                   61,117 [1]
  Online  View Release                  States                        Information         visitors/month




  WVNS [Beckley, WV]                     United   Broadcast Media      Media &                   61,117 [1]
  Online  View Release                  States                        Information         visitors/month




  The Troy Messenger                     United   Newspaper            Media &                   58,751 [1]
  Online  View Release                  States                        Information         visitors/month




  Chinook Observer                       United   Newspaper            Media &                   56,456 [1]
  Online  View Release                  States                        Information         visitors/month




  Chinook Observer                       United   Newspaper            Media &                   56,456 [1]
  Online  View Release                  States                        Information         visitors/month




  Chinook Observer                       United   Newspaper            Media &                   56,456 [1]
  Online  View Release                  States                        Information         visitors/month




  The State Journal                      United   Newspaper            Media &                   56,231 [1]
  Online  View Release                  States                        Information         visitors/month




  KREX/KFQX/KGJT [Grand Junction, CO]    United   Broadcast Media      Media &                   55,489 [1]
  Online  View Release                  States                        Information         visitors/month




  KMID/KPEJ [Odessa, TX]                 United   Broadcast Media      Media &                   51,467 [1]
  Online  View Release                  States                        Information         visitors/month




  Spoke                                  United   News & Information   Business Services         51,366 [1]
  Online  View Release                  States   Service                                  visitors/month




  KWKT-TV FOX-44 / KYLE-TV MyNetworkTV   United   Broadcast Media      Media &                   47,791 [1]
  [Woodway, TX]                          States                        Information         visitors/month
  Online  View Release


  The State Journal                      United   Newspaper            Media &                   46,690 [1]
  Online  View Release                  States                        Information         visitors/month




  The Coastland Times                    United   Newspaper            Media &                   46,594 [1]
  Online  View Release                  States                        Information         visitors/month




  WDHN-TV ABC [Webb, AL]                 United   Broadcast Media      Media &                   45,504 [1]
  Online  View Release                  States                        Information         visitors/month




  WBGH/WIVT [Binghamton, NY]             United   Broadcast Media      Media &                   45,103 [1]
  Online  View Release                  States                        Information         visitors/month
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  WFXV/WPNY/WUTR                   United   Broadcast Media             Media &                   42,802 [1]
  Online  View Release            States                               Information         visitors/month




  One News Page Global Edition     Global   Online News Sites &         Media &                   35,197 [1]
  Online  View Release                     Other Influencers           Information         visitors/month




  One News Page Global Edition     Global   Online News Sites &         Media &                   35,197 [1]
  Online  View Release                     Other Influencers           Information         visitors/month




  One News Page Global Edition     Global   Online News Sites &         Media &                   35,197 [1]
  Online  View Release                     Other Influencers           Information         visitors/month




  WPHL [Philadelphia, PA]          United   Broadcast Media             Media &                   33,866 [1]
  Online  View Release            States                               Information         visitors/month




  WWTI-TV ABC-50 [Watertown, NY]   United   Broadcast Media             Media &                   33,174 [1]
  Online  View Release            States                               Information         visitors/month




  WWTI-TV ABC-50 [Watertown, NY]   United   Broadcast Media             Media &                   33,174 [1]
  Online  View Release            States                               Information         visitors/month




  The Tryon Daily Bulletin         United   Newspaper                   Media &                   29,613 [1]
  Online  View Release            States                               Information         visitors/month




  The Advocate-Messenger           United   Newspaper                   Media &                   29,235 [1]
  Online  View Release            States                               Information         visitors/month




  WTNZ FOX-43 (Knoxville, TN)      United   Broadcast Media             Media &                   24,508 [1]
  Online  View Release            States                               Information         visitors/month




  Mega TV                          United   Broadcast Media             Multicultural &           22,950 [1]
  Online  View Release            States                               Demographic         visitors/month




  Mega TV                          United   Broadcast Media             Multicultural &           22,950 [1]
  Online  View Release            States                               Demographic         visitors/month




  The Stanly News & Press          United   Newspaper                   Media &                   22,677 [1]
  Online  View Release            States                               Information         visitors/month




  Austin Daily Herald              United   Newspaper                   Media &                   21,723 [1]
  Online  View Release            States                               Information         visitors/month




  Mom Blog Society                 United   Blog-Parental Influencers   Retail & Consumer         19,479 [1]
  Online  View Release            States                                                   visitors/month
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  RFD-TV’s The American Rodeo         United    Online News Sites &   Media &                 16,080 [1]
  Online  View Release               States    Other Influencers     Information       visitors/month




  WNTZ [Alexandria, LA]               United    Broadcast Media       Media &                 14,220 [1]
  Online  View Release               States                          Information       visitors/month




  WLAX-TV FOX 28/45 [La Crosse, WI]   United    Broadcast Media       Media &                 12,143 [1]
  Online  View Release               States                          Information       visitors/month




  La Mega 106.9 FM                    Puerto    Broadcast Media       Multicultural &         11,307 [1]
  Online  View Release               Rico                            Demographic       visitors/month




  Univision Minnesota                 United    Broadcast Media       Multicultural &         10,252 [1]
  Online  View Release               States                          Demographic       visitors/month




  The Post-Searchlight                United    Newspaper             Media &                 10,142 [1]
  Online  View Release               States                          Information       visitors/month




  Portada-Online.com                  United    News & Information    Multicultural &          9,382 [1]
  Online  View Release               States    Service               Demographic       visitors/month




  La Nueva 94 FM                      Puerto    Broadcast Media       Multicultural &          9,019 [1]
  Online  View Release               Rico                            Demographic       visitors/month




  Davie County Enterprise Record      United    Newspaper             Media &                  8,251 [1]
  Online  View Release               States                          Information       visitors/month




  Univision Canada                    Canada    Broadcast Media       Multicultural &          8,181 [1]
  Online  View Release                                               Demographic       visitors/month




  Lang1234.com                        Global    Online News Sites &   Media &                  6,667 [1]
  Online  View Release                         Other Influencers     Information       visitors/month




  The Podcast Park                    United    Broadcast Media       Media &                  6,623 [1]
  Online  View Release               States                          Information       visitors/month




  The Roanoke Chowan News Herald      United    Newspaper             Media &                  6,454 [1]
  Online  View Release               States                          Information       visitors/month




  BambuUP                             Vietnam   Blog                  Financial                6,235 [1]
  Online  View Release                                                                 visitors/month




  The Atmore Advance                  United    Newspaper             Media &                  5,324 [1]
  Online  View Release               States                          Information       visitors/month
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  El Zol 106.7 FM                    United   Broadcast Media      Multicultural &          5,227 [1]
  Online  View Release              States                        Demographic       visitors/month




  The Tidewater News                 United   Newspaper            Media &                  5,126 [1]
  Online  View Release              States                        Information       visitors/month




  Luverne Journal                    United   Newspaper            Media &                  4,787 [1]
  Online  View Release              States                        Information       visitors/month




  Americus Times-Recorder            United   Newspaper            Media &                  4,756 [1]
  Online  View Release              States                        Information       visitors/month




  La Mega 97.9 FM                    United   Broadcast Media      Multicultural &          4,739 [1]
  Online  View Release              States                        Demographic       visitors/month




  Middlesboro News                   United   Newspaper            Media &                  4,633 [1]
  Online  View Release              States                        Information       visitors/month




  Cordele Dispatch                   United   Newspaper            Media &                  4,513 [1]
  Online  View Release              States                        Information       visitors/month




  The Greenville Advocate            United   Newspaper            Media &                  4,505 [1]
  Online  View Release              States                        Information       visitors/month




  WPGX-TV FOX-28 [Panama City, FL]   United   Broadcast Media      Media &                  4,467 [1]
  Online  View Release              States                        Information       visitors/month




  La Raza 97.9 FM                    United   Broadcast Media      Multicultural &          4,115 [1]
  Online  View Release              States                        Demographic       visitors/month




  La Zeta 93.7 FM                    Puerto   Broadcast Media      Multicultural &          3,745 [1]
  Online  View Release              Rico                          Demographic       visitors/month




  D’Latinos                          United   News & Information   Multicultural &          3,130 [1]
  Online  View Release              States   Service              Demographic       visitors/month




  Magazines Today                    Global   Trade Publications   Media &                  3,108 [1]
  Online  View Release                                            Information       visitors/month




  Mercadotecnia y Medios             United   News & Information   Multicultural &          2,812 [1]
  Online  View Release              States   Service              Demographic       visitors/month




  KHMT/KSVI [Billings, MT]           United   Broadcast Media      Media &                  2,651 [1]
  Online  View Release              States                        Information       visitors/month
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  Latin Business Today                  United   Online News Sites &   Multicultural &          2,520 [1]
  Online  View Release                 States   Other Influencers     Demographic       visitors/month




  Latin Business Today                  United   Online News Sites &   Multicultural &          2,520 [1]
  Online  View Release                 States   Other Influencers     Demographic       visitors/month




  Latin Business Hoy                    United   Online News Sites &   Multicultural &          2,520 [1]
  Online  View Release                 States   Other Influencers     Demographic       visitors/month




  ChicaNOL                              United   Blog                  Multicultural &          2,477 [1]
  Online  View Release                 States                         Demographic       visitors/month




  One News Page United States Edition   United   Online News Sites &   Media &                  2,468 [1]
  Online  View Release                 States   Other Influencers     Information       visitors/month




  Amor 93.1 FM                          United   Broadcast Media       Multicultural &          2,372 [1]
  Online  View Release                 States                         Demographic       visitors/month




  KJUN-TV / KFOL-TV HTV10 [Houma, LA]   United   Broadcast Media       Media &                  1,957 [1]
  Online  View Release                 States                         Information       visitors/month




  Zeta 92.3 FM                          United   Broadcast Media       Multicultural &          1,891 [1]
  Online  View Release                 States                         Demographic       visitors/month




  The Demopolis Times                   United   Newspaper             Media &                  1,880 [1]
  Online  View Release                 States                         Information       visitors/month




  El Perico                             United   Online News Sites &   Multicultural &          1,784 [1]
  Online  View Release                 States   Other Influencers     Demographic       visitors/month




  El Perico                             United   Online News Sites &   Multicultural &          1,784 [1]
  Online  View Release                 States   Other Influencers     Demographic       visitors/month




  La Raza 93.3 FM                       United   Broadcast Media       Multicultural &          1,714 [1]
  Online  View Release                 States                         Demographic       visitors/month




  La Ley 107.9 FM                       United   Broadcast Media       Multicultural &          1,680 [1]
  Online  View Release                 States                         Demographic       visitors/month




  La Ley 107.9 FM                       United   Broadcast Media       Multicultural &          1,680 [1]
  Online  View Release                 States                         Demographic       visitors/month




  Kenbridge Victoria Dispatch           United   Newspaper             Media &                  1,639 [1]
  Online  View Release                 States                         Information       visitors/month
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  The Charlotte Gazette          United   Newspaper                   Media &                    1,466 [1]
  Online  View Release          States                               Information         visitors/month




  Play 96.5 FM                   Puerto   Broadcast Media             Multicultural &            1,443 [1]
  Online  View Release          Rico                                 Demographic         visitors/month




  Mega 96.3 FM                   United   Broadcast Media             Multicultural &            1,378 [1]
  Online  View Release          States                               Demographic         visitors/month




  WWDN 104.5 FM [Danville, VA]   United   Broadcast Media             Media &                    1,342 [1]
  Online  View Release          States                               Information         visitors/month




  Lowndes Signal                 United   Newspaper                   Media &                      949 [1]
  Online  View Release          States                               Information         visitors/month




  Harlan Enterprise              United   Newspaper                   Media &                      917 [1]
  Online  View Release          States                               Information         visitors/month




  Seattle 24×7                   United   Trade Publications          Tech                         880 [1]
  Online  View Release          States                                                   visitors/month




  Hoy en Delaware                United   Newspaper                   Multicultural &              844 [1]
  Online  View Release          States                               Demographic         visitors/month




  Fuente Latina                  United   Blog                        Multicultural &              834 [1]
  Online  View Release          States                               Demographic         visitors/month




  The Vicksburg Post             United   Newspaper                   Media &                      789 [1]
  Online  View Release          States                               Information         visitors/month




  The Vicksburg Post             United   Newspaper                   Media &                      789 [1]
  Online  View Release          States                               Information         visitors/month




  My Silly Little Gang           United   Blog-Parental Influencers   Retail & Consumer            751 [1]
  Online  View Release          States                                                   visitors/month




  Elizabethton Star              United   Newspaper                   Media &                      683 [1]
  Online  View Release          States                               Information         visitors/month




  Elizabethton Star              United   Newspaper                   Media &                      683 [1]
  Online  View Release          States                               Information         visitors/month




  La Familia de Broward          United   Magazine                    Multicultural &              672 [1]
  Online  View Release          States                               Demographic         visitors/month
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  WMPW 105.9 FM [Danville, VA]                United   Broadcast Media             Media &                      658 [1]
  Online  View Release                       States                               Information         visitors/month




  WKSK 101.9 FM [South Boston, VA]            United   Broadcast Media             Media &                      599 [1]
  Online  View Release                       States                               Information         visitors/month




  WWZW-FM Classic story96.7 [Lexington, VA]   United   Broadcast Media             Media &                      597 [1]
  Online  View Release                       States                               Information         visitors/month




  WLUS 98.3 FM [Clarksville, VA]              United   Broadcast Media             Media &                      578 [1]
  Online  View Release                       States                               Information         visitors/month




  KMLK 98.7-FM [El Dorado, AR]                United   Broadcast Media             Media &                      543 [1]
  Online  View Release                       States                               Information         visitors/month




  Alaska Latino News                          United   News & Information          Multicultural &              531 [1]
  Online  View Release                       States   Service                     Demographic         visitors/month




  Bluegrass Live                              United   Newspaper                   Media &                      518 [1]
  Online  View Release                       States                               Information         visitors/month




  Cori's Cozy Corner                          United   Blog-Parental Influencers   Retail & Consumer            515 [1]
  Online  View Release                       States                                                   visitors/month




  Cori's Cozy Corner                          United   Blog-Parental Influencers   Retail & Consumer            515 [1]
  Online  View Release                       States                                                   visitors/month




  WCNN 680 AM / 93.7 FM [Atlanta, GA]         United   Broadcast Media             Media &                      494 [1]
  Online  View Release                       States                               Information         visitors/month




  Journal News Today                          United   Online News Sites &         Media &                      488 [1]
  Online  View Release                       States   Other Influencers           Information         visitors/month




  Forefront Media News                        United   Online News Sites &         Media &                      488 [1]
  Online  View Release                       States   Other Influencers           Information         visitors/month




  Univision Kansas City                       United   Broadcast Media             Multicultural &              450 [1]
  Online  View Release                       States                               Demographic         visitors/month




  NewsNet Northeast                           United   Broadcast Media             Media &                      431 [1]
  Online  View Release                       States                               Information         visitors/month




  Southwest Daily News                        United   Newspaper                   Media &                      428 [1]
  Online  View Release                       States                               Information         visitors/month
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  Southwest Daily News                    United   Newspaper             Media &                    428 [1]
  Online  View Release                   States                         Information       visitors/month




  The Oxford Eagle                        United   Newspaper             Media &                    423 [1]
  Online  View Release                   States                         Information       visitors/month




  The Oxford Eagle                        United   Newspaper             Media &                    423 [1]
  Online  View Release                   States                         Information       visitors/month




  WFOM 106.3 FM / 1230 AM [Atlanta, GA]   United   Broadcast Media       Media &                    419 [1]
  Online  View Release                   States                         Information       visitors/month




  Oregon Latino News                      United   News & Information    Multicultural &            415 [1]
  Online  View Release                   States   Service               Demographic       visitors/month




  WHLF 95.3 FM [South Boston, VA]         United   Broadcast Media       Media &                    411 [1]
  Online  View Release                   States                         Information       visitors/month




  The Panolian                            United   Newspaper             Media &                    410 [1]
  Online  View Release                   States                         Information       visitors/month




  The Panolian                            United   Newspaper             Media &                    410 [1]
  Online  View Release                   States                         Information       visitors/month




  Southern Sports Today                   United   Broadcast Media       Media &                    409 [1]
  Online  View Release                   States                         Information       visitors/month




  California Latino News                  United   News & Information    Multicultural &            407 [1]
  Online  View Release                   States   Service               Demographic       visitors/month




  World bfn                               Global   News & Information    Media &                    401 [1]
  Online  View Release                            Service               Information       visitors/month




  Mi Ciudad Tampa Bay                     United   Online News Sites &   Multicultural &            401 [1]
  Online  View Release                   States   Other Influencers     Demographic       visitors/month




  NewsNet Michigan                        United   Broadcast Media       Media &                    392 [1]
  Online  View Release                   States                         Information       visitors/month




  Alabama Latino News                     United   News & Information    Multicultural &            388 [1]
  Online  View Release                   States   Service               Demographic       visitors/month




  Orange Leader                           United   Newspaper             Media &                    387 [1]
  Online  View Release                   States                         Information       visitors/month
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  Orange Leader                           United   Newspaper            Media &                      387 [1]
  Online  View Release                   States                        Information         visitors/month




  La Nación Hispana                       United   Newspaper            Multicultural &              385 [1]
  Online  View Release                   States                        Demographic         visitors/month




  Business Class News                     United   Blog                 Media &                      376 [1]
  Online  View Release                   States                        Information         visitors/month




  WSHV 96.7 FM [South Hill, VA]           United   Broadcast Media      Media &                      362 [1]
  Online  View Release                   States                        Information         visitors/month




  NewsNet Southeast                       United   Broadcast Media      Media &                      347 [1]
  Online  View Release                   States                        Information         visitors/month




  Picayune Item                           United   Newspaper            Media &                      342 [1]
  Online  View Release                   States                        Information         visitors/month




  Picayune Item                           United   Newspaper            Media &                      342 [1]
  Online  View Release                   States                        Information         visitors/month




  American Press                          United   Newspaper            Media &                      332 [1]
  Online  View Release                   States                        Information         visitors/month




  American Press                          United   Newspaper            Media &                      332 [1]
  Online  View Release                   States                        Information         visitors/month




  Tactics Magazine for Shopping Centers   Canada   Trade Publications   Retail & Consumer            321 [1]
  Online  View Release                                                                     visitors/month




  Tactics Magazine for Shopping Centers   Canada   Trade Publications   Retail & Consumer            321 [1]
  Online  View Release                                                                     visitors/month




  Albert Lea Tribune [Albert Lea, MN]     United   print media          Media &                      317 [1]
  Online  View Release                   States                        Information         visitors/month




  Ismael Cala Foundation                  United   Blog                 Multicultural &              312 [1]
  Online  View Release                   States                        Demographic         visitors/month




  Daily Leader                            United   Newspaper            Media &                      309 [1]
  Online  View Release                   States                        Information         visitors/month




  Daily Leader                            United   Newspaper            Media &                      309 [1]
  Online  View Release                   States                        Information         visitors/month
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  Arkansas Latino News                     United   News & Information    Multicultural &            307 [1]
  Online  View Release                    States   Service               Demographic       visitors/month




  LaGrange Daily News                      United   Newspaper             Media &                    304 [1]
  Online  View Release                    States                         Information       visitors/month




  LaGrange Daily News                      United   Newspaper             Media &                    304 [1]
  Online  View Release                    States                         Information       visitors/month




  Leader Publications                      United   Newspaper             Media &                    294 [1]
  Online  View Release                    States                         Information       visitors/month




  Leader Publications                      United   Newspaper             Media &                    294 [1]
  Online  View Release                    States                         Information       visitors/month




  Valley Times-News                        United   Newspaper             Media &                    291 [1]
  Online  View Release                    States                         Information       visitors/month




  Valley Times-News                        United   Newspaper             Media &                    291 [1]
  Online  View Release                    States                         Information       visitors/month




  Energía, Industria, Comercio y Minería   United   Online News Sites &   Multicultural &            282 [1]
  Online  View Release                    States   Other Influencers     Demographic       visitors/month




  WZZS-FM 106.9 La Número Uno / WTMY-AM    United   Broadcast Media       Multicultural &            280 [1]
  1280 La Número Uno                       States                         Demographic       visitors/month
  Online  View Release


  Prensa Mexicana                          United   Newspaper             Multicultural &            278 [1]
  Online  View Release                    States                         Demographic       visitors/month




  West Virginia Latino News                United   News & Information    Multicultural &            277 [1]
  Online  View Release                    States   Service               Demographic       visitors/month




  South Carolina Latino News               United   News & Information    Multicultural &            277 [1]
  Online  View Release                    States   Service               Demographic       visitors/month




  Oklahoma Latino News                     United   News & Information    Multicultural &            277 [1]
  Online  View Release                    States   Service               Demographic       visitors/month




  North Dakota Latino News                 United   News & Information    Multicultural &            277 [1]
  Online  View Release                    States   Service               Demographic       visitors/month




  New York Latino News                     United   News & Information    Multicultural &            277 [1]
  Online  View Release                    States   Service               Demographic       visitors/month
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  New Jersey Latino News       United   News & Information   Multicultural &            277 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Mississippi Latino News      United   News & Information   Multicultural &            277 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Michigan Latino News         United   News & Information   Multicultural &            277 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Louisiana Latino News        United   News & Information   Multicultural &            277 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Iowa Latino News             United   News & Information   Multicultural &            277 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Indiana Latino News          United   News & Information   Multicultural &            277 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Florida Latino News          United   News & Information   Multicultural &            277 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Natchez Democrat             United   Newspaper            Media &                    267 [1]
  Online  View Release        States                        Information       visitors/month




  Natchez Democrat             United   Newspaper            Media &                    267 [1]
  Online  View Release        States                        Information       visitors/month




  The Andalusia Star-News      United   Newspaper            Media &                    267 [1]
  Online  View Release        States                        Information       visitors/month




  The Andalusia Star-News      United   Newspaper            Media &                    267 [1]
  Online  View Release        States                        Information       visitors/month




  NewsNet Midwest              United   Broadcast Media      Media &                    265 [1]
  Online  View Release        States                        Information       visitors/month




  EstilosBlog                  United   Blog                 Multicultural &            264 [1]
  Online  View Release        States                        Demographic       visitors/month




  The Clanton Advertiser       United   Newspaper            Media &                    263 [1]
  Online  View Release        States                        Information       visitors/month




  The Clanton Advertiser       United   Newspaper            Media &                    263 [1]
  Online  View Release        States                        Information       visitors/month
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  Ironton Tribune              United   Newspaper            Media &                    260 [1]
  Online  View Release        States                        Information       visitors/month




  Ironton Tribune              United   Newspaper            Media &                    260 [1]
  Online  View Release        States                        Information       visitors/month




  Hola Arkansas!               United   Newspaper            Multicultural &            253 [1]
  Online  View Release        States                        Demographic       visitors/month




  Montana Latino News          United   News & Information   Multicultural &            243 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Missouri Latino News         United   News & Information   Multicultural &            243 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Smithfield Times             United   Newspaper            Media &                    242 [1]
  Online  View Release        States                        Information       visitors/month




  Smithfield Times             United   Newspaper            Media &                    242 [1]
  Online  View Release        States                        Information       visitors/month




  Salisbury Post               United   Newspaper            Media &                    241 [1]
  Online  View Release        States                        Information       visitors/month




  Salisbury Post               United   Newspaper            Media &                    241 [1]
  Online  View Release        States                        Information       visitors/month




  El Hispano Para Todos        United   Newspaper            Multicultural &            236 [1]
  Online  View Release        States                        Demographic       visitors/month




  L'Observateur                United   Newspaper            Media &                    236 [1]
  Online  View Release        States                        Information       visitors/month




  L'Observateur                United   Newspaper            Media &                    236 [1]
  Online  View Release        States                        Information       visitors/month




  Hawaii Latino News           United   News & Information   Multicultural &            236 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Alabama Now                  United   Newspaper            Media &                    233 [1]
  Online  View Release        States                        Information       visitors/month




  Alabama Now                  United   Newspaper            Media &                    233 [1]
  Online  View Release        States                        Information       visitors/month
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  Shelby County Reporter       United   Newspaper             Media &                      232 [1]
  Online  View Release        States                         Information         visitors/month




  Shelby County Reporter       United   Newspaper             Media &                      232 [1]
  Online  View Release        States                         Information         visitors/month




  Pennsylvania Latino News     United   News & Information    Multicultural &              232 [1]
  Online  View Release        States   Service               Demographic         visitors/month




  Nevada Latino News           United   News & Information    Multicultural &              231 [1]
  Online  View Release        States   Service               Demographic         visitors/month




  Magnolia State Live          United   Newspaper             Media &                      226 [1]
  Online  View Release        States                         Information         visitors/month




  Magnolia State Live          United   Newspaper             Media &                      226 [1]
  Online  View Release        States                         Information         visitors/month




  Manhattanweek                United   Online News Sites &   Media &                      209 [1]
  Online  View Release        States   Other Influencers     Information         visitors/month




  Mystery Shopping Teacher     United   Blog                  Retail & Consumer            208 [1]
  Online  View Release        States                                             visitors/month




  Connecticut Hispano News     United   News & Information    Multicultural &              206 [1]
  Online  View Release        States   Service               Demographic         visitors/month




  Conexion Florida             United   Online News Sites &   Multicultural &              202 [1]
  Online  View Release        States   Other Influencers     Demographic         visitors/month




  Kansas Latino News           United   News & Information    Multicultural &              198 [1]
  Online  View Release        States   Service               Demographic         visitors/month




  Port Arthur News             United   Newspaper             Media &                      196 [1]
  Online  View Release        States                         Information         visitors/month




  Port Arthur News             United   Newspaper             Media &                      196 [1]
  Online  View Release        States                         Information         visitors/month




  Jessamine Journal            United   Newspaper             Media &                      195 [1]
  Online  View Release        States                         Information         visitors/month




  Jessamine Journal            United   Newspaper             Media &                      195 [1]
  Online  View Release        States                         Information         visitors/month
Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 125 of 211
  Georgia Latino News                              United   News & Information    Multicultural &            195 [1]
  Online  View Release                            States   Service               Demographic       visitors/month




  Georgia Latino News                              United   News & Information    Multicultural &            195 [1]
  Online  View Release                            States   Service               Demographic       visitors/month




  Arizona Hispano News                             United   News & Information    Multicultural &            192 [1]
  Online  View Release                            States   Service               Demographic       visitors/month




  The Suffolk News-Herald                          United   Newspaper             Media &                    185 [1]
  Online  View Release                            States                         Information       visitors/month




  The Suffolk News-Herald                          United   Newspaper             Media &                    185 [1]
  Online  View Release                            States                         Information       visitors/month




  Texas Latino News                                United   News & Information    Multicultural &            180 [1]
  Online  View Release                            States   Service               Demographic       visitors/month




  The Interior Journal                             United   Newspaper             Media &                    173 [1]
  Online  View Release                            States                         Information       visitors/month




  The Interior Journal                             United   Newspaper             Media &                    173 [1]
  Online  View Release                            States                         Information       visitors/month




  Ohio Latino News                                 United   News & Information    Multicultural &            173 [1]
  Online  View Release                            States   Service               Demographic       visitors/month




  Transporte, Logística & Comercio Internacional   United   Newspaper             Multicultural &            167 [1]
  Online  View Release                            States                         Demographic       visitors/month




  Washington Latino News                           United   News & Information    Multicultural &            162 [1]
  Online  View Release                            States   Service               Demographic       visitors/month




  Folsom Local News [Folsom, CA]                   United   Online News Sites &   Media &                    153 [1]
  Online  View Release                            States   Other Influencers     Information       visitors/month




  Folsom Local News [Folsom, CA]                   United   Online News Sites &   Media &                    153 [1]
  Online  View Release                            States   Other Influencers     Information       visitors/month




  Massachusetts Hispano News                       United   News & Information    Multicultural &            151 [1]
  Online  View Release                            States   Service               Demographic       visitors/month




  The Bogalusa Daily News                          United   Newspaper             Media &                    148 [1]
  Online  View Release                            States                         Information       visitors/month
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  The Bogalusa Daily News      United   Newspaper             Media &                    148 [1]
  Online  View Release        States                         Information       visitors/month




  The Farmville Herald         United   Newspaper             Media &                    144 [1]
  Online  View Release        States                         Information       visitors/month




  The Farmville Herald         United   Newspaper             Media &                    144 [1]
  Online  View Release        States                         Information       visitors/month




  areaLosAngele                United   Online News Sites &   Multicultural &            144 [1]
  Online  View Release        States   Other Influencers     Demographic       visitors/month




  Sangri Times                 India    Online News Sites &   General                    139 [1]
  Online  View Release                 Other Influencers                       visitors/month




  NewsNet Southwest            United   Broadcast Media       Media &                    138 [1]
  Online  View Release        States                         Information       visitors/month




  Conexión Hispana             United   Broadcast Media       Multicultural &            136 [1]
  Online  View Release        States                         Demographic       visitors/month




  NewsNet West                 United   Broadcast Media       Media &                    134 [1]
  Online  View Release        States                         Information       visitors/month




  The Clemmons Courier         United   Newspaper             Media &                    127 [1]
  Online  View Release        States                         Information       visitors/month




  The Clemmons Courier         United   Newspaper             Media &                    127 [1]
  Online  View Release        States                         Information       visitors/month




  Claiborne Progress           United   Newspaper             Media &                    127 [1]
  Online  View Release        States                         Information       visitors/month




  Claiborne Progress           United   Newspaper             Media &                    127 [1]
  Online  View Release        States                         Information       visitors/month




  Illinois Latino News         United   News & Information    Multicultural &            127 [1]
  Online  View Release        States   Service               Demographic       visitors/month




  Winchester Sun               United   Newspaper             Media &                    125 [1]
  Online  View Release        States                         Information       visitors/month




  Winchester Sun               United   Newspaper             Media &                    125 [1]
  Online  View Release        States                         Information       visitors/month
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  The Wetumpka Herald          United   Newspaper            Media &                    125 [1]
  Online  View Release        States                        Information       visitors/month




  The Wetumpka Herald          United   Newspaper            Media &                    125 [1]
  Online  View Release        States                        Information       visitors/month




  Utah Latino News             United   News & Information   Multicultural &            120 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Alexander City Outlook       United   Newspaper            Media &                    108 [1]
  Online  View Release        States                        Information       visitors/month




  Alexander City Outlook       United   Newspaper            Media &                    108 [1]
  Online  View Release        States                        Information       visitors/month




  The Brewton Standard         United   Newspaper            Media &                    105 [1]
  Online  View Release        States                        Information       visitors/month




  The Brewton Standard         United   Newspaper            Media &                    105 [1]
  Online  View Release        States                        Information       visitors/month




  Delaware Latino News         United   News & Information   Multicultural &            105 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Colorado Latino News         United   News & Information   Multicultural &            101 [1]
  Online  View Release        States   Service              Demographic       visitors/month




  Washington Daily News        United   Newspaper            Media &                     89 [1]
  Online  View Release        States                        Information       visitors/month




  Washington Daily News        United   Newspaper            Media &                     89 [1]
  Online  View Release        States                        Information       visitors/month




  The Selma Times-Journal      United   Newspaper            Media &                     61 [1]
  Online  View Release        States                        Information       visitors/month




  The Selma Times-Journal      United   Newspaper            Media &                     61 [1]
  Online  View Release        States                        Information       visitors/month




  Wyoming Latino News          United   News & Information   Multicultural &   Not Available
  Online  View Release        States   Service              Demographic




  National NewsNet             United   Broadcast Media      Media &           Not Available
  Online  View Release        States                        Information
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  Coastal Today Magazine           United   Magazine              Travel & Leisure   Not Available
  Online  View Release            States




  Buenos Dias Nebraska             United   Online News Sites &   Multicultural &    Not Available
  Online  View Release            States   Other Influencers     Demographic




  Virginia Latino News             United   News & Information    Multicultural &    Not Available
  Online  View Release            States   Service               Demographic




  Vermont Latino News              United   News & Information    Multicultural &    Not Available
  Online  View Release            States   Service               Demographic




  Tennesse Latino News             United   News & Information    Multicultural &    Not Available
  Online  View Release            States   Service               Demographic




  SuperLatina TV                   United   Blog                  Multicultural &    Not Available
  Online  View Release            States                         Demographic




  South Dakota Latino News         United   News & Information    Multicultural &    Not Available
  Online  View Release            States   Service               Demographic




  The Tryon Daily Bulletin         United   Newspaper             Media &            Not Available
  Online  View Release            States                         Information




  The Troy Messenger               United   Newspaper             Media &            Not Available
  Online  View Release            States                         Information




  The Tidewater News               United   Newspaper             Media &            Not Available
  Online  View Release            States                         Information




  The Stanly News & Press          United   Newspaper             Media &            Not Available
  Online  View Release            States                         Information




  The Post-Searchlight             United   Newspaper             Media &            Not Available
  Online  View Release            States                         Information




  The Coastland Times              United   Newspaper             Media &            Not Available
  Online  View Release            States                         Information




  The Charlotte Gazette            United   Newspaper             Media &            Not Available
  Online  View Release            States                         Information




  The Roanoke Chowan News Herald   United   Newspaper             Media &            Not Available
  Online  View Release            States                         Information
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  Davie County Enterprise Record   United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  Middlesboro News                 United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  Luverne Journal                  United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  Lowndes Signal                   United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  Kenbridge Victoria Dispatch      United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  Harlan Enterprise                United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  The Greenville Advocate          United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  The Demopolis Times              United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  Cordele Dispatch                 United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  Bluegrass Live                   United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  Austin Daily Herald              United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  The Atmore Advance               United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  The Advocate-Messenger           United   Newspaper   Media &       Not Available
  Online  View Release            States               Information




  Americus Times-Recorder          United   Newspaper   Media &       Not Available
  Online  View Release            States               Information
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  Rhode Island Hispano News     United   News & Information      Multicultural &   Not Available
  Online  View Release         States   Service                 Demographic




  Grit Daily                    United   Online News Sites &     Financial         Not Available
  Online  View Release         States   Other Influencers




  North Carolina Latino News    United   News & Information      Multicultural &   Not Available
  Online  View Release         States   Service                 Demographic




  New Mexico Latino News        United   News & Information      Multicultural &   Not Available
  Online  View Release         States   Service                 Demographic




  Nebraska Latino News          United   News & Information      Multicultural &   Not Available
  Online  View Release         States   Service                 Demographic




  Minnesota Latino News         United   News & Information      Multicultural &   Not Available
  Online  View Release         States   Service                 Demographic




  Maine Latino News             United   News & Information      Multicultural &   Not Available
  Online  View Release         States   Service                 Demographic




  WWDW 107.7-FM [Alberta, VA]   United   Broadcast Media         Media &           Not Available
  Online  View Release         States                           Information




  K Pratcher Media              United   Business/Company Site   General           Not Available
  Online  View Release         States




  Kentucky Latino News          United   News & Information      Multicultural &   Not Available
  Online  View Release         States   Service                 Demographic




  Idaho Latino News             United   News & Information      Multicultural &   Not Available
  Online  View Release         States   Service                 Demographic




  Grit Daily                    United   Online News Sites &     Financial         Not Available
  Online  View Release         States   Other Influencers




  Geovanny Vicente Romero       United   Blog                    Multicultural &   Not Available
  Online  View Release         States                           Demographic




  Geovanny Vicente Romero       United   Blog                    Multicultural &   Not Available
  Online  View Release         States                           Demographic
             Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 131 of 211
                 Wisconsin Latino News                                  United       News & Information            Multicultural &         Not Available
                 Online  View Release                                  States       Service                       Demographic




                 New Hampshire Latino News                              United       Online News Sites &           Multicultural &         Not Available
                 Online  View Release                                  States       Other Influencers             Demographic




                 Nancy Clara                                            United       Blog                          Multicultural &         Not Available
                 Online  View Release                                  States                                     Demographic




                 Revista MUJERES Internacional                          United       Magazine                      Multicultural &         Not Available
                 Online  View Release                                  States                                     Demographic




                 WZSP-FM 105.3 La Zeta [Nocatee, FL]                    United       Broadcast Media               Multicultural &         Not Available
                 Online  View Release                                  States                                     Demographic




*Data sources:                                          [2] Alexa, [3] siteworthtraffic.com [4] Cision Digital
[1]                                                     Reach
*The data cited here by SimilarWeb represents site traffic data of worldwide unique visitors on desktop and mobile devices. Data is updated monthly.
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Traffic


Overview

 RELEASE VIEWS & HITS           4.7K      MULTIMEDIA                        0

  Release Views                  4.4K

   Media Views                    194

   Public Views                  4.2K
   Partner Sites                  341

   PR Newswire Properties        3.8K

  Release Web Crawler Hits        360




Release Views
Release Views Over Time




    10000


            1 663
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                   1000
                               418
                                    206
                                      159
                                        135153
 Release Views


                    100                                55
                                                                     39                                          38 37 33           46
                                                                31 35 27                                      27   27    27 31 25 30 3536 3325 27 32
                                                                                    212125                  22 22                        22                                                              1821 17 16 17
                                                                                                   12                                                                                           13
                     10




                      1




                      0
                           06 Jul

                                     08 Jul

                                              10 Jul

                                                       12 Jul

                                                                  14 Jul

                                                                           16 Jul

                                                                                      18 Jul

                                                                                                   20 Jul

                                                                                                              22 Jul

                                                                                                                       24 Jul

                                                                                                                                26 Jul

                                                                                                                                         28 Jul

                                                                                                                                                  30 Jul

                                                                                                                                                           01 Aug

                                                                                                                                                                     03 Aug

                                                                                                                                                                              05 Aug

                                                                                                                                                                                       07 Aug

                                                                                                                                                                                                09 Aug

                                                                                                                                                                                                           11 Aug

                                                                                                                                                                                                                    13 Aug
                                      Cumulative                           Media Views                                     Partner Sites                            PRN Properties




Media Views on PR Newswire for Journalists
                                    Top 10 Outlets

                   Slack Inc (3)                                                                   3

                     Cision (3)                                                                    3

                 Times of News
                                                                                                   3
                       24x7 (3)

             Accion Labs (3)                                                                       3

                     Delion (3)                                                                    3

                      cision (3)                                                                   3

 Life a la Latina (3)                                                                              3

   Spiltmilk.mom (3)                                                                               3

 Pongan el Café (3)                                                                                3

 CHANTELLEW (3)                                                                                    3

                                         0              1                  2                   3                  4
                                                                       Views




Views on Partner Sites
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                       Top 10 Sites
     Markets Insider
                                                                 35
                (35)

 Skagit Valley He…                                          31

 Ellensburg Daily…                                     28

   La Ley 107.9 FM
                                                       27
               (27)

    Ser Padres (11)                   11

     Morningstar (9)              9

 Tactics Magazin…                8

   Nexis Newsdesk
                                 8
               (8)

 WSYR-TV ABC-…               6

 WICZ-TV FOX-4…              6

                        0        10         20         30        40
                                           Views




Traffic to PR Newswire Properties

Type of Views                                      Views
                                                       Type                                     Views


                                                       Desktop Views                            2,553


                                                       Mobile/Tablet Views                      1,271


                                                       Total Views on PR Newswire Properties    3,824




               Desktop Views
               Mobile/Tablet Views




External Traffic Sources
Understand how viewers found your release.
 Source Type                                  Source                                Instances


 Direct                                                                                1,455


 Direct                                       Direct                                   1,455


  Search Engine (7)                                                                   1,264


 Total                                                                                 3,817
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Source Type                    Source                   Instances


Search Engine                  Google                      1,244


Search Engine                  Start Page                      6


Search Engine                  Yahoo!                          4


Search Engine                  Info.com                        4


Search Engine                  Bing                            4


Search Engine                  Yandex                          1


Search Engine                  DuckDuckGo                      1
                                                                    Direct       Search Engine
                                                                    Social Media
 Social Media (2)                                             8    PR Newswire Properties
                                                                    Other Sites
Social Media                   Twitter                         7


Social Media                   Facebook                        1


 PR Newswire Properties (2)                                 828


PR Newswire Properties         prnewswire.com                825


PR Newswire Properties         newswire.ca                     3


 Other Sites (11)                                           262


Other Sites                    hip2save.com                  247


Other Sites                    prod.uhrs.playmsn.com           4


Other Sites                    trello.com                      2


Other Sites                    webdigital.dmr.st               2


Other Sites                    disq.us                         1


Other Sites                    iqstock.news                    1


Other Sites                    aibull.io                       1


Other Sites                    openmultipleurl.com             1


Other Sites                    hq.wb.archive.org               1


Other Sites                    admin.intellizence.com          1


Other Sites                    chinookobserver.com             1


Total                                                      3,817
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 Audience


Overview

                                            VIEWS FROM IDENTIFIED                                                                       AP & INFLUENCER LIST RECIPIENTS
                                                      AUDIENCES                                                                                                       2.4K
                                                                305

                                                                                                                                             Wire Distribution / AP Outlets             949
   Media Views                                                               194
                                                                                                                                             Targeted Influencers                       1.4K
   Organization Views                                                        111




 Audience Summary

 Media Demographics
 A break down of the industries covered, the media types and the locations of the journalists & bloggers
 accessing your releases on PR Newswire for Journalists.

 Top Industries                                                             Top Media Types                                                                           Top Locations
  100                                                                        80




   75                                                                        60




   50                                                                        40




   25                                                                        20




                                                                             0
    0
                                                                                                         Blogger
                                                                                   Web/On-Line Service




                                                                                                                               Freelance/Writer

                                                                                                                                                  Trade Periodicals
                                                                                                                   Newspaper
                        Consumer Products
        Media
                Other




                                                         General Business
                                            Technology




                                                                                                                                                                          United States
                                                                                                                                                                          India        Canada
                                                                                                                                                                          Pakistan
                                                                                                                                                                          Malaysia        The rest




 Geo-segmentation
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See where views of your release originated. Hover over map to see totals by location.
Select a region:
World View



                                                                     >0
                                                                     1 - 10
                                                                     10 - 30
                                                                     30 - 100
                                                                     100 - 300
                                                                     300 - 1 000
                                                                     > 1 000




                                                                     >0
                                                                     1 - 10
                                                                     10 - 30
                                                                     30 - 100
                                                                     100 - 300
                                                                     300 - 1 000
                                                                     > 1 000
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                                                        >0
                                                        1 - 10
                                                        10 - 30
                                                        30 - 100
                                                        100 - 300
                                                        300 - 1 000
                                                        > 1 000




                                                        >0
                                                        1 - 10
                                                        10 - 30
                                                        30 - 100
                                                        100 - 300
                                                        300 - 1 000
                                                        > 1 000
             Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 139 of 211




                                                                                    >0
                                                                                    1 - 10
                                                                                    10 - 30
                                                                                    30 - 100
                                                                                    100 - 300
                                                                                    300 - 1 000
                                                                                    > 1 000




                                                                                    >0
                                                                                    1 - 10
                                                                                    10 - 30
                                                                                    30 - 100
                                                                                    100 - 300
                                                                                    300 - 1 000
                                                                                    > 1 000




Audience Details
Media Views
See the details of each media outlet from PR Newswire for Journalists that viewed your release.
                                                                                                         Views
 Outlet              Industry                                Source Type                      Location
                                                                                                            

 Slack Inc           Healthcare                              Trade Periodicals, Web/On-Line   United        3
                                                             Service                          States


 Total                                                                                                    194
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Cision                 Academe, Auto, Broadcast, Consumer Products, Energy,        Blogger, Newspaper, Television      India          3
                       Entertainment, Environment, Features, Financial Services,
                       General Business, Healthcare, Heavy Industry, Media,
                       Multicultural, Other, Public Issues, Sports, Technology,
                       Transportation, Travel


Times of News 24x7     Healthcare                                                  Blogger, Other, Web/On-Line         India          3
                                                                                   Service


Accion Labs            Auto, Entertainment, Environment, Features                  Newspaper, Radio                    India          3


Delion                 Environment, Financial Services, General Business, Other,   Blogger, Newspaper                  Canada         3
                       Technology


cision                 Auto                                                        Blogger                             United         3
                                                                                                                       States


Life a la Latina       Auto, Broadcast, Consumer Products, Energy,                 Blogger                             United         3
                       Entertainment, Environment, Features, Financial Services,                                       States
                       General Business, Healthcare, Heavy Industry, Media,
                       Other, Public Issues, Sports, Technology, Transportation,
                       Travel


Spiltmilk.mom          Auto, Broadcast, Entertainment, General Business,           Blogger, Freelance/Writer, Radio    United         3
                       Healthcare, Media, Other, Public Issues, Technology,                                            States
                       Travel


Pongan el Café         Broadcast, Consumer Products, Entertainment, Media,         Blogger                             United         3
                       Technology, Travel                                                                              States


CHANTELLEW             Financial Services, General Business, Public Issues         Blogger                             Monaco         3


OncologyTube.com       Media, Other                                                Web/On-Line Service                 United         3
                                                                                                                       States


Freelance              Features                                                    Freelance/Writer                    Canada         3


Retail TouchPoints     Consumer Products, General Business, Other                  Web/On-Line Service                 United         3
                                                                                                                       States


MT Newswires           Auto, Broadcast, Consumer Products, Energy,                 Wire Service                        Philippines    3
                       Entertainment, Environment, Features, Financial Services,
                       General Business, Healthcare, Heavy Industry, Media,
                       Other, Public Issues, Sports, Technology, Transportation,
                       Travel


stocksniper            Other                                                       Blogger                             United         3
                                                                                                                       States


Soap Opera Network /   Broadcast, Entertainment, Features, Media, Technology,      Blogger, Freelance/Writer, Other,   United         3
ErrolLewis.com         Travel                                                      Television                          States


Path to Purchase IQ    Consumer Products, Other                                    Trade Periodicals                   United         3
and Retail Leader                                                                                                      States


Nawae Pakistan         Public Issues                                               Web/On-Line Service                 Pakistan       3


STEWAWEL News &        Auto, Broadcast, Consumer Products, Energy,                 Radio, Television, Web/On-Line      United         3
Information            Entertainment, Environment, Features, Financial Services,   Service, Wire Service               States
                       General Business, Healthcare, Heavy Industry, Media,
                       Other, Public Issues, Sports, Technology, Transportation,
                       Travel


Total                                                                                                                                194
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Legal Support World    Other                                                       Blogger, Freelance/Writer           United          3
                                                                                                                       States


Daily News             Other                                                       Other                               South Africa    3


Cision (PR Newswire)   Auto, Broadcast, Consumer Products, Energy,                 Blogger, Consumer Periodicals,      United          3
                       Entertainment, Environment, Features, Financial Services,   Freelance/Writer, Newspaper,        States
                       General Business, Healthcare, Heavy Industry, Media,        Other, Radio, Television, Trade
                       Other, Public Issues, Sports, Technology, Transportation,   Periodicals, Web/On-Line Service,
                       Travel                                                      Wire Service


Randall-Reilly         Transportation                                              Trade Periodicals                   United          3
Publishing Co.                                                                                                         States


Okinawa Marine         Broadcast, Environment, Features, Financial Services,       Freelance/Writer, Newspaper,        Japan           3
                       Media, Public Issues, Technology, Transportation, Travel    Web/On-Line Service, Wire
                                                                                   Service


Houston Chronicle      Features                                                    Newspaper                           United          3
                                                                                                                       States


heart & soul           Entertainment, Healthcare, Travel                           Consumer Periodicals, Radio,        United          3
                                                                                   Web/On-Line Service                 States


Gaceta UNAM            Environment, Features, Healthcare, Media, Public Issues,    Newspaper, Web/On-Line Service      Mexico          3
                       Sports, Travel


New York 1 News        Other                                                       Television                          United          3
                                                                                                                       States


Freelancer             Entertainment, Features, Healthcare                         Freelance/Writer, Newspaper         United          3
                                                                                                                       States


PR                     Technology                                                  Other                               Malaysia        3


News Aktuell           Other                                                       Wire Service                        Switzerland     3


HomePage News          Consumer Products, Features                                 Trade Periodicals                   United          3
                                                                                                                       States


Economic Review        Auto, Energy, Features, Financial Services, Media, Public   Freelance/Writer, Newspaper,        Pakistan        3
                       Issues, Sports                                              Trade Periodicals


Lola Digital Media     Auto, Consumer Products, Energy, Environment, Features,     Freelance/Writer                    United          2
                       Media, Sports, Technology, Travel                                                               States


basil &amp;amp; salt   Broadcast, Consumer Products, Energy, Entertainment,        Blogger, Freelance/Writer, Other,   United          2
magazine               Environment, Features, Financial Services, General          Radio                               States
                       Business, Media, Public Issues, Technology, Travel


mmirandalaurenn        Consumer Products, Entertainment, Media, Other              Blogger                             United          2
                                                                                                                       States


Record Gazette         Entertainment, General Business, Media, Public Issues       Newspaper                           United          2
                                                                                                                       States


WRHU 88.7 FM           Financial Services                                          Radio                               United          2
                                                                                                                       States


Puget Sound Business   General Business                                            Newspaper, Web/On-Line Service      United          2
Journal                                                                                                                States


YouSeeNothing          Entertainment, Environment, Financial Services,             Blogger, Web/On-Line Service        United          2
                       Healthcare, Media, Public Issues, Technology                                                    States


Total                                                                                                                                 194
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Kingsport Times-New      Other                                                         Newspaper                      United      2
                                                                                                                      States


United News of India     Auto, Broadcast, Consumer Products, Energy,                   Wire Service                   India       2
                         Entertainment, Environment, Features, Financial Services,
                         General Business, Healthcare, Heavy Industry, Media,
                         Other, Public Issues, Sports, Technology, Transportation,
                         Travel


WSAZ                     Financial Services                                            Television                     United      2
                                                                                                                      States


Business Insider         Consumer Products, General Business, Other, Sports            Web/On-Line Service            United      2
                                                                                                                      States


Freelance                Entertainment, Financial Services, General Business,          Freelance/Writer               United      2
                         Healthcare, Public Issues, Technology                                                        States


Selfobsessed Inc         Financial Services, General Business, Healthcare, Media,      Blogger, Freelance/Writer      India       2
                         Public Issues


hispanic pr blog         Media                                                         Freelance/Writer               United      2
                                                                                                                      States


Feather River Bulletin   Other                                                         Newspaper                      United      2
                                                                                                                      States


C4 Trends                Healthcare, Media, Technology                                 Trade Periodicals              United      2
                                                                                                                      States


The Shelby Report        Other                                                         Trade Periodicals              United      2
                                                                                                                      States


FootPrint Coalition      Auto, Consumer Products, Energy, Environment, Financial       Blogger                        United      2
                         Services, Heavy Industry, Other, Public Issues, Technology,                                  States
                         Transportation


Morning Brew             Consumer Products, General Business                           Other                          United      2
                                                                                                                      States


Freelancer               Other                                                         Trade Periodicals              United      2
                                                                                                                      States


NewsRise                 Auto, Broadcast, Consumer Products, Energy,                   Freelance/Writer, Newspaper,   Malaysia    2
                         Entertainment, Environment, Features, Financial Services,     Radio, Wire Service
                         General Business, Healthcare, Heavy Industry, Media,
                         Other, Public Issues, Sports, Technology, Transportation,
                         Travel


Food Dive                Consumer Products                                             Trade Periodicals              United      2
                                                                                                                      States


KCPQ (Q13)               Auto, Broadcast, Consumer Products, Energy,                   Television                     United      2
                         Entertainment, Environment, Features, Financial Services,                                    States
                         General Business, Healthcare, Heavy Industry, Media,
                         Other, Public Issues, Sports, Technology, Transportation,
                         Travel


Winsight                 Auto, Consumer Products, Technology                           Trade Periodicals              United      2
                                                                                                                      States


Total                                                                                                                            194
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CanGlobal Media       Auto, Broadcast, Entertainment, Features, General           Blogger, Consumer Periodicals,      Canada         2
                      Business, Heavy Industry, Media, Public Issues,             Freelance/Writer, Newspaper,
                      Technology, Transportation, Travel                          Radio, Television, Web/On-Line
                                                                                  Service


TVWNews India         Auto, Broadcast, Consumer Products, Energy,                 Newspaper                           India          2
                      Entertainment, Environment, Features, Financial Services,
                      General Business, Healthcare, Heavy Industry, Media,
                      Other, Public Issues, Sports, Technology, Transportation,
                      Travel


Abasto Magazine       Consumer Products                                           Other                               United         2
                                                                                                                      States


Retail Leader         Media                                                       Trade Periodicals                   United         2
                                                                                                                      States


Sing Tao Daily        Other                                                       Newspaper                           Canada         2
Toronto Edition 多伦多
星岛


Retailopia            Consumer Products                                           Blogger                             India          2


Rodman Media Corp.    Consumer Products, Media                                    Trade Periodicals, Web/On-Line      United         2
                                                                                  Service                             States


Retail Gazette        Auto, Broadcast, Consumer Products, Energy,                 Blogger, Consumer Periodicals,      United         2
                      Entertainment, Environment, Features, Financial Services,   Freelance/Writer, Newspaper,        Kingdom
                      General Business, Healthcare, Heavy Industry, Media,        Other, Radio, Television, Trade
                      Other, Public Issues, Sports, Technology, Transportation,   Periodicals, Web/On-Line Service,
                      Travel                                                      Wire Service


NewsRx                Auto, Broadcast, Consumer Products, Energy,                 Web/On-Line Service                 United         2
                      Entertainment, Environment, Features, Financial Services,                                       States
                      General Business, Healthcare, Heavy Industry, Media,
                      Other, Public Issues, Sports, Technology, Transportation,
                      Travel


Viable.Earth          Auto, Consumer Products, Energy, Environment                Web/On-Line Service                 Vietnam        2


Yahoo Canada          Auto, Broadcast, Consumer Products, Entertainment,          Web/On-Line Service                 Canada         2
                      Environment, Features, General Business, Healthcare,
                      Heavy Industry, Media, Public Issues, Technology, Travel


Sustaina Stocks       Financial Services, General Business                        Web/On-Line Service                 Denmark        2


about-sale.com        Consumer Products, General Business, Media                  Blogger                             Slovak         2


Beacon Media          Broadcast, Consumer Products, Entertainment,                Newspaper                           United         2
                      Environment, Features, General Business, Healthcare,                                            States
                      Media, Public Issues, Sports, Technology, Transportation,
                      Travel


NBCUniversal          Consumer Products, Media                                    Television, Web/On-Line Service     United         2
                                                                                                                      States


Bloomberg News        Other                                                       Wire Service                        Netherlands    2


ALM                   Other                                                       Newspaper                           United         2
                                                                                                                      States


The Epoch Times       Media, Public Issues, Technology                            Newspaper                           United         2
                                                                                                                      States


Total                                                                                                                               194
                Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 144 of 211


 Slice Publications Ltd             Other                                                             Other                                      New           2
                                                                                                                                                 Zealand


 Mann Publications                  Consumer Products, Entertainment, Features, General               Blogger, Freelance/Writer,                 United        2
                                    Business, Media, Other, Public Issues, Technology, Travel         Newspaper, Other, Trade                    States
                                                                                                      Periodicals, Web/On-Line Service


 Formula4Media/Sports               Consumer Products, General Business, Media, Sports,               Blogger, Freelance/Writer, Other,          United        2
 Insight Extra/Footwear             Technology                                                        Trade Periodicals, Web/On-Line             States
 Insight                                                                                              Service


 CNN                                Consumer Products, Environment, General Business                  Web/On-Line Service                        United        2
                                                                                                                                                 States


 KrazzyMag                          Auto, Entertainment, Financial Services, Healthcare,              Blogger, Other, Web/On-Line                India         2
                                    Media, Sports, Technology, Travel                                 Service


 CLARA                              Other                                                             Consumer Periodicals                       Spain         1


 Total                                                                                                                                                      194




Organization Views
See which organizations have viewed your releases
                                                                                           Visitor
 Organization                                Headquarters                                  Location           Parent Organization     Industry              Views


 Breezeline                                  Batterymarch Park Suite 200 , United States   UNITED                                                              7
                                                                                           STATES


 EVO North                                   Pakistan                                      PAKISTAN                                                            5


 Akamai Technologies, Inc.                   145 Broadway , United States                  UNITED                                     Software & Internet      4
                                                                                           STATES


 SETON LAKE INDIAN BAND                      3777 Kingsway , Canada                        CANADA                                                              3


 First American Title                        1 FIRST AMERICAN WAY 1st fl, Data Center ,    UNITED             First American Title    Insurance                2
                                             United States                                 STATES             Insurance Company


 CFR RINKENS LLC - PARAMOUNT -               15501 TEXACO AVE , United States              UNITED                                                              2
 DATA                                                                                      STATES


 SpaceX Services, Inc.                       1 Rocket Rd , United States                   UNITED                                     Manufacturing            2
                                                                                           STATES


 Conroe Independent School District          3205 West Davis , United States               UNITED             The Woodlands High      Education                2
                                                                                           STATES             School


 Williams-Sonoma                             3250 Van Ness Ave , United States             UNITED             Williams-Sonoma Inc                              2
                                                                                           STATES


 SWINERTON INCORPORATED                      16798 WEST BERNARDO DR , United States        UNITED                                                              2
                                                                                           STATES


 SOUTH BROWARD HOSPITAL DIST                 851 S DOUGLAS RD , United States              UNITED                                                              2
                                                                                           STATES


 West Corporation                            11808 Miracle Hills Dr. , United States       UNITED             West Corporation        Software & Internet      1
                                                                                           STATES


 Avago Technologies U.S. Inc.                1320 Ridder Park Drive , United States        UNITED                                                              1
                                                                                           STATES


 California Department of Justice            4949 Broadway , United States                 UNITED             Calif. , company        Government               1
                                                                                           STATES


 Total                                                                                                                                                       111
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Baycare Health System                     16255 Bay Vista Drive , United States              UNITED    BayCare Health System       Healthcare,               1
                                                                                             STATES                                Pharmaceuticals, &
                                                                                                                                   Biotech


Department of Veterans Affairs            810 Vermont Ave., NW , United States               UNITED    Department of Veterans      Government                1
                                                                                             STATES    Affairs


US Dept of Justice                        P.O. Box 59110 , United States                     UNITED    Department of Justice       Government                1
                                                                                             STATES


City of Albuquerque                       One Civic Plaza, NW Room 2061 Information          UNITED    Albuquerque City Attorney   Law Firms & Legal         1
                                          Systems Division , United States                   STATES                                Services


Limra International                       300 Day Hill Rd. , United States                   UNITED    LIMRA International Inc     Non-Profit                1
                                                                                             STATES


CLARKSVILLE DEPARTMENT OF                 2021 Wilma Rudolph Blvd. , United States           UNITED    Clarksville Department of   Energy & Utilities        1
ELECTRICITY                                                                                  STATES    Electricity


Pink Connect Ltd                          Connect House CV36 4AW , United Kingdom                      Pink Connect Ltd            Telecommunications        1


SpaceX Canada Corp.                       P.O. Box 997 , Canada                              UNITED                                                          1
                                                                                             STATES


INOC LLC                                  4 Tower Place 2nd Floor , United States            UNITED    INOC LLC                    Media & Entertainment     1
                                                                                             STATES


GCW CONSULTING LLC                        935 ROYAL AVE , United States                      UNITED    GCW Consulting LLC          Business Services         1
                                                                                             STATES


Checksmart Financial Company              6785 Bobcat Way 200 , United States                UNITED                                                          1
                                                                                             STATES


MCNC                                      PO Box 12889 , United States                       UNITED    MCNC                        Software & Internet       1
                                                                                             STATES


Clinical Laboratories                     901 Keystone Industrial Park , United States       UNITED                                                          1
                                                                                             STATES


University of Miami                       5200 Brunson Drive , United States                 UNITED    University of Miami         Education                 1
                                                                                             STATES


St. Alexius Hospital                      3933 South Broadway , United States                UNITED    St. Alexius Hospital        Healthcare,               1
                                                                                             STATES                                Pharmaceuticals, &
                                                                                                                                   Biotech


State of Louisiana Office of Technology   1800 N 3rd Street , United States                  UNITED                                                          1
Services                                                                                     STATES


Temple University                         3rd floor Telecommunications 1101 W Montgomery     UNITED    Temple University           Education                 1
                                          Avenue , United States                             STATES


East Arkansas Video, Inc.                 521 N. Washington Street , United States           UNITED    East Arkansas Cable TV      Telecommunications        1
                                                                                             STATES


JKM Infotech                              India                                              INDIA                                 Business Services         1


Davidson College                          P O Box 7164 , United States                       UNITED    Davidson College            Education                 1
                                                                                             STATES


Wilkes County Association of              1400 River Street , United States                  UNITED    Wilkes County Association   Non-Profit                1
REALTORS Inc                                                                                 STATES    of REALTORS Inc


City of Morganton                         CoMPAS Suite A100 , United States                  UNITED    City of Morganton           Government                1
                                                                                             STATES


NET GATE COMUNICATII SRL                  Valea Ialomitei nr.1A,Bucuresti,Romania , United   ROMANIA                                                         1
                                          States


CKY Hopkinsville Electric                 1820 East Ninth Street , United States             UNITED    EnergyNet                   Telecommunications        1
                                                                                             STATES


ALHS                                      331 3rd St SW , United States                      UNITED                                                          1
                                                                                             STATES


Total                                                                                                                                                      111
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T.K Bytech LTD                           1hs April 22, APRILIANA COURT, Flat 203 6035 ,        RUSSIAN                                                             1
                                         Turkey                                                FEDERATION


Oakland Community College                2480 Opdyke Road , United States                      UNITED       Oakland Community               Education              1
                                                                                               STATES       College


DOCTOR C ESTEP                           3737 W BETHEL AVE , United States                     UNITED                                                              1
                                                                                               STATES


White Cloud Technologies LLC             663 Main Ave. East , United States                    UNITED                                       Wholesale &            1
                                                                                               STATES                                       Distribution


Fresenius Medical Care NA                1 Summer St , United States                           UNITED       Fresenius Medical Care          Manufacturing          1
                                                                                               STATES       AG


University of Central Florida            CS Building 54, Room 301 4000 Central Florida         UNITED       University of Central           Education              1
                                         Blvd. , United States                                 STATES       Florida


Regus Management Group, LLC              15305 Dallas Pkwy , United States                     UNITED                                                              1
                                                                                               STATES


New Mexico State University              Box 30001 MSC 3AT , United States                     UNITED       New Mexico State                Education              1
                                                                                               STATES       University


1st tennessee light artillery regiment   67 Elkview Drive , United States                      UNITED       1st tennessee light artillery   Retail                 1
company                                                                                        STATES       regiment company


Dechert LLP                              2929 Arch Street Ste 412 , United States              UNITED       Dechert LLP                     Law Firms & Legal      1
                                                                                               STATES                                       Services


FAMILY HEALTH CENTERS                    2215 PORTLAND AVE , United States                     UNITED                                                              1
                                                                                               STATES


SOJOURNER RECOVERY SVC                   1020 SYMMES RD , United States                        UNITED                                                              1
                                                                                               STATES


University of Maine System               c/o ITS Computing Center 5752 Neville Hall , United   UNITED                                                              1
                                         States                                                STATES


AVITA HEALTH SYSTEM                      715 RICHLAND MALL , United States                     UNITED                                                              1
                                                                                               STATES


Panq B.V.                                Luchthavenweg 81.221 5657EA , Netherlands             CHINA                                                               1


Blue Ridge Mountain Electric             PO Box 9 1360 Main Street , United States             UNITED       Blue Ridge Mountain EMC         Energy & Utilities     1
Membership Corporation - BRM EMC                                                               STATES


University of Kansas Medical Center      University of Kansas Medical Center 3901 Rainbow      UNITED       University of Kansas            Education              1
                                         Blvd , United States                                  STATES


TIM KIRBY DBA IKON STEEL                 3515 S WINCHESTER RD , United States                  UNITED                                                              1
                                                                                               STATES


City of Brentwood                        5211 Maryland Way , United States                     UNITED       Brentwood TN                    Government             1
                                                                                               STATES


The Light Plant Commission of the City   1901 Jones Rd. , United States                        UNITED       Paragould.net                                          1
of Paragould                                                                                   STATES


Static IP Services                       111 New South Rd , United States                      UNITED                                                              1
                                                                                               STATES


A. Duda & Sons, Inc.                     1200 Duda Trail , United States                       UNITED                                                              1
                                                                                               STATES


Rosenberg Martin Greenberg               25 S Charles St , United States                       UNITED       Rosenberg Martin                Law Firms & Legal      1
                                                                                               STATES       Greenberg LLP                   Services


State of South Carolina                  4430 Broad River Road , United States                 UNITED       DHEC                            Government             1
                                                                                               STATES


CITY OF FORREST CITY                     225 N WASHINGTON , United States                      UNITED                                                              1
                                                                                               STATES


Total                                                                                                                                                            111
                Case 3:16-md-02741-VC Document 15865-2 Filed 11/28/22 Page 147 of 211


University of Rochester                    University IT 44 Celebration Drive, Suite 3.100 ,   UNITED    University of Rochester        Education              1
                                           United States                                       STATES


Nevada System of Higher Education          System Computing Services / MS 0270 1664 N.         UNITED    University of Nevada           Education              1
                                           Virginia St., BLDG 133 , United States              STATES    School of Medicine


City of Hudson, Ohio                       1140 Terex Rd , United States                       UNITED    City of Hudson, Ohio           Government             1
                                                                                               STATES


Wellstar Health System                     805 Sandy Plains Road , United States               UNITED    WellStar Health System Inc     Healthcare,            1
                                                                                               STATES                                   Pharmaceuticals, &
                                                                                                                                        Biotech


ZIVLINAAALRA01 CG-NAT                      5150 W. Old 106th St , United States                GERMANY                                                         1


PIVOT                                      PO BOX 289 , United States                          UNITED    Pivot Point Inc                                       1
                                                                                               STATES


University of Washington                   4545 15th Ave NE , United States                    UNITED    University of Washington       Education              1
                                                                                               STATES


Armstrong Atlantic State University        11935 Abercorn Street , United States               UNITED    Armstrong Atlantic State       Education              1
                                                                                               STATES    University


Mills College                              5000 MacArthur Blvd , United States                 UNITED    Mills College                  Education              1
                                                                                               STATES


BANNER HEALTH                              2929 N Central Avenue , United States               UNITED    Banner Health                  Healthcare,            1
                                                                                               STATES                                   Pharmaceuticals, &
                                                                                                                                        Biotech


Independent Inc                            1801 Lawrence Dr , United States                    UNITED                                                          1
                                                                                               STATES


Cleveland Clinic Foundation                17325 Euclid Avenue , United States                 UNITED    Cleveland Clinic               Non-Profit             1
                                                                                               STATES    Foundation


USAA                                       9800 Fredericksburg Rd. , United States             UNITED    USAA                           Insurance              1
                                                                                               STATES


HUAWEI INTERNATIONAL PTE. LTD.             15A Changi Business Park Central 1 Eightrium #      CHINA                                                           1
                                           03-03/04 , Singapore


Kobb Technology Llp                        India                                                                                                               1


MONTES DE AREIA LLC                        922 W CRAZY HORSE RD , United States                UNITED                                                          1
                                                                                               STATES


Krugliak, Wilkins, Griffiths & Dougherty   4775 Munson St. NW , United States                  UNITED    Krugliak Wilkins Griffiths &   Law Firms & Legal      1
Co., LPA                                                                                       STATES    Dougherty Co                   Services


WUXI APPTEC INC                            2540 EXECUTIVE DR , United States                   UNITED                                                          1
                                                                                               STATES


Blue Cross & Blue Shield of Minnesota      P.O. Box 64560 , United States                      UNITED    Blue Cross and Blue Shield     Insurance              1
                                                                                               STATES    of Minnesota


Mountain Village Town Of                   455 Mountain Village BV. St A , United States       UNITED                                                          1
                                                                                               STATES


WMTel                                      PO Box 155 , United States                          UNITED                                                          1
                                                                                               STATES


THE CARLYLE                                923 W BATTLEFIELD ST , United States                UNITED                                                          1
                                                                                               STATES


Maxihost LLC                               616 Corporate Way Suite 2-3521 , United States      UNITED                                                          1
                                                                                               STATES


AB DATA LTD                                5301 N IRONWOOD RD , United States                  UNITED    AB Data Ltd                    Business Services      1
                                                                                               STATES


Pipex - Tiscali Migration Space            United Kingdom                                      UNITED                                                          1
                                                                                               KINGDOM


Total                                                                                                                                                        111
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Targeted Audience
The lists below represent categories of targeted audiences you selected for your release.

Cision Influencer Lists
Human Interest (English) (144 organizations, 193 recipients)
 Organization                                                                               Number of recipients


 Freelancer                                                                                                  12


 Fusion                                                                                                       8


 El Observador                                                                                                5


 NBC News Latino                                                                                              5


 The Associated Press                                                                                         4


 Dos Mundos                                                                                                   3


 LATINA Style                                                                                                 3


 PlanetM                                                                                                      3


 Al día en América                                                                                            2


 ¡Que Onda! Magazine                                                                                          2




Human Interest (Spanish) (651 organizations, 1,501 recipients)
 Organization                                                                               Number of recipients


 Freelancer                                                                                                 100


 Univisión Network                                                                                           63


 Univisión 34 Los Ángeles                                                                                    24


 Telemundo 51                                                                                                23


 CNN en Español                                                                                              19


 KRCA Ch. 62 Estrella TV                                                                                     18


 Telemundo 47                                                                                                16


 Telemundo 52                                                                                                16


 Univisión 23 Dallas                                                                                         16


 Telemundo Network                                                                                           15




  Associated Press Outlets
  Every PR Newswire U.S. wire newsline includes targeted distribution to the Associated Press, an
  essential global news network that delivers content to an extensive set of media platforms and
  formats. The list below represents the outlets you reach via this partnership.
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Outlet Name                City                   State   Newsline   Type                      Audience


C-SPAN                              Washington      DC        US1                 Television              86,200,000 Subscribers


Scribd, Inc.                      San Francisco     CA        US1                Aggregator         43,531,670 Visitors per Month


FoxNews.com                           New York      NY        US1                    Online         32,516,438 Visitors per Month


CBS News Radio                        New York      NY        US1                     Radio       30,000,000 Broadcast Audience


New York Times Digital                New York      NY        US1               Newspaper           29,886,442 Visitors per Month


Apple Inc.                            Cupertino     CA        US1      Organization/Company         29,709,459 Visitors per Month


CNBC.com                     Englewood Cliffs       NJ        US1                    Online         26,089,260 Visitors per Month


CBSnews.com                           New York      NY        US1                    Online         26,080,671 Visitors per Month


abcnews.com                           New York      NY        US1                    Online         24,167,779 Visitors per Month


U.S. News & World Report            Washington      DC        US1                 Magazine          23,945,529 Visitors per Month
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Engagement



Overview

TOTAL ENGAGEMENT ACTIONS                                                                                                                                      1.8K

Click-throughs                                                                                                                                                   1.8K

Shares                                                                                                                                                                        4


Engagement Timeline
See when your audience engaged with your release.
 10000




  1000
                321
                 189 159

   100       79     65
                     37 31 41
                         24 29                                                      29
                                                                  22 22 20 20 18 19 23
                318       17                                             17        15 171315                                17
                              131614                                        13                  15
                                                                                               12 10 12
                                                                 8
                                                                   11        10 11          8             8     10 1012      11 11
       10                                                                                             7     767        6   6
                                                               5       5                      5         5         4            5
                          189 159                                                                   3
                                                                            12                                           2
             79             65
                                31           41
                                                  16               22 22 20 20               18 19 29 17 15                          15         12 8
                                                                                                                                                          1
                                                                                                                                                                                  12             17       1
         1                                                                                                                                                                                              11
                                                               5              5                                            5                         7 6 7 10
                      3                                                                                                                     3                                          2
                                                                                   1                                                                             1                                       1

         0
             2022-07-06



                                2022-07-12



                                                  2022-07-18



                                                                      2022-07-24



                                                                                       2022-07-30



                                                                                                             2022-08-05



                                                                                                                               2022-08-11



                                                                                                                                                 2022-08-17



                                                                                                                                                                     2022-08-23



                                                                                                                                                                                           2022-08-30




                    Cumulative                     Click-throughs                                   Shares                Downloads                           Web Conversions




Engagement Details
A break down of click-throughs, shares and other engagement
actions.
Click-throughs
The number of times your releases sent visitors to the pages you linked to.
                                                                                                                                                                  Click-
 URL                                                                                                                                                          throughs


 Total                                                                                                                                                          1,754
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                                                                                            Click-
 URL                                                                                    throughs


 https://www.weedkilleradsettlement.com/?utm_source=PRN                                      807


 https://www.weedkilleradsettlement.com/?utm_source=PRN&utm_medium=Whos_Included&            422
 utm_campaign=Gilmore


 https://www.weedkilleradsettlement.com/?utm_source=PRN&utm_medium=Make_A_Claim&             249
 utm_campaign=Gilmore


 https://www.weedkilleradsettlement.com/?utm_source=PRN&utm_medium=Stlmt_Provide&utm_        121
 campaign=Gilmore


 https://www.weedkilleradsettlement.com/?utm_source=PRN&utm_medium=Other_Options&            111
 utm_campaign=Gilmore


 https://www.weedkilleradsettlement.com/?utm_source=PRN_Spa&utm_medium=Whos_                    9
 Included&utm_campaign=Gilmore


 https://www.weedkilleradsettlement.com/?utm_source=PRN_Spa&utm_medium=Make_A_                  7
 Claim&utm_campaign=Gilmore


 https://www.weedkilleradsettlement.com/?utm_source=PRN_Spa&utm_medium=Other_                   7
 Options&utm_campaign=Gilmore


 https://www.weedkilleradsettlement.com/?utm_source=PRN_Spa&utm_medium=Stlmt_Provide&           7
 utm_campaign=Gilmore


 https://ecf.cand.uscourts.gov                                                                  6


 https://ecf.cand.uscourts.gov/                                                                 4


 https://www.weedkilleradsettlement.com/?utm_source=PRN_Spa                                     2


 https://www.cision.com/legal/cookie-policy/                                                    1


 https://www.cision.com/us/blog/                                                                1


 Total                                                                                    1,754




Shares
A break down of the types of sharing your releases generated.
 Type of share                                                                           Shares


 Webmail                                                                                        3


 LinkedIn                                                                                       1


 Total Shares                                                                                   4




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                                assurance – consulting – tax – technology

                                                                pncpa.com




Exhibit I: Long Form Notice and Claim Form
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                 NOTICE OF PROPOSED CLASS ACTION SETTLEMENT

                            UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                             Gilmore et al. v. Monsanto Company, et al.
                                   No. 3:21-cv-8159 (N.D. Cal.)

                        The United States District Court authorized this Notice.
                    It is not a solicitation from a lawyer. You are not being sued.
You may be a Class Member entitled to a cash payment under a Settlement relating to false advertising
and breach of warranty claims if you purchased certain Roundup®, HDX®, or Ace® brand
glyphosate-based weed-killer products (the “Products”).

 CLASS MEMBERS WILL RETAIN THEIR RIGHT TO SUE IF THEY CURRENTLY HAVE,
    OR LATER DEVELOP, CANCER OR ANY OTHER ILLNESS OR INJURY FROM
                      EXPOSURE TO THE PRODUCTS

The Products at issue in the Settlement include:

Roundup® Ready-to-Use Weed & Grass Killer                Roundup® Ready-to-Use Max Control 365
Roundup® Ready-to-Use Weed & Grass Killer Plus           Roundup® Concentrate Max Control 365
Roundup® Weed & Grass Killer Concentrate Plus            Roundup® Weed & Grass Killer Sure Shot
                                                         Foam
Roundup® Weed & Grass Killer Super Concentrate           Roundup® Precision Gel Weed & Grass Killer
Roundup® Ready-to-Use Poison Ivy Plus Tough              Roundup® Pro Concentrate (2.5 Gal.)
Brush Killer
Roundup® Ready-to-Use Wild Blackberry Plus Vine          HDX® Weed & Grass Killer Ready-to-Use
and Brush Killer
Roundup® Concentrate Poison Ivy Plus Tough Brush         HDX® Weed & Grass Killer Concentrate
Killer
Roundup® Concentrate Wild Blackberry Plus Vine           Ace® Ready-to-Use Weed & Grass Killer
and Brush Killer
Roundup® Ready-to-Use Extended Control Weed &            Ace® Weed & Grass Killer Concentrate
Grass Killer Plus Weed Preventer
Roundup® Concentrate Extended Control Weed &
Grass Killer Plus Weed Preventer

                                 Examples of Covered Products:




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                     THIS NOTICE CONCERNS YOUR LEGAL RIGHTS
                            PLEASE READ IT CAREFULLY

WHAT ARE THE TERMS OF THE PROPOSED SETTLEMENT?

The proposed Class Action Settlement Agreement (“Settlement” or “Agreement”) will provide the
Class with monetary relief in an amount not less than $23 million (the “Floor Amount”) and not
greater than $45 million (the “Ceiling Amount”) to pay all aspects of the Settlement, including,
but not limited to, all costs of Class Notice, Claims Administration Expenses, Class Member
Claims, Class Representative service awards, Class Counsel’s Expenses, and Class Counsel’s
Fees.

This is not a personal-injury settlement and does not provide relief for personal injury or sickness.
CLASS MEMBERS WILL RETAIN THEIR RIGHT TO SUE IF THEY CURRENTLY HAVE,
OR LATER DEVELOP, CANCER OR ANY OTHER ILLNESS OR INJURY FROM
EXPOSURE TO THE PRODUCTS.

Class Members will be able to make claims for payments for the Roundup®, HDX®, and Ace®
Products listed below, equivalent to approximately 20% of their weighted average retail price
during the relevant class period. Payments per unit range from $0.50 to $33.00, depending on the
price of the product(s) purchased, for between 2 and 11 units without proof of purchase, depending
on the state of purchase. The amount available for each Product is shown in Appendix 1. With the
exception of the three largest concentrated Products, claims can be made without proof of
purchase, but such claims are limited to 1 unit per year within the Class Period. For example, if a
Claimant purchased a 1.33 gal. container of Roundup® Ready to Use Max Control 365 in
California at least once a year since 2015, the refund amount could be $56.00 without proof of
purchase.

An unlimited number of bottles of the Products can be claimed if the Class Member provides valid
proof of purchase for each Product purchased. Claimants may be contacted and required to also
provide a declaration signed under penalty of perjury that provides additional information to
confirm that the proof of purchase is genuine and sufficient.

If total claims submitted by Authorized Claimants exceed the Ceiling Amount after all other
expenses are deducted, the amount refunded to Authorized Claimants will be reduced pro rata. On
the other hand, if total claims submitted are below the Floor Amount after all other expenses are
deducted, the amount refunded to Authorized Claimants will be increased pro rata.

If uncashed checks cause the total amount paid by Monsanto to fall below the Floor Amount, that
amount will be distributed pro rata to Class Members if a further distribution is economically
feasible. Otherwise, that amount will be donated to the National Consumer Law Center.

WHY IS THERE A NOTICE?

You have the right to know about a proposed settlement of a class action lawsuit, and about your
options, before the Court decides whether to approve the settlement. This Notice explains the
lawsuit, the settlement, your legal rights, and what benefits are available and how to get them.


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The court in charge of this case is the United States District Court for the Northern District of
California (the “Court”), and the case is called Scott Gilmore et al. v. Monsanto Company, et al.,
No. 3:21-cv-8159 (N.D. Cal.). The case is assigned to District Judge Vince Chhabria. The
individuals who sued are called the Class Representatives, and the company they sued, Monsanto
Company (“Monsanto”), is called the Defendant.

If you are a Class Member, unless you exclude yourself from the Settlement, you cannot sue,
continue to sue, or be part of any other lawsuit against the Defendant, any Retailers of the
Products, or any other Released Persons, about the claims released in this Settlement. That also
means that all decisions by the Court will bind you. The Released Claims and Released Persons
are defined in the Settlement Agreement and describe the legal claims that you give up (or
“release”) if you stay in the Settlement. The Released Claims relate to the same facts, products,
and issues raised in the lawsuit (also referred to as claims arising from an “identical factual
predicate”). The Released Claims DO NOT include claims that you developed cancer, or any
other personal injury, as a result of exposure to the Products. A detailed description of the
Released Claims is included in Appendix 2. The Settlement Agreement is available on the
Settlement Website, www.WeedKillerAdSettlement.com.

WHAT IS THE LAWSUIT ABOUT?

The lawsuit seeks to obtain compensation for alleged false advertising and breach of warranty.
Plaintiffs argue that Defendant falsely advertised and promoted the Products by failing to disclose
that the Products, and their active ingredient, glyphosate, could potentially cause cancer or other
adverse health effects. If you purchased any of the Products during the Class Period for purposes
other than resale or distribution, you are in the Class.

Monsanto denies Plaintiffs’ allegations and any wrongdoing and disputes the Class’s right to
recover anything. Nevertheless, it has agreed to settle the lawsuit for the purpose of avoiding the
time and expense of further litigation.

This case is not a personal-injury case. Plaintiffs do not allege that they were injured or became
ill from exposure to the Products. You need not have suffered personal injury to be a member of
the Class or to file a claim. And the Settlement does not release any claims you may have against
Monsanto or anyone else that you developed cancer, or any other personal injury, as a result of
exposure to the Products.

WHY IS THIS A CLASS ACTION?

In a class action, one or more people called “class representatives” or “plaintiffs” (in this case,
Scott Gilmore, James Weeks, Paul Taylor, Sherry Hanna, Amanda Boyette, Julio Ezcurra,
Anthony Jewell, and Kristy Williams), sue on behalf of people who have similar claims and so are
all part of a “class” and called “class members.” Bringing a case, such as this one, as a class action
allows the adjudication of many similar claims of consumers that might be economically too small
to bring in individual actions. One court resolves the issues for all class members, except for those
who exclude themselves from the class.




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WHY IS THERE A SETTLEMENT?

Plaintiffs and Class Counsel have evaluated the information made available during the lawsuit
and have taken into account the risks and uncertainties of proceeding with this litigation, including
the risks and uncertainties of class certification, prevailing on the merits, proving damages at trial,
and prevailing on post-trial motions and appeal. Based upon their consideration of these factors,
Plaintiffs and Class Counsel believe it is in the best interests of the Class to settle the lawsuit and
provide an opportunity for Class Members to receive a settlement payment.

Monsanto denies Plaintiffs’ allegations and any wrongdoing, and the Class’s right to recover
anything. Nevertheless, it has agreed to settle the lawsuit for the purpose of avoiding the time and
expense of further litigation.

The terms of the proposed Settlement are set forth in more detail in the Agreement filed with the
Court, which is also available on the Settlement Website, at www.WeedKillerAdSettlement.com.

THE CLASS

The Court has certified a Settlement Class defined as:

       All Persons in the United States, who, during the Class Period, purchased Products (as
       defined below) in the United States other than for resale or distribution.

The “Products” are defined as:

       •   Roundup® Ready-to-Use Weed & Grass Killer (all sizes, applicators, and varieties)
       •   Roundup® Ready-to-Use Weed & Grass Killer Plus (all sizes, applicators, and
           varieties)
       •   Roundup® Weed & Grass Killer Concentrate Plus (all sizes and varieties)
       •   Roundup® Weed & Grass Killer Super Concentrate (all sizes and varieties)
       •   Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer (all sizes and varieties)
       •   Roundup® Ready-to-Use Wild Blackberry Plus Vine and Brush Killer (all sizes and
           varieties)
       •   Roundup® Concentrate Poison Ivy Plus Tough Brush Killer (all sizes and varieties)
       •   Roundup® Concentrate Wild Blackberry Plus Vine and Brush Killer (all sizes and
           varieties)
       •   Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed
           Preventer (all sizes and varieties)
       •   Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer
           (all sizes and varieties)
       •   Roundup® Ready-to-Use Max Control 365 (all sizes and varieties)
       •   Roundup® Concentrate Max Control 365 (all sizes and varieties)
       •   Roundup® Weed & Grass Killer Sure Shot Foam (all sizes and varieties)
       •   Roundup® Precision Gel Weed & Grass Killer (all sizes and varieties)
       •   Roundup® Pro Concentrate (2.5 gal.)
       •   HDX® Weed & Grass Killer Ready-to-Use (all sizes and varieties)


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       •   HDX® Weed & Grass Killer Concentrate (all sizes and varieties)
       •   Ace® Ready-to-Use Weed & Grass Killer (all sizes and varieties)
       •   Ace® Weed & Grass Killer Concentrate (all sizes and varieties)

The “Class Period” depends on the state where each Class Member made his or her purchases. A
list of the applicable Class Periods for each State is located on the Settlement Website at
www.WeedKillerAdSettlement.com and also attached to this Notice as Appendix 3. You
should check it carefully to ensure your purchase was made within the applicable Class
Period for your state.

The Products were sold widely at Home Depot, Lowe’s, and Wal-Mart, in all 50 states and the
District of Columbia, and in the United States territories, and were also available at stores
including, but not limited to, Target, Ace Hardware, True Value, Orchard Supply, and
Amazon.com.

HOW DO I KNOW IF I AM A CLASS MEMBER?

You are a member of the Class if you:

       •   Purchased a Roundup®, Ace®, or HDX® Product included in the Class definition
           above,

       •   During the Class Period applicable to your state (see Appendix 3 to this Notice), and

       •   For purposes other than distribution or resale.

If you are not sure whether you are a Class Member, or have any other questions about the
Settlement, you should visit the Settlement Website, www.WeedKillerAdSettlement.com, or call
the Claims Administrator toll-free at 1-833-749-1489.

WILL THE SETTLEMENT AFFECT MY RIGHT TO SUE IF I CLAIM THAT I HAVE OR
LATER DEVELOP CANCER OR ANY OTHER ILLNESS OR INJURY FROM EXPOSURE
TO THE PRODUCTS?

No. You can participate in the settlement without releasing any claims you may have against
Monsanto or anyone else that you developed cancer, or any other personal injury, as a result of
exposure to the Products. This case is not a personal-injury case. Plaintiffs do not allege that they
were injured or became ill from exposure to the Products. You need not have suffered personal
injury to be a member of the Class or to participate in the settlement.




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    YOUR RIGHTS TO PARTICIPATE IN, EXCLUDE YOURSELF FROM, OR OBJECT TO
    THE SETTLEMENT

                    Summary of Your Legal Rights & Options                                         Deadline
                         This is the only way to get a cash payment. Claim Forms must
Submit a Claim Form      be submitted online or mailed to the Claims Administrator by         October 19, 2022
                         the Claims Deadline.
                         Get out of this settlement. Get no benefits from it. Keep your
                         rights.
                         If you ask to be excluded (i.e., “opt out”), you will not be bound
Ask To Be Excluded
                         by this Settlement and will keep any right you might have to sue
(i.e., “Opt Out”)                                                                             October 19, 2022
                         Monsanto separately or participate in another lawsuit about the
                         same legal claims in this lawsuit. If there is a recovery from the
                         proposed Settlement, you will not share in that recovery. For
                         instructions on how to exclude yourself, see page 7.
                         Tell the Court why you believe the proposed Settlement is
                         unfair, unreasonable, or inadequate.
                         You may file a written objection and/or appear at the Final
Object                   Approval Hearing to tell the Court why you believe the proposed
                                                                                              December 5, 2022
                         Settlement is unfair, unreasonable, or inadequate. You may still
                         file a claim even if you object. If you ask to be excluded from
                         the Class (i.e., “opt out”), you may not file an objection or a
                         claim. For instructions on how to object, see page 8.
                         Stay in this lawsuit. Await the outcome. Give up certain
                         rights.
Do Nothing               By doing nothing, you will get no cash payment, but if the              No Deadline
                         Settlement is approved, you will be giving up any right you may
                         have to sue Monsanto separately about the same legal claims in
                         this lawsuit.


    HOW DO I MAKE A CLAIM?

    You must submit a Claim Form to get a monetary payment. Claim Forms are simple and easy to
    complete, requiring (i) contact information; (ii) proof of purchase or information about the identity
    and quantity purchased; (iii) the retail location (including city and state) of the purchase; (iv) the
    approximate date of purchase; and (v) your affirmation that the information provided is true and
    correct. In exchange for receiving a monetary payment, under the Settlement Agreement, you will
    give up your rights to sue the Released Persons about the claims in the lawsuit or any other
    Released Claims.

    Claim Forms must be submitted online or postmarked no later than October 19, 2022. Claim
    Forms may be filed online at the Settlement Website, www.WeedKillerAdSettlement.com. Printed




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Claim Forms will be mailed to Class Members upon request by calling or writing to the Claims
Administrator. Printed Claim Forms should be mailed to:

                                Gilmore v. Monsanto Co. - Claims
                                 c/o Postlethwaite & Netterville
                                         P.O. Box 4208
                                    Baton Rouge, LA 70821

HOW DO I EXCLUDE MYSELF FROM THE SETTLEMENT?

If you do not want to be bound by this Settlement, you must request to be excluded from the Class.
All Class Members who purchased the Products listed above during the Class Period who do not
exclude themselves from the Settlement will be bound by the orders issued by the Court regarding
the Settlement.

If you request to be excluded from the Class, you will retain any individual rights you have against
Monsanto and will not have “released” Monsanto or any other Released Persons from any claims.
However, you will not receive the compensation described above. You may not object to the
Settlement under this option.

If you wish to be excluded from the Class (also referred to as “opting out”), you must either
download     and    print   an    Opt-Out     Form      from    the    Settlement   Website
(www.WeedKillerAdSettlement.com) or request that the Claims Administrator send you a paper
Opt-Out Form, fill out and sign the Opt-Out Form, and mail it to the Claims Administrator,
postmarked on or before October 19, 2022, at the following address:

                              Gilmore v. Monsanto Co. - Exclusions
                                 c/o Postlethwaite & Netterville
                                         P.O. Box 4208
                                    Baton Rouge, LA 70821


IF I OPT OUT, CAN I STILL GET A SETTLEMENT PAYMENT?

No. You will not get any money from the Settlement if you opt out and you cannot object to the
Settlement. You will not be legally bound by anything that happens in this lawsuit. If you opt out
from the Settlement, do not submit a Claim Form asking for benefits.

HOW DO I TELL THE COURT IF I DON’T LIKE THE SETTLEMENT?

You can ask the Court to deny approval by filing an objection. You can’t ask the Court to order a
different settlement; the Court can only approve or reject the settlement. If the Court denies
approval, no settlement payments will be sent out and the lawsuit will continue. If that is what you
want to happen, you may object.

If you want to express an objection to part or all of the Settlement, you may, but are not required
to, appear at the Final Approval Hearing, either in person or through your own attorney. If the


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Settlement is approved, you will still be bound by the Settlement and will receive the Settlement
compensation if you file a valid and timely Claim Form.

If you wish to object, you must electronically file a written objection via the Court’s Electronic
Case Filing (ECF) system; deliver a written objection to the Class Action Clerk by mail, express
mail, or personal delivery; or file a written objection in person at any location of the United States
District Court for the Northern District of California. The written objection must (a) clearly
identify the case name and number (Gilmore v. Monsanto Co., Case No. 3:21-cv-8159); (b) contain
information sufficient to identify and contact you or your attorney; and (c) contain a clear and
concise statement of your objection, as well as any facts and law supporting the objection. You
may object either on your own behalf or through an attorney hired at your own expense. If you are
represented by an attorney, you must either sign the objection yourself or execute a separate
declaration stating that you authorize the filing of the objection. You must substantially comply
with the foregoing requirements for filing a written objection before appearing at the settlement
approval hearing, but these requirements may be excused by the Court for good cause. Objections
must be filed or postmarked no later than December 5, 2022.

If you wish to appear at the Final Approval Hearing, you should file with the Court a notice of
intention to appear, either in person or through an attorney no later than December 5, 2022.

The address for the Class Action Clerk is below:



                                        Class Action Clerk
                United States District Court for the Northern District of California
                                     450 Golden Gate Avenue
                                     San Francisco, CA 94102


WHAT IS THE DIFFERENCE BETWEEN OBJECTING AND OPTING OUT?

Objecting is simply telling the Court that you do not like something about the Settlement. You can
object to the Settlement only if you do not exclude yourself from the Settlement by opting out.
Excluding yourself from the Settlement by opting out is telling the Court that you do not want to
be part of the Settlement. If you exclude yourself from the Settlement, you have no basis to object
to the Settlement because it no longer affects you.

DO I HAVE A LAWYER IN THE CASE?

The Court has appointed, as Class Counsel in this case, Gillian L. Wade, Sara D. Avila, and Marc
A. Castaneda, of Milstein, Jackson, Fairchild & Wade, LLP, Joel Oster of the Law Offices of
Howard Rubinstein, and any attorneys at those firms assisting in the representation of the Class in
this Action.

The Court has determined that Class Counsel are qualified to represent you and all other Class
Members. You will not be charged for these lawyers. The lawyers handling the case are
experienced in handling similar cases. Nevertheless, you have the right to consult or retain an

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attorney of your choice at your own expense to advise you regarding the Settlement and your rights
in connection with the Settlement and Final Approval Hearing described below.

HOW WILL THE LAWYERS GET PAID?

Class Counsel intends to apply for fees of up to one-fourth of the Ceiling Amount, and Plaintiffs
and Class Counsel intend to apply for service awards of up to $5,000 each for the Plaintiffs Scott
Gilmore, James Weeks, Paul Taylor, Sherry Hanna, Amanda Boyette, Julio Ezcurra, Anthony
Jewell, and Kristy Williams (the “named plaintiffs”). Whether to award those amounts is in the
Court’s discretion. If awarded, these payments will be subtracted from the amount available to pay
Class Members’ claims.

WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE
SETTLEMENT?

The Court has scheduled a Final Approval Hearing (also referred to as a “Fairness Hearing”) to
determine whether the Court should approve the Settlement as fair, reasonable, and adequate to
the Class, and whether Judgment should be entered in accordance with the Agreement. The Court
will also consider at the Final Approval Hearing the request of Class Counsel for an award of
attorneys’ fees and reimbursement of expenses, as well as the request of the named plaintiffs for
service awards for services rendered on behalf of the Class.

The Final Approval Hearing will occur on January 12, 2023, at 2:30 p.m. via Zoom.

Your attendance at the Final Approval Hearing is not required. However, you may be heard orally
at the hearing in opposition to the proposed Settlement if you wish.

You may also enter an appearance through an attorney retained at your own expense. If you do not
enter an appearance through an attorney, and do not object, Class Counsel will represent you at
the hearing.

The Court may delay the date of the Final Approval Hearing without further notice to the members
of the Settlement Class, in which case the new date of the Final Approval Hearing will be posted
on the Settlement Website, www.WeedKillerAdSettlement.com.

WHAT HAPPENS IF I DO NOTHING AT ALL?

If you do nothing, you will get no money from the Settlement. Unless you exclude yourself, if the
Settlement is approved, you will not be able to start a lawsuit, continue with a lawsuit, or be part
of any other lawsuit against Monsanto or any Released Persons about the claims in this case or any
other Released Claims. However, you will retain any claim you may have against Monsanto or
anyone else that you developed cancer, or any other personal injury, as a result of exposure to the
Products.

HOW CAN I GET MORE INFORMATION?

This Notice’s description of the case and Settlement is general. If you want more detailed
information about the lawsuit and proposed Settlement, or to review the Settlement documents and

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related pleadings, you may visit the Settlement Website at www.WeedKillerAdSettlement.com. If
you have additional questions, you can visit the Settlement Website or contact the Claims
Administrator:

By Mail: Gilmore v. Monsanto Co., c/o Postlethwaite & Netterville, P.O. Box 4208, Baton Rouge,
LA 70821

By Email: info@WeedKillerAdSettlement.com

By Phone (Toll Free): 1-833-749-1489

Updates will be posted on the Settlement Website as information about the Settlement process
becomes available.

If you wish to review the Court’s docket in this case, you may do so at
https://pacer.uscourts.gov/file-case/court-cmecf-lookup/court/CANDC, the Court’s public access
website.

DO NOT TELEPHONE OR ADDRESS ANY QUESTIONS ABOUT THE CASE OR
SETTLEMENT TO THE CLERK OF THE COURT OR TO THE JUDGE. THEY ARE
NOT PERMITTED TO ANSWER YOUR QUESTIONS. THE COURT EXPRESSES NO
VIEW AS TO THE MERITS OF ANY CLAIMS OR DEFENSES ASSERTED BY ANY
PARTY TO THE ACTION.

For more information, visit www.WeedKillerAdSettlement.com or call 1-833-749-1489.




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                                   Appendix 1

            Product                        Anticipated Payment Per Unit


16 oz. Roundup® Weed and Grass                        $1.00
      Killer Sure Shot Foam



22 oz. Roundup® Weed and Grass                        $1.00
      Killer Sure Shot Foam



 24 oz. Roundup® Ready-to-Use                         $1.00
     Weed and Grass Killer

 30 oz. Roundup® Ready-to-Use                         $1.00
     Weed and Grass Killer

 24 oz. Roundup® Ready-to-Use                         $1.50
  Poison Ivy Plus Tough Brush
  Killer or Wild Blackberry Plus
       Vine & Brush Killer

24 oz. Roundup® Ready-to-Use                          $2.00
Extended Control Weed & Grass
  Killer Plus Weed Preventer


 1 gal. Roundup® Ready-to-Use                         $2.00
   Weed and Grass Killer (all
         applicator types)


  0.5 gal. (64 oz.) Roundup®                          $2.50
 Ready-to-Use Weed and Grass
              Killer




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   0.5 gal. (64 oz.) Roundup®                    $2.50
 Ready-to-Use Extended Control
 Weed & Grass Killer Plus Weed
             Preventer

1.25 gal. Roundup® Ready-to-Use                  $2.50
    Weed and Grass Killer (all
          applicator types)


 5 oz. Roundup® Precision Gel                    $3.00
     Weed and Grass Killer



1 gal. Roundup® Ready-to-Use                     $3.00
Extended Control Weed & Grass
  Killer Plus Weed Preventer


 1 gal. Roundup® Ready-to-Use                    $3.00
  Poison Ivy Plus Tough Brush
 Killer or Wild Blackberry Plus
       Vine & Brush Killer

16 oz. Roundup® Weed & Grass                     $3.50
    Killer Concentrate Plus



1.33 gal. Roundup® Ready-to-Use                  $3.50
   Poison Ivy Plus Tough Brush
  Killer or Wild Blackberry Plus
       Vine & Brush Killer

1.1 gal. Roundup® Ready-to-Use                   $4.00
    Weed & Grass Killer (all
         applicator types)




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32 oz. Roundup® Weed and Grass                   $4.00
     Killer Concentrate Plus



  35.2 oz. Roundup® Weed and                     $4.00
  Grass Killer Concentrate Plus



1.33 gal. Roundup® Ready-to-Use                  $4.00
     Weed & Grass Killer (all
          applicator types)


1.33 gal. Roundup® Ready-to-Use                  $5.00
 Extended Control Weed & Grass
  Killer Plus Weed Preventer (all
          applicator types)

1.25 gal. Roundup® Ready-to-Use                  $5.00
 Extended Control Weed & Grass
  Killer Plus Weed Preventer (all
          applicator types)

 16 oz. Roundup® Concentrate                     $5.50
Extended Control Weed & Grass
  Killer Plus Weed Preventer


3-pack – 6 oz. Roundup® Weed &                   $5.50
  Grass Killer Concentrate Plus



 32 oz. Roundup® Concentrate                     $5.50
 Poison Ivy Plus Tough Brush
 Killer or Wild Blackberry Plus
      Vine & Brush Killer




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1.25 gal. Roundup® Ready-to-Use                  $6.00
 Max Control 365 (all applicator
              types)


36.8 oz. Roundup® Weed & Grass                   $6.00
      Killer Concentrate Plus



40 oz. Roundup® Weed & Grass                     $6.00
    Killer Concentrate Plus



1.1 gal. Roundup® Ready-to-Use                   $6.00
Extended Control Weed & Grass
 Killer Plus Weed Preventer (all
         applicator types)

1.33 gal. Roundup® Ready-to-Use                  $7.00
 Max Control 365 (all applicator
              types)


  Combination Pack – 1.33 gal                    $7.50
Roundup® Ready-to-Use Weed &
     Grass Killer and 2x7 oz.
 Roundup® Weed & Grass Killer
        Concentrate Plus
   0.5 gal. (64 oz.) Roundup®                    $7.50
 Concentrate Plus Weed & Grass
               Killer


 32 oz. Roundup® Concentrate                     $8.00
Extended Control Weed & Grass
  Killer Plus Weed Preventer




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  32 oz. Roundup® Concentrate                    $8.50
         Max Control 365



 Combination pack – 1.33 gal.                    $9.00
 Roundup® Ready-to-Use Max
Control 365 and 8 oz. Roundup®
 Concentrate Max Control 365.

80 oz. Roundup® Weed & Grass                     $9.50
    Killer Concentrate Plus



  Combination Pack – 1.33 gal.                   $9.50
Roundup® Ready-to-Use Weed &
 Grass Killer and 8 oz. Roundup®
    Weed & Grass Killer Super
            Concentrate
  Combination pack – 1.33 gal.                  $10.50
   Roundup® Extended Control
 Weed & Grass Killer Plus Weed
 Preventer and 16 oz. Roundup®
  Concentrate Extended Control
 Weed & Grass Killer Plus Weed
             Preventer.
35.2 oz. Roundup® Weed & Grass                  $11.50
     Killer Super Concentrate



2-pack – 80 oz. Roundup® Weed                   $12.50
& Grass Killer Concentrate Plus



  0.42 gal. Roundup® Weed &                     $14.00
 Grass Killer Super Concentrate




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0.5 gal. (64 oz.) Roundup® Weed                 $15.00
& Grass Killer Super Concentrate



1 gal. Roundup® Weed & Grass                    $21.50
    Killer Super Concentrate



     2.5 gal. Roundup® Pro                      $33.00
           Concentrate



24 oz. Ace® Ready-to-Use Weed                    $0.50
         & Grass Killer



1 gal. Ace® Ready-to-Use Weed                    $1.50
         & Grass Killer



1 gal. Ace® Ready-to-Use Weed                    $3.00
  & Grass Killer with battery-
        operated sprayer


32 oz. Ace® Concentrate Weed &                   $3.00
          Grass Killer



1 gal. Ace® Concentrate Weed &                   $5.50
          Grass Killer




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32 oz. HDX® Concentrate Weed                     $1.50
        & Grass Killer



0.5 gal. HDX® Concentrate Weed                   $3.00
          & Grass Killer



2.5 gal. HDX® Concentrate Weed                  $12.50
          & Grass Killer




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                                           Appendix 2

                                    RELEASE OF CLAIMS

If the Court approves the Settlement and you have not excluded yourself as described above, you
will be bound by the Settlement and will be forever barred from suing Monsanto or other entities
(as detailed in the Settlement) for the claims released in the Settlement. This applies whether you
currently know about the existence of such claims or not.

Here, the claims you will give up are:

        Upon the Effective Date, each of the Class Members will be deemed to have, and by
operation of the Judgment will have, fully, finally, and forever released, relinquished, and
discharged, and covenanted not to sue, the Released Parties from any and all Claims (with the
exception of Personal Injury Claims and Medical Monitoring Claims), whether known or
unknown, matured or unmatured, asserted or unasserted, latent or patent, at law or in equity,
existing under federal or state law, regardless of legal theory or relief claimed, that any Class
Member has or may in the future have against any Released Party arising out of or related in any
way to the same factual predicates as the Action, including:

           o any allegedly false, misleading, incomplete, or inaccurate statement, or any alleged
             omission, regarding the alleged carcinogenicity, toxicity, genotoxicity, endocrine
             disruptive effects, or any other alleged health effects of the Products or any
             ingredient or component thereof, including, but not limited to, glyphosate (whether
             or not such statement or alleged omission regarding an ingredient or component
             thereof is made specifically with regard to the Products, with regard to the
             ingredient or component thereof separately, or with regard to other products), or
             any scientific claims or debate regarding the same;

           o any alleged breach of contract or breach of warranty arising out of or related to the
             alleged carcinogenicity, toxicity, genotoxicity, endocrine disruptive effects, or any
             other alleged health effects of the Products or any ingredient or component thereof,
             including, but not limited to, glyphosate, or any scientific claims or debate
             regarding the same; or

           o any other alleged economic loss or injury (other than those economic losses or
             injuries encompassed within the definitions of Personal Injury Claims or Medical
             Monitoring Claims) allegedly suffered by or inflicted on any Class Member
             because of or related to the alleged carcinogenicity, toxicity, genotoxicity,
             endocrine disruptive effects, or any other alleged health effects of the Products or
             any ingredient or component thereof, including, but not limited to, glyphosate, or
             any scientific claims or debate regarding the same.

Collectively, the foregoing are “Class Released Claims.” For avoidance of doubt, this release does
not release any Personal Injury Claims or Medical Monitoring Claims. To the extent that any action
or proceeding includes both Personal Injury Claims or Medical Monitoring Claims and Claims
that would otherwise be released by this Agreement, the Personal Injury Claims and/or Medical

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Monitoring Claims will not be deemed released, but the other Claims will be released. By way of
example, if a Class Member brought an action asserting that he or she bought and used Roundup®
products that failed to warn of an alleged risk of Non-Hodgkin Lymphoma and that this caused
them to develop Non-Hodgkin Lymphoma, and sought to recover damages for their physical
injury, for lost wages, and for medical bills, neither that Personal Injury Claim nor the related
damages (including economic damages such as lost wages or medical bills) would be released by
this Settlement. For further avoidance of doubt, this release shall apply to Claims (other than
Personal Injury Claims and Medical Monitoring Claims) arising from, resulting from, or in any
way relating to or in connection with a Class Member’s purchase or use of the Products in the past,
present, or future.

“Claims” means past, present, and future claims, counterclaims, actions, rights, remedies, causes
of action, liabilities, suits, demands, damages, losses, payments, judgments, verdicts, debts, dues,
sums of money, liens, costs and expenses (including, without limitation, attorneys’ fees and costs),
accounts, reckonings, bills, covenants, contracts, controversies, agreements, obligations, or
promises, including any of the foregoing for equitable or injunctive relief, direct damages, indirect
damages, consequential damages, incidental damages, punitive or exemplary damages, statutory
and other multiple damages or penalties of any kind, or any other form of damages or relief
whatsoever, and whether based upon breach of contract, warranty or covenant, tort, negligence,
strict liability, gross negligence, recklessness, willful or wanton conduct, malice, oppression,
conscious disregard, joint and several liability, guarantee, contribution, reimbursement,
subrogation, indemnity, defect, failure to warn, fault, misrepresentation, common-law fraud,
statutory consumer fraud, quantum meruit, breach of fiduciary duty, violation of statutes or
administrative regulations, and/or any other legal (including common-law), foreign, statutory,
equitable, or other theory or right of action, whether in law or in equity, fixed, contingent or
noncontingent, known or unknown, discovered or undiscovered, suspected or unsuspected,
foreseen or unforeseen, matured or unmatured, accrued or unaccrued, ripened or unripened,
perfected or unperfected, choate or inchoate, developed or undeveloped, liquidated or
unliquidated, now recognized by law or that may be created or recognized in the future by statute,
regulation, or judicial decision or in any other manner, and whether direct, representative,
derivative, class, or individual in nature, in any forum that any Person had, has, or may have in the
future.

“Medical Monitoring Claims” shall mean Claims that seek to require, or recover damages
amounting to the costs of, medical monitoring or screening for potential physical injury or illness
of a natural person. It is expressly contemplated that a cause of action could include both Claims
that are Medical Monitoring Claims and Claims that are not Medical Monitoring Claims.

“Monsanto” means Monsanto Company and Bayer AG and each and all of their respective past,
present, or future, direct or indirect, predecessors, successors, parents, subsidiaries, Affiliates, and
divisions; and any past, present, or future officer, director, shareholder, owner, employee, partner,
trustee, representative, agent, servant, insurer, attorney, predecessor, successor, or assignee of any
of the above.

“Personal Injury Claims” shall mean Claims that assert a right to recover damages for the actual
physical injury or illness of a natural person or that seek to recover compensatory, punitive, or
exemplary damages, or attorney’s fees, allegedly resulting or arising from the actual physical

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injury or illness of a natural person, including, for example, claims for mental or physical pain or
suffering; emotional or mental harm; loss of enjoyment of life; loss of wages, income, earnings, or
earning capacity; medical expenses; doctor, hospital, nursing, or drug bills; loss of support,
services, consortium, companionship, society, or affection; damage to familial relations; and
wrongful death and survival actions. It is expressly contemplated that a cause of action could
include both Claims that are Personal Injury Claims and Claims that are not Personal Injury
Claims.

“Related Parties” means the past, present, and future manufacturers, formulators, distributors,
marketing agents, commissionaires, resellers, Retailers, clinical researchers, agents, licensees,
contractors, joint ventures, joint venturers, and consultants of or with respect to the Products, and
any and all past, present, or future suppliers of materials, components, and services used in the
development, registration, formulation, manufacture, distribution, handling, sale, or marketing of
the Products, including the labeling and packaging thereof, and each and all of their respective
past, present, or future, direct or indirect, predecessors, successors, parents, subsidiaries, Affiliates,
divisions, joint ventures, and joint venturers; and any past, present, or future officer, director,
shareholder, owner, employee, partner, trustee, representative, agent, servant, insurer, attorney,
predecessor, successor, or assignee of any of the above.

“Released Persons” means, respectively, Monsanto; Scotts; any distributors and/or Retailers of the
Products; Related Parties; any Persons that are currently, may in the future be, or have in the past
been, marketing, advertising, distributing, selling, or reselling the Products and any past, current,
or future parent companies (including intermediate parents and ultimate parents) and subsidiaries,
Affiliates, predecessors, successors, and assigns, and each of their respective past, present, or
future officers, directors, employees, agents, members, franchisees, franchisors, attorneys,
insurers, stockholders, representatives, heirs, administrators, executors, successors, and assigns;
and any other Person acting on behalf of Monsanto, Scotts, or any other Released Person.

“Retailers” means any person or entity that has offered, is presently offering, or may in the future
offer the Products for sale or resale (including, without limitation, wholesale distributors, private-
label distributors, and all retailers and retail distributors), and each and all of their respective past,
present, or future, direct or indirect, predecessors, successors, parents, subsidiaries, Affiliates, and
divisions; and any past, present, or future officer, director, shareholder, owner, employee, partner,
trustee, representative, agent, servant, insurer, attorney, predecessor, successor, or assignee of any
of the above. “Retailers” shall include, but is in no way limited by, Ace Hardware Corporation;
Costco Wholesale Corporation; Home Depot U.S.A., Inc.; The Home Depot, Inc.; Lowe’s
Companies, Inc.; Lowe’s Home Centers, LLC; Target Corporation; Walmart Inc.; and Wal-Mart
Stores, Inc., and each and all of their respective past, present, or future, direct or indirect,
predecessors, successors, parents, subsidiaries, Affiliates, and divisions; and any past, present, or
future officer, director, shareholder, owner, employee, partner, trustee, representative, agent,
servant, insurer, attorney, predecessor, successor, or assignee of any of the above.




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In addition, each Class Member shall be deemed to have waived and relinquished the rights and
benefits available to them under California Civil Code section 1542. Section 1542 provides:

       “A general release does not extend to claims which the creditor does not know or
       suspect to exist in his or her favor at the time of executing the release, which if known
       by him or her must have materially affected his settlement with the debtor.”

Notwithstanding California Civil Code section 1542 or any other federal or state statute or rule of
law of similar effect, the Agreement shall be given full force and effect according to each and all
of its expressed terms and provisions, including those related to any unknown or unsuspected
claims, liabilities, demands, or causes of action which are based on, arise from, or are in any way
connected with the Action.




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                                  Appendix 3

          List of Applicable Class Periods for Each State or Territory


                 State or Territory           Beginning of Class
                                                    Period
            Alabama                         February 2017
            Alaska                          February 2017
            American Samoa                  February 2018
            Arizona                         February 2017
            Arkansas                        February 2016
            California                      August 2015
            Colorado                        February 2018
            Connecticut                     February 2016
            Delaware                        February 2017
            District of Columbia            February 2017
            Florida                         February 2016
            Georgia                         October 2016
            Guam                            August 2016
            Hawaii                          February 2017
            Idaho                           February 2017
            Illinois                        February 2017
            Indiana                         February 2017
            Iowa                            February 2017
            Kansas                          December 2015
            Kentucky                        February 2017
            Louisiana                       February 2017
            Maine                           February 2015
            Maryland                        August 2016
            Massachusetts                   October 2016
            Michigan                        October 2014
            Minnesota                       December 2013
            Mississippi                     February 2015
            Missouri                        August 2014
            Montana                         February 2017
            Nebraska                        February 2017
            Nevada                          October 2016
            New Hampshire                   February 2017
            New Jersey                      November 2014
            New Mexico                      February 2017
            New York                        June 2011
            North Carolina                  February 2017
            North Dakota                    February 2015
            Northern Mariana Islands        February 2015


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                 State or Territory          Beginning of Class
                                                   Period
             Ohio                          February 2017
             Oklahoma                      November 2015
             Oregon                        November 2015
             Pennsylvania                  February 2015
             Puerto Rico                   December 2019
             Rhode Island                  February 2017
             South Carolina                February 2015
             South Dakota                  February 2017
             Tennessee                     February 2017
             Texas                         March 2016
             Utah                          February 2016
             Vermont                       November 2013
             Virgin Islands                February 2015
             Virginia                      September 2016
             Washington                    February 2017
             West Virginia                 February 2017
             Wisconsin                     February 2015
             Wyoming                       February 2017




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             AVISO DE ACUERDO PROPUESTO DE DEMANDA COLECTIVA

                    TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                       PARA EL DISTRITO NORTE DE CALIFORNIA
                           Gilmore et al. v. Monsanto Company, et al.
                             No. 3:21-cv-8159 (N.D. de California)

                El Tribunal de Distrito de los Estados Unidos autorizó este Aviso.
  Este documento no constituye una oferta de representación de un abogado. Usted no está siendo
                                            demandado.
Usted puede ser un Miembro del Grupo con derecho a un pago en efectivo en virtud de un Acuerdo
relacionado con publicidad falsa y reclamos por incumplimiento de garantía si compró ciertos
Roundup®, HDX®, o Ace® productos herbicidas a base de glifosato de marca (los “Productos”).

   LOS MIEMBROS DE LA CLASE CONSERVARÁN SU DERECHO A DEMANDAR SI,
  ACTUALMENTE, TIENEN, O MÁS TARDE DESARROLLAN, CÁNCER O CUALQUIER
 OTRA ENFERMEDAD O LESIÓN DERIVADA DE LA EXPOSICIÓN A LOS PRODUCTOS.

Los Productos en cuestión en el Acuerdo incluyen:

Roundup® Ready-to-Use Weed & Grass Killer            Roundup® Ready-to-Use Max Control 365
Roundup® Ready-to-Use Weed & Grass Killer Plus       Roundup® Concentrate Max Control 365
Roundup® Weed & Grass Killer Concentrate Plus        Roundup® Weed & Grass Killer Sure Shot Foam
Roundup® Weed & Grass Killer Super Concentrate       Roundup® Precision Gel Weed & Grass Killer
Roundup® Ready-to-Use Poison Ivy Plus Tough             Roundup® Pro Concentrate (2.5 Gal.)
Brush Killer
Roundup® Ready-to-Use Wild Blackberry Plus Vine         HDX® Weed & Grass Killer Ready-to-Use
and Brush Killer
Roundup® Concentrate Poison Ivy Plus Tough Brush Killer HDX® Weed & Grass Killer Concentrate
Roundup® Concentrate Wild Blackberry Plus Vine       Ace® Ready-to-Use Weed & Grass Killer
and Brush Killer
Roundup® Ready-to-Use Extended Control Weed &        Ace® Weed & Grass Killer Concentrate
Grass Killer Plus Weed Preventer
Roundup® Concentrate Extended Control Weed &
Grass Killer Plus Weed Preventer

                              Ejemplos de productos cubiertos:




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            ESTE AVISO ESTÁ RELACIONADO A SUS DERECHOS LEGALES
                           LÉALO CUIDADOSAMENTE

¿CUÁLES SON LOS TÉRMINOS DEL ACUERDO PROPUESTO?

El Acuerdo de Conciliación de Demanda Colectiva propuesto (“Acuerdo” o “Acuerdo”)
proporcionará a la Clase un alivio monetario en un monto no inferior a $23 millones (el “Importe
mínimo”) y no superior a $45 millones (el “Monto Máximo”) para pagar todos los aspectos del
Acuerdo, incluidos, entre otros, todos los costos de La Notificación colectiva, los Gastos de
administración de reclamaciones, las Reclamaciones de los miembros de la clase, las
indemnizaciones por servicios de Representante de la Clase, los Gastos del Abogado de la Clase
y los Honorarios del Abogado de la Clase.

Este no es un acuerdo por lesiones personales y no proporciona alivio por lesiones personales o
enfermedades. LOS MIEMBROS DE LA CLASE CONSERVARÁN SU DERECHO A
DEMANDAR SI, ACTUALMENTE, TIENEN, O MÁS TARDE DESARROLLAN, CÁNCER
O CUALQUIER OTRA ENFERMEDAD O LESIÓN DERIVADA DE LA EXPOSICIÓN A
LOS PRODUCTOS.

Los Miembros del Colectivo podrán presentar reclamaciones de reembolsos por los Productos
Roundup® enumerados a continuación, equivalentes a aproximadamente el 20% de su precio
minorista promedio ponderado (después del redondeo) durante el período de la demanda colectiva
correspondiente (según se define a continuación). Los pagos por unidad oscilan entre $0.50 y
$33.00, dependiendo del precio del producto(s) comprado(s), por entre 2 y 11 unidades sin
comprobante de compra, dependiendo del estado de compra. La cantidad disponible para cada
Producto se muestra en Apéndice 1. Con la excepción de los tres Productos concentrados más
grandes, las reclamaciones se pueden hacer sin prueba de compra, pero dichas reclamaciones se
limitan a 1 unidad por año dentro del Período de la Clase. Por ejemplo, si un Reclamante compró
un contenedor de 1.33 galones de Roundup® Ready to Use Max Control 365 en California al
menos una vez al año desde 2015, el monto del reembolso podría ser de $ 56.00 sin prueba de
compra.

Se puede reclamar un número ilimitado de botellas de los Productos si el Miembro de la Clase
proporciona un comprobante de compra válido para cada Producto comprado. Los reclamantes
pueden ser contactados y obligados a proporcionar también una declaración firmada bajo pena de
perjurio que proporciona información adicional para confirmar que la prueba de compra es genuina
y suficiente.

Si el total de reclamaciones presentadas por los Reclamantes Autorizados excede el Monto
Máximo después de que se deduzcan todos los demás gastos, el monto reembolsado a los
Reclamantes Autorizados se reducirá Prorrateo. Por otra parte, si el total de reclamaciones
presentadas es inferior al Importe Mínimo una vez deducidos todos los demás gastos, el importe
reembolsado a los Reclamantes Autorizados se incrementará proporcionalmente.

Si los cheques no cobrados hacen que el monto total pagado por Monsanto caiga por debajo del
Monto Mínimo, ese monto se distribuirá Prorrateo a los Miembros de la Clase si una distribución
adicional es económicamente factible. De lo contrario, esa cantidad será donada al Centro Nacional
de Derecho del Consumidor.

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¿POR QUÉ HAY UN AVISO?

Usted tiene derecho a conocer el Acuerdo propuesto en el proceso judicial de una demanda
colectiva y todas sus opciones antes de que el Tribunal decida aprobar el Acuerdo. Este Aviso
explica la demanda, el acuerdo, sus derechos legales, y qué beneficios están disponibles y cómo
obtenerlos.

El tribunal a cargo de este caso es el Tribunal de Distrito de los Estados Unidos del Distrito Norte
de California (el “Tribunal”), y el caso se denomina Scott Gilmore et al. vs. Monsanto Company,
et al., Caso n. º 3:21-cv-8159 (N.D. de California) El caso es asignado al juez de distrito Vince
Chhabria. Los individuos que demandaron se denominan los Representantes del Colectivo y la
compañía a la que demandaron, Monsanto Company (“Monsanto”), se denomina el Demandado.

Si usted es un Miembro del Colectivo, a menos que se excluya del Acuerdo, no puede demandar
al Demandado, continuar demandando o ser parte de cualquier otra demanda contra el
Demandado, cualquier vendedor de los Productos, o cualquier otra Persona Liberada referente a
las reclamaciones eximidas en este Acuerdo. También significa que todas las decisiones del
Tribunal serán vinculantes para usted. Las Reclamaciones Eximidas y las Personas Eximidas se
definen en el Acuerdo y describen las reclamaciones legales a las que usted renuncia (o “exime”)
si permanece en el Acuerdo. Las Reclamaciones Liberadas se relacionan con los mismos hechos,
productos y cuestiones planteadas en la demanda (también conocidas como reclamaciones que
surgen de un “predicado fáctico idéntico”). Las Reclamaciones Liberadas NO incluyen
reclamaciones de que usted desarrolló cáncer, o cualquier otra lesión personal, como resultado de
la exposición a los Productos. Se incluye una descripción detallada de las Reclamaciones
Eximidas en el Apéndice 2. El Acuerdo está disponible en el sitio web del Acuerdo,
www.WeedKillerAdSettlement.com.

¿DE QUÉ TRATA LA DEMANDA?

La demanda busca obtener una compensación por presunta publicidad falsa e incumplimiento de
garantía. Los demandantes argumentan que el Demandado anunció y promovió falsamente los
Productos al no revelar que los Productos y su ingrediente activo, el glifosato, podrían causar
cáncer u otros efectos adversos para la salud. Si compró cualquiera de los Productos durante el
Período de la Clase para fines distintos de la reventa o distribución, usted está en la Clase.

Monsanto niega las acusaciones de los Demandantes y cualquier delito y disputa el derecho del
Colectivo a ser restituido. Sin embargo, ha acordado resolver la demanda con el fin de evitar el
tiempo y los gastos de litigios adicionales.

Este caso es no un caso de lesiones personales. Los demandantes no alegan que se lesionaron o
se enfermaron por la exposición a los Productos. No necesita haber sufrido lesiones personales
para ser miembro de la Clase o para presentar un reclamo. Y el Acuerdo lo hace. no liberar
cualquier reclamo que pueda tener contra Monsanto o cualquier otra persona de que desarrolló
cáncer, o cualquier otra lesión personal, como resultado de la exposición a los Productos.




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¿POR QUÉ ES ESTA UNA DEMANDA COLECTIVA?

En una demanda colectiva, una o más personas llamadas “representantes de clase” o
“demandantes” (en este caso, Scott Gilmore, James Weeks, Paul Taylor, Sherry Hanna, Amanda
Boyette, Julio Ezcurra, Anthony Jewell y Kristy Williams), demandan en nombre de personas que
tienen reclamos similares y, por lo tanto, son parte de una “clase” y se llaman “miembros de
la clase”. Presentar un caso, como este, en concepto de una demanda colectiva permite la
adjudicación de muchas reclamaciones similares de consumidores que podrían ser demasiado
pequeños, desde el punto de vista económico, para presentar demandas individuales. Un tribunal
resuelve los problemas para todos los miembros del colectivo, excepto para aquellos que se
excluyan del colectivo.

¿POR QUÉ HAY UN ACUERDO?

Los Demandantes y los Abogados del Colectivo han evaluado la información disponible en el
curso de la demanda y han tomado en consideración los riesgos e incertidumbres de proceder con
este litigio, incluidos los riesgos e incertidumbres de la certificación del colectivo, prevaleciendo
a favor de los méritos, demostrando daños en el juicio y prevaleciendo en mociones y apelaciones
posteriores al juicio. En función de su consideración de estos factores, los Demandantes y los
Abogados del Colectivo consideran que lo más conveniente para el Colectivo es resolver la
demanda y brindar una oportunidad para que los Miembros del Colectivo reciban un Pago del
Acuerdo.

Monsanto niega las acusaciones de los Demandantes y cualquier delito y el derecho del Colectivo
a ser restituido. Sin embargo, ha acordado resolver la demanda con el fin de evitar el tiempo y los
gastos de litigios adicionales.

Los términos del Acuerdo propuesto se establecen en el Acuerdo presentado ante el Tribunal, que
también está disponible en línea, en www.WeedKillerAdSettlement.com

LA DEMANDA COLECTIVA

El Tribunal ha certificado un Acuerdo de la Demanda Colectiva definido como:

       Todas las Personas en los Estados Unidos que, durante el Período de la Clase, compraron
       Productos (como se define a continuación) en los Estados Unidos que no sea para su
       reventa o distribución.

Los “Productos” se definen como:

       •   Ready-to-Use Weed & Grass Killer de Roundup® (todos los tamaños, aplicadores y
           variedades)
       •   Ready-to-Use Weed & Grass Killer Plus de Roundup® (todos los tamaños,
           aplicadores y variedades)
       •   Weed & Grass Killer Concentrate Plus de Roundup® (todos los tamaños y
           variedades)
       •   Weed & Grass Killer Super Concentrate de Roundup® (todos los tamaños y
           variedades)

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       •   Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer (todos los tamaños y
           variedades)
       •   Roundup® Ready-to-Use Wild Blackberry Plus Vine and Brush Killer (todos los
           tamaños y variedades)
       •   Roundup® Concentrate Poison Ivy Plus Tough Brush Killer (todos los tamaños y
           variedades)
       •   Roundup® Concentrate Wild Blackberry Plus Vine and Brush Killer (todos los
           tamaños y variedades)
       •   Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed
           Preventer (todos los tamaños y variedades)
       •   Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer
           (todos los tamaños y variedades)
       •   Roundup® Ready-to-Use Max Control 365 (todos los tamaños y variedades)
       •   Roundup® Concentrate Max Control 365 (todos los tamaños y variedades)
       •   Weed & Grass Killer Sure Shot Foam de Roundup® (todos los tamaños y variedades)
       •   Precision Gel Weed & Grass Killer de Roundup® (todos los tamaños y variedades)
       •   Roundup® Pro Concentrado (2,5 gal.)
       •   Weed & Grass Killer Ready-to-Use de HDX® (todos los tamaños y variedades)
       •   Weed & Grass Killer Concentrate de HDX® (todos los tamaños y variedades)
       •   Ready-to-Use Weed & Grass Killer de Ace® (todos los tamaños y variedades)
       •   Weed & Grass Killer Concentrate de Ace® (todos los tamaños y variedades)

El “Período de Clase” depende del estado en el que cada Miembro de la Clase realizó sus compras.
Una lista de los Períodos de la Demanda Colectiva aplicables para cada Estado se encuentra
en el sitio web del Acuerdo en www.WeedKillerAdSettlement.com y también se adjunta a
este Aviso como Apéndice 3. Debe consultarla cuidadosamente para asegurarse de que su
compra se realizó dentro del Periodo de la Demanda Colectiva aplicable en su estado.

Los productos se vendieron ampliamente en Home Depot, Lowe’s y Wal-Mart, en los 50 estados
y el Distrito de Columbia y en los territorios de los Estados Unidos, y también estaban disponibles
en tiendas que incluyen, sin limitación, Target, Ace Hardware, True Value, Orchard Supply y
Amazon.com.

¿CÓMO SÉ SI SOY MIEMBRO DEL COLECTIVO?

Usted es miembro de la Clase si:

       •   Haber comprado un Producto Roundup®, Ace® o HDX® incluido en la definición
           de Colectivo anterior

       •   Durante el Período de Clase aplicable a su estado (consulte el Apéndice 3 de este
           Aviso), y

       •   Para fines distintos de la distribución o reventa.




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     Si no está seguro de si es un Miembro del Colectivo, o si tiene alguna otra pregunta sobre el
     Acuerdo, debe visitar el sitio web del Acuerdo, www.WeedKillerAdSettlement.com, o llame
     gratis al Administrador de Reclamaciones al 1-833-749-1489.

     ¿EL ACUERDO AFECTARÁ MI DERECHO A DEMANDAR SI AFIRMO QUE TENGO O
     MÁS TARDE DESARROLLO CÁNCER O CUALQUIER OTRA ENFERMEDAD O LESIÓN
     POR LA EXPOSICIÓN A LOS PRODUCTOS?

     No. Usted no puede participar en el Acuerdo sin liberar cualquier reclamo que pueda tener contra
     Monsanto o cualquier otra persona de que desarrolló cáncer, o cualquier otra lesión personal,
     como resultado de la exposición a los Productos. Este caso no es un caso de lesiones personales.
     Los demandantes no alegan que se lesionaron o se enfermaron por la exposición a los Productos.
     No necesita haber sufrido lesiones personales para ser miembro de la Clase o para participar en
     el acuerdo.



     SUS DERECHOS A PARTICIPAR, EXCLUIRSE O PRESENTAR UNA OBJECIÓN AL
     ACUERDO.

                    Resumen de sus derechos y opciones legales                                     Plazo
Presentar un             Es la única forma de obtener un pago. Los Formularios de
Formulario de            Reclamación deben enviarse en línea o por correo al
                                                                                              octubre 19, 2022
Reclamación              Administrador de Reclamaciones a más tardar el día de la fecha
                         límite de la reclamación.
                         Salirse de este acuerdo. No obtener ningún beneficio de esta
                         demanda. Reservarse sus derechos.
                         Si solicita ser excluido (es decir, “opta por no participar”), no
Pedir ser Excluido
                         estará sujeto a este Acuerdo y conservará cualquier derecho que
(es decir, “Optar por    tenga de demandar a Monsanto por separado o de participar en         octubre 19, 2022
No Participar”)          otro juicio sobre las mismas reclamaciones legales en esta
                         demanda. Si hay una restitución resultante del Acuerdo
                         propuesto, usted no será parte de esa restitución. Para obtener
                         instrucciones sobre cómo excluirse, consulte la página 7.
                         Informar al Tribunal por qué cree que el Acuerdo propuesto
                         es injusto, irrazonable o inadecuado.
                         Puede presentar una objeción por escrito y/o comparecer en la
                         Audiencia de Aprobación Final para informarle al Tribunal por
Presentar una
                         qué cree que el Acuerdo propuesto es injusto, irrazonable o
objeción                                                                                      diciembre 5, 2022
                         insuficiente. Aún puede presentar una reclamación incluso si se
                         opone. Si solicita ser excluido del Colectivo (es decir, “opta por
                         no participar”), no puede presentar una objeción o una
                         reclamación Para obtener instrucciones sobre cómo objetar,
                         consulte la página 8.




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                         Quedarse en esta demanda. Esperar el resultado. Renunciar
                         a ciertos derechos.
No hacer nada            Al no hacer nada, no recibirá ningún pago en efectivo, pero de         Sin plazo
                         aprobarse el Acuerdo, estará renunciando a cualquier derecho
                         que pueda tener de demandar a Monsanto por separado sobre las
                         mismas reclamaciones legales en esta demanda.


    ¿CÓMO PRESENTO UNA RECLAMACIÓN?

    Debe enviar un Formulario de Reclamación para obtener un pago monetario. Los Formularios de
    Reclamaciones son simples y fáciles de completar, los mismos requieren (i) información
    de contacto; (ii) comprobante de compra o información sobre la identidad y la cantidad comprada;
    (iii) la ubicación de venta (incluyendo ciudad y estado) de la compra; (iv) la fecha aproximada de
    compra; y (v) su afirmación de que la información proporcionada es fiel y correcta. A cambio
    de recibir un pago monetario, según el Acuerdo de Conciliación, usted renunciará a sus derechos
    de demandar a las Personas Liberadas sobre las reclamaciones en la demanda o cualquier otra
    Reclamación Liberada.

    Los Formularios de Reclamación deben ser enviados con sello postal o en línea a más tardar el
    19 de octubre de 2022. Los formularios de reclamo se pueden presentar en línea en el sitio web del
    acuerdo, www.WeedKillerAdSettlement.com. Los formularios de reclamo impresos serán enviado
    por correo a los Miembros de la Clase previa solicitud llamando o escribiendo al Administrador de
    Reclamos. Los Formularios de Reclamación impresos deben enviarse por correo a:

                                 Gilmore contra Monsanto Co. - Claims
                                    c/o Postlethwaite & Netterville
                                            P.O. Box 4208
                                       Baton Rouge, LA 70821

    ¿CÓMO ME EXCLUYO DEL ACUERDO?

    Si no desea estar sujeto a este Acuerdo, debe solicitar ser excluido del Colectivo. Todos los
    Miembros del Colectivo que compraron los Productos Roundup® enumerados anteriormente
    durante el Período de la Demanda Colectiva que no se excluyen del Acuerdo estarán sujetos a las
    órdenes emitidas por el Tribunal con respecto al Acuerdo.

    Si solicita ser excluido del Colectivo, conservará todos los derechos individuales que tenga contra
    Monsanto y no habrá “eximido” a Monsanto o a cualquier otra Persona Liberada de ninguna
    reclamación. Sin embargo, usted no recibirá la compensación descrita anteriormente. No puede
    objetar el Acuerdo bajo esta opción.

    Si desea ser excluido del Grupo (también denominado “optar por no participar”), debe descargar
    e imprimir un Formulario de Opción de Exclusión del Sitio Web del Acuerdo
    (www.WeedKillerAdSettlement.com) o solicitar queel Administrador de Reclamaciones le envíe
    un Formulario de Opción de Exclusión en papel, rellenar y firmar el Formulario de Opción de



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Exclusión y enviarlo por correo al Administrador de Reclamaciones, con matasellos del
19 de octubre de 2022o anterior, a la siguiente dirección:

                           Gilmore contra Monsanto Co. - Exclusions
                                c/o Postlethwaite & Netterville
                                        P.O. Box 4208
                                   Baton Rouge, LA 70821


SI OPTO POR NO PARTICIPAR, ¿PUEDO AUN ASÍ OBTENER UN PAGO DEL ACUERDO?

No. No obtendrá dinero alguno del Acuerdo si opta por no participar y no puede objetar el Acuerdo.
No estará legalmente obligado a nada de lo que suceda en esta demanda. Si opta por no participar
en el Acuerdo, no envíe un Formulario de Reclamación solicitando beneficios.

¿CÓMO LE INFORMO AL TRIBUNAL SI NO ME GUSTA EL ACUERDO?

Puede solicitar al Tribunal que niegue la aprobación mediante la presentación de una objeción. No
puede solicitar al Tribunal que ordene un acuerdo diferente; el Tribunal solo puede aprobar o
denegar el acuerdo. Si el Tribunal niega la aprobación, no se emitirán pagos transaccionales y el
proceso seguirá. Si eso es lo que quieres que suceda, puedes objetar.

Si desea expresar una objeción a parte o a la totalidad del Acuerdo, usted puede, pero no está
obligado a, comparecer en la Audiencia de Aprobación Final, ya sea en persona o a través de su
propio abogado. Si se aprueba el Acuerdo, usted seguirá estando obligado por el Acuerdo y recibirá
la compensación del Acuerdo si presenta un Formulario de Reclamación válido y a tiempo.

Si desea objetar, debe presentar electrónicamente una objeción por escrito a través del sistema de
Presentación Electrónica de Casos (ECF) de la Corte; entregar una objeción por escrito al
Secretario de Demanda Colectiva por correo, correo urgente o entrega personal; o presentar una
objeción por escrito en persona en cualquier lugar del Tribunal de Distrito de los Estados Unidos
para el Distrito Norte de California. La objeción escrita deberá: (a) identificar claramente el
nombre y el número del caso (Gilmore contra Monsanto Co., caso núm. 3:21-cv-8159);
(b) contener información suficiente para identificarlo y contactarlo a usted o a su abogado; y
(c) contener una declaración clara y concisa de su objeción, así como cualquier hecho y ley que
respalde la objeción. Puede objetar por su cuenta o a través de un abogado contratado a cargo de
usted. Si está representado por un abogado, debe firmar la objeción usted mismo o ejecutar una
declaración separada en la que autorice la presentación de la objeción. Debe cumplir
sustancialmente con los requisitos anteriores para presentar una objeción por escrito antes de
comparecer en la audiencia de aprobación del acuerdo, pero estos requisitos pueden ser excusados
por el Tribunal por una buena causa. Las objeciones deben presentarse o llevar el sello postal a
más tardar el 5 de diciembre de 2022.

Si desea comparecer en la Audiencia de Aprobación Final, debe presentar ante el Tribunal una
notificación de intención de comparecer, ya sea en persona o a través de un abogado, a más tardar
el 5 de diciembre de 2022.


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La dirección del Secretario de Demanda Colectiva es la siguiente:



                                       Class Action Clerk
               United States District Court for the Northern District of California
                                    450 Golden Gate Avenue
                                    San Francisco, CA 94102


¿CUÁL ES LA DIFERENCIA ENTRE OBJETAR Y OPTAR POR NO PARTICIPAR?

Objetar es simplemente informarle al Tribunal que no le satisface algo sobre el Acuerdo. Puede
objetar al Acuerdo únicamente si no se excluye del Acuerdo al optar por no participar. Excluirse
del Acuerdo mediante la exclusión es informarle al Tribunal que no desea ser parte del Acuerdo.
Si se excluye del Acuerdo, no tiene bases para objetar el Acuerdo debido a que ya no le afectaría.

¿TENGO UN ABOGADO EN ESTE CASO?

El Tribunal ha designado, como Abogado de la Clase en este caso, a Gillian L. Wade, Sara D. Avila
y Marc A. Castaneda, de Milstein, Jackson, Fairchild & Wade, LLP, Joel Oster de las Oficinas
Legales de Howard Rubinstein, y a cualquier abogado de esas firmas que ayude en la
representación de la Clase en esta Acción.

El Tribunal ha determinado que los Abogados del Colectivo están calificados para representarlo a
usted y a todos los demás Miembros del Colectivo. No se le cobrará por sus servicios.
Los abogados que manejan el caso tienen experiencia en el manejo de casos similares. Sin
embargo, tiene derecho a consultar o contratar a un abogado de su elección, por cuenta propia,
para que lo asesore sobre el Acuerdo y sus derechos en relación con el Acuerdo y la Audiencia de
Aprobación Final que se describen a continuación.

¿CÓMO SE LES PAGA A LOS ABOGADOS?

El Abogado de la Clase tiene la intención de solicitar honorarios de hasta un cuarto del Monto
Máximo, y los Demandantes y el Abogado de la Clase tienen la intención de solicitar premios por
servicio de hasta $ 5,000 cada uno para los Demandantes Scott Gilmore, James Weeks, Paul
Taylor, Sherry Hanna, Amanda Boyette, Julio Ezcurra, Anthony Jewell y Kristy Williams
(los “demandantes nombrados”). La concesión de esas cantidades queda a discreción del Tribunal.
Si se otorgan, estos pagos se restarán de la cantidad disponible para pagar las reclamaciones de los
Miembros de la Clase.

¿CUÁNDO Y DÓNDE EL TRIBUNAL DECIDIRÁ SI APRUEBA EL ACUERDO?

El Tribunal ha programado una Audiencia de Aprobación Final (también conocida como
“Audiencia de Equidad”) para determinar si el Tribunal debe aprobar el Acuerdo como justo,
razonable y suficiente para el Colectivo, y si el Fallo debe presentarse de conformidad con el
Acuerdo. El Tribunal también considerará en la Audiencia de Aprobación Final la solicitud de los
Abogados del Colectivo para la adjudicación de los honorarios de los abogados y el reembolso de

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los gastos, así como la solicitud de los demandantes nombrados para la adjudicación de servicios
por los servicios prestados en nombre del Colectivo.

La Audiencia de Aprobación Final ocurrirá el 12 de enero de 2023, a las 2:30 p.m. a través de Zoom.

No se requiere su asistencia a la Audiencia de Aprobación Final. Sin embargo, puede ser escuchado
oralmente en la audiencia de oposición al Acuerdo propuesto si así lo desea.

También puede registrar una comparecencia a través de un abogado contratado por cuenta propia.
Si no efectúa una comparecencia a través de un abogado y no objeta, los Abogados del Colectivo
lo representarán en la audiencia.

El Tribunal puede retrasar la fecha de la Audiencia de Aprobación Final sin previo aviso a los
miembros del Colectivo del Acuerdo, en cuyo caso la nueva fecha de la Audiencia de Aprobación
Final se publicará en el sitio web del Acuerdo, www.WeedKillerAdSettlement.com.

¿QUÉ SUCEDE SI NO HAGO NADA?

Si no hace nada, no obtendrá dinero del Acuerdo. A menos que se excluya, si se aprueba el
Acuerdo, no podrá iniciar una demanda, continuar con una demanda o ser parte de cualquier otra
demanda contra Monsanto o cualquier Persona Liberada sobre las reclamaciones en este caso o
cualquier otra Reclamación Liberada. Sin embargo, usted conservará cualquier reclamación que
pueda tener contra Monsanto o cualquier otra persona por haber desarrollado cáncer, o cualquier
otro daño personal, como resultado de la exposición a los Productos.

¿CÓMO PUEDO OBTENER MÁS INFORMACIÓN?

La descripción del caso de este Aviso y el Acuerdo es general. Si desea obtener información más
detallada sobre la demanda y el Acuerdo propuesto, o revisar los documentos del Acuerdo y los
alegatos relacionados, puede visitar el sitio web del Acuerdo en www.WeedKillerAdSettlement.com.
Si tiene preguntas adicionales, puede visitar el sitio web del Acuerdo o comunicarse con el
Administrador de Reclamaciones:

Por correo: Gilmore v. Monsanto Co., c/o Postlethwaite & Netterville, P.O. Box 4208, Baton
Rouge, LA 70821

Por correo electrónico: info@WeedKillerAdSettlement.com

Por teléfono (gratuito): 1-833-749-1489

Las actualizaciones serán publicadas en el sitio web del Acuerdo, a medida que la información
sobre el proceso del Acuerdo esté disponible.

Si desea consultar el expediente del Tribunal en este caso, puede hacerlo en
https://pacer.uscourts.gov/file-case/court-cmecf-lookup/court/CANDC, el sitio web de acceso
público del Tribunal.



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NO LLAME NI DIRIJA NINGUNA PREGUNTA SOBRE EL CASO O ACUERDO AL
SECRETARIO DEL TRIBUNAL O A LA JUEZA. ELLOS NO TIENEN PERMITIDO
RESPONDER SUS PREGUNTAS. EL TRIBUNAL NO EXPRESA NINGÚN PUNTO DE
VISTA EN CUANTO A LOS MÉRITOS DE CUALQUIER RECLAMO O DEFENSA
ESTABLECIDOS POR NINGUNA PARTE DE LA CAUSA.

Para más información, visite www.WeedKillerAdSettlement.com o llame al 1-833-749-1489.




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                                   Apéndice 1

           Producto                        Pago anticipado por unidad


 16 oz Weed & Grass Killer Sure                      $1.00
    Shot Foam de Roundup®



 22 onzas. Weed & Grass Killer                       $1.00
 Sure Shot Foam de Roundup®



  24 oz Ready-to-Use Weed &                          $1.00
   Grass Killer de Roundup®

  30 oz Ready-to-Use Weed &                          $1.00
   Grass Killer de Roundup®

 24 oz Roundup® Ready-to-Use                         $1.50
  Poison Ivy Plus Tough Brush
  Killer o Wild Blackberry Plus
       Vine & Brush Killer

24 oz Roundup® Ready-to-Use                          $2.00
Extended Control Weed & Grass
  Killer Plus Weed Preventer


1 gal Ready-to-Use Weed & Grass                      $2.00
  Killer de Roundup® (todos los
         tipos de aplicador)


 0.5 gal (64 onzas) Ready-to-Use                     $2.50
     Weed & Grass Killer de
            Roundup®




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   Roundup® Ready-to-Use                         $2.50
Extended Control Weed & Grass
  Killer Plus Weed Preventer


 1.25 gal Ready-to-Use Weed &                    $2.50
Grass Killer de Roundup® (todos
      los tipos de aplicador)


 5 onzas. Precision Gel Weed &                   $3.00
   Grass Killer de Roundup®



  1 gal Ready-to-Use Extended                    $3.00
Control Weed & Grass Killer Plus
 Weed Preventer de Roundup®


 1 gal Ready-to-Use Poison Ivy                   $3.00
Plus Tough Brush Killer or Wild
 Blackberry Plus Vine & Brush
      Killer de Roundup®

  16 oz Weed & Grass Killer                      $3.50
 Concentrate Plus de Roundup®



1.33 gal Ready-to-Use Poison Ivy                 $3.50
Plus Tough Brush Killer or Wild
  Blackberry Plus Vine & Brush
      Killer de Roundup®

 1.1 gal Ready-to-Use Weed &                     $4.00
Grass Killer de Roundup® (todos
     los tipos de aplicador)




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  32 oz Weed & Grass Killer                      $4.00
 Concentrate Plus de Roundup®



  35.2 oz Weed & Grass Killer                    $4.00
 Concentrate Plus de Roundup®



 1.33 gal Ready-to-Use Weed &                    $4.00
Grass Killer de Roundup® (todos
      los tipos de aplicador)


1.33 gal. Ready-to-Use Extended                  $5.00
Control Weed & Grass Killer Plus
 Weed Preventer de Roundup®
  (todos los tipos de aplicador)

 1.25 gal Ready-to-Use Extended                  $5.00
Control Weed & Grass Killer Plus
  Weed Preventer de Roundup®
   (todos los tipos de aplicador)

  16 oz Concentrate Extended                     $5.50
Control Weed & Grass Killer Plus
 Weed Preventer de Roundup®


 Paquete de 3 de 6 oz Weed &                     $5.50
Grass Killer Concentrate Plus de
           Roundup®


32 oz Concentrate Poison Ivy Plus                $5.50
   Tough Brush Killer or Wild
  Blackberry Plus Vine & Brush
       Killer de Roundup®




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  1.25 gal Ready-to-Use Max                      $6.00
Control 365 de Roundup® (todos
   los tamaños y variedades)


  36.8 oz Weed & Grass Killer                    $6.00
 Concentrate Plus de Roundup®



  40 oz Weed & Grass Killer                      $6.00
 Concentrate Plus de Roundup®



 1.1 gal Ready-to-Use Extended                   $6.00
Control Weed & Grass Killer Plus
 Weed Preventer de Roundup®
  (todos los tipos de aplicador)

  1.33 gal Ready-to-Use Max                      $7.00
Control 365 de Roundup® (todos
   los tamaños y variedades)


   Paquete combinado: 1.33 gal                   $7.50
Roundup® Ready-to-Use Weed &
  Grass Killer y 2x7 oz. Weed &
 Grass Killer Concentrate Plus de
            Roundup®
 0.5 gal (64 oz.) Concentrate Plus               $7.50
     Weed & Grass Killer de
            Roundup®


  32 oz Concentrate Extended                     $8.00
Control Weed & Grass Killer Plus
 Weed Preventer de Roundup®




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32 oz Concentrate Max Control                   $8.50
      365 de Roundup®



 Paquete combinado - 1.33 gal                   $9.00
Ready-to-Use Max Control 365 y
8 oz. de Roundup® Concentrate
 Max Control 365 de Roundup®

 80 oz Weed & Grass Killer                      $9.50
Concentrate Plus de Roundup®



 Paquete combinado - 1.33 gal                   $9.50
 Ready-to-Use Weed and Grass
 Killer de Roundup® y de 8 oz
   Weed & Grass Killer Super
   Concentrate de Roundup®
 Paquete combinado - 1.33 gal                  $10.50
Extended Control Weed & Grass
 Killer Plus Weed Preventer de
Roundup® y 16 oz. Concentrate
Extended Control Weed & Grass
 Killer Plus Weed Preventer de
           Roundup®
  35.2 oz Weed & Grass Killer                  $11.50
Super Concentrate de Roundup®



 Paquete de 2 – 80 oz. Weed &                  $12.50
Grass Killer Concentrate Plus de
           Roundup®


 0.42 gal Weed & Grass Killer                  $14.00
Super Concentrate de Roundup®




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 0.5 gal. (64 oz.) Weed & Grass                 $15.00
   Killer Super Concentrate de
            Roundup®


1 gal Weed & Grass Killer Super                 $21.50
   Concentrate de Roundup®



   2.5 gal. Pro Concentrate de                  $33.00
            Roundup®



  24 oz Ready-to-Use Weed &                      $0.50
     Grass Killer de Ace®



1 gal Ready-to-Use Weed & Grass                  $1.50
         Killer de Ace®



1 gal Ready-to-Use Weed & Grass                  $3.00
Killer con pulverizador operado a
         batería de Ace®


32 oz Concentrate Weed & Grass                   $3.00
        Killer de Ace®



1 gal Concentrate Weed & Grass                   $5.50
        Killer de Ace®




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32 oz Concentrate Weed & Grass                   $1.50
       Killer de HDX®



0.5 gal Concentrate Weed & Grass                 $3.00
         Killer de HDX®



  2.5 gal. Concentrate Weed &                   $12.50
     Grass Killer de HDX®




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                                           Apéndice 2

                             EXENCIÓN DE RECLAMACIONES

Si el Tribunal aprueba el Acuerdo y usted no se ha excluido como se describe anteriormente, estará
sujeto al Acuerdo y se le prohibirá, de manera permanente, demandar a Monsanto u otras entidades
(según se detalla en el Acuerdo) por las reclamaciones eximidas en el Acuerdo. Esto se aplica ya
sea que actualmente conozca la existencia de tales reclamaciones o que no las conozca.

A continuación se encuentran las reclamaciones a las que renunciará:

        A partir de la Fecha de Entrada en Vigencia, se considerará que cada uno de los Miembros
del Colectivo, y por imperio del fallo, habrá liberado, renunciado y eximido para siempre, y se
habrá comprometido a no demandar, a las Partes Eximidas de todas y cada una de las
Reclamaciones (con la excepción de las Reclamaciones por Daños Personales y las Reclamaciones
por Supervisión Médica), ya sean conocidas o desconocidas, maduradas o no maduradas,
declaradas o no declaradas, latentes o patentes, en derecho o en equidad, existentes bajo la ley
federal o estatal, independientemente de la teoría legal o la reparación reclamada, que cualquier
Miembro del Colectivo tenga o pueda tener en el futuro contra cualquier Parte Exonerada que surja
de o esté relacionada de alguna manera con los mismos fundamentos de hecho que la Acción,
incluyendo:

           o cualquier declaración supuestamente falsa, engañosa, incompleta o inexacta, o
             cualquier supuesta omisión, con respecto a la supuesta carcinogenicidad, toxicidad,
             genotoxicidad, efectos endocrinos perturbadores o cualquier otro supuesto efecto
             sobre la salud de los Productos o cualquier ingrediente o componente de los
             mismos, incluidos, entre otros, el glifosato (ya sea que dicha declaración o supuesta
             omisión con respecto a un ingrediente o componente de los mismos se haga
             específicamente con respecto a los Productos, con respecto al ingrediente o
             componente del mismo por separado, o con respecto a otros productos), o cualquier
             declaración científica o debate sobre el mismo;

           o cualquier presunto incumplimiento de contrato o incumplimiento de garantía que
             surja de o esté relacionado con la supuesta carcinogenicidad, toxicidad,
             genotoxicidad, efectos disruptores endocrinos o cualquier otro supuesto efecto
             sobre la salud de los Productos o cualquier ingrediente o componente de los
             mismos, incluidos, entre otros, el glifosato, o cualquier afirmación científica o
             debate con respecto al mismo; o

           o cualquier otra supuesta pérdida o lesión económica (que no sean las pérdidas o
             lesiones económicas incluidas en las definiciones de Reclamaciones por Lesiones
             Personales o Reclamaciones de Monitoreo Médico) supuestamente sufrida o
             infligida a cualquier Miembro de la Clase debido a o relacionada con la supuesta
             carcinogenicidad, toxicidad, genotoxicidad, efectos disruptivos endocrinos o
             cualquier otro supuesto efecto sobre la salud de los Productos o cualquier
             ingrediente o componente de los mismos, incluyendo, pero no limitado a, glifosato,
             o cualquier afirmación científica o debate con respecto al mismo.

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Colectivamente, lo anterior son “Reclamaciones Emitidas en Clase”. Para evitar dudas, este
comunicado no libera ningún Reclamo por Lesiones Personales o Reclamos de Monitoreo Médico.
En la medida en que cualquier acción o procedimiento incluya tanto Reclamaciones por Daños
Personales o Reclamaciones por Monitoreo Médico como Reclamaciones que, de otro modo,
serían eximidas por este Acuerdo, las Reclamaciones por Daños Personales y/o las Reclamaciones
por Monitoreo Médico no se considerarán eximidas, pero sí las otras Reclamaciones. A modo de
ejemplo, si un Miembro de la Clase presentó una acción afirmando que compró y usó productos
Roundup® que no advirtieron sobre un supuesto riesgo de linfoma no Hodgkin y que esto les causó
desarrollar linfoma no Hodgkin, y trató de recuperar daños por su lesión física, por salarios
perdidos y por facturas médicas, ni esa Reclamación por Lesiones Personales ni los daños
relacionados (incluidos los daños económicos, como salarios perdidos o facturas médicas) serían
liberados por este Acuerdo. Para evitar más dudas, esta exención se aplicará a las Reclamaciones
(que no sean Reclamaciones por Lesiones Personales y Reclamaciones de Monitoreo Médico) que
surjan de, resulten de, o de alguna manera relacionadas con o en relación con la compra o el uso
de los Productos por parte de un Miembro de la Clase en el pasado, presente o futuro.

“Reclamaciones” significa reclamaciones pasadas, presentes y futuras, reconvenciones, acciones,
derechos, recursos, causas de acción, responsabilidades, demandas, demandas, daños, pérdidas,
pagos, sentencias, veredictos, deudas, cuotas, sumas de dinero, gravámenes, costos y gastos
(incluidos, entre otros, honorarios y costos de abogados), cuentas, ajustes de cuentas, facturas,
convenios, contratos, controversias, acuerdos, obligaciones o promesas, incluyendo cualquiera de
los anteriores para una reparación equitativa o cautelar, daños directos, daños indirectos, daños
consecuentes, daños incidentales, daños punitivos o ejemplares, daños o sanciones múltiples
legales y de otro tipo, o cualquier otra forma de daños o alivio de cualquier tipo, y ya sea basado
en incumplimiento de contrato, garantía o pacto, agravio, negligencia, responsabilidad estricta,
negligencia grave, imprudencia, conducta deliberada o sin sentido, malicia, opresión, desprecio
consciente, responsabilidad solidaria, garantía, contribución, reembolso, subrogación,
indemnización, defecto, falta de advertencia, culpa, tergiversación, fraude de derecho
consuetudinario, fraude legal al consumidor, quantum meruit, incumplimiento del deber fiduciario,
violación de estatutos o reglamentos administrativos, y / o cualquier otro legal (incluido el derecho
consuetudinario), extranjero, estatutario, equitativo u otra teoría o derecho de acción, ya sea en la
ley o en la equidad, fijo, contingente o no contingente, conocido o desconocido, descubierto o no
descubierto, sospechoso o insospechado, previsto o imprevisto, maduro o no maduro, devengado
o no vencido, madurado o no madurado, perfeccionado o no perfeccionado, elegido o incoado,
desarrollado o no desarrollado, liquidado o no liquidado, ahora reconocido por la ley o que pueda
ser creado o reconocido en el futuro por ley, reglamento o decisión judicial o de cualquier otra
manera, y ya sea de naturaleza directa, representativa, derivada, de clase o individual, en cualquier
foro que cualquier Persona haya tenido, tenga o pueda tener en el futuro.

“Reclamaciones de monitoreo médico” significará Reclamaciones que buscan requerir, o recuperar
daños que ascienden a los costos de, monitoreo médico o detección de posibles lesiones físicas o
enfermedades de una persona física. Se contempla expresamente que una causa de acción podría
incluir tanto Reclamaciones que son Reclamaciones de Monitoreo Médico como Reclamaciones
que no son Reclamaciones de Monitoreo Médico.

“Monsanto” significa Monsanto Company y Bayer AG y todos y cada uno de sus respectivos
pasados, presentes o futuros, directos o indirectos, predecesores, sucesores, matrices, subsidiarias,

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afiliadas y divisiones; y cualquier funcionario pasado, presente o futuro, director, accionista,
propietario, empleado, socio, fideicomisario, representante, agente, sirviente, asegurador,
abogado, predecesor, sucesor o cesionario de cualquiera de los anteriores.

“Reclamaciones por lesiones personales” significará Reclamaciones que hacen valer el derecho a
recuperar daños por la lesión física o enfermedad real de una persona física o que buscan recuperar
daños compensatorios, punitivos o ejemplares, o honorarios de abogados, presuntamente
resultantes o derivados de la lesión física o enfermedad real de una persona física, incluyendo, por
ejemplo, reclamaciones por dolor o sufrimiento mental o físico; daño emocional o mental; pérdida
del disfrute de la vida; pérdida de salarios, ingresos, ganancias o capacidad de ganancia; gastos
médicos; facturas de médicos, hospitales, enfermería o medicamentos; pérdida de apoyo, servicios,
consorcio, compañerismo, sociedad o afecto; daños a las relaciones familiares; y muerte por
negligencia y acciones de supervivencia. Se contempla expresamente que una causa de acción
podría incluir tanto Reclamaciones que son Reclamaciones por Daños Personales como
Reclamaciones que no son Reclamaciones por Daños Personales.

“Partes relacionadas” significa los fabricantes pasados, presentes y futuros, formuladores,
distribuidores, agentes de marketing, comisionistas, revendedores, minoristas, investigadores
clínicos, agentes, licenciatarios, contratistas, empresas conjuntas, empresas conjuntas y
consultores de o con respecto a los Productos, y todos y cada uno de los proveedores pasados,
presentes o futuros de materiales, componentes y servicios utilizados en el desarrollo, registro,
formulación, fabricación, distribución, manejo, venta o comercialización de los Productos,
incluido el etiquetado y empaquetado de los mismos, y todos y cada uno de sus respectivos
pasados, presentes o futuros, directos o indirectos, predecesores, sucesores, matrices, subsidiarias,
Afiliadas, divisiones, empresas conjuntas y empresas conjuntas; y cualquier funcionario pasado,
presente o futuro, director, accionista, propietario, empleado, socio, fideicomisario, representante,
agente, sirviente, asegurador, abogado, predecesor, sucesor o cesionario de cualquiera de los
anteriores.

“Personas Eximidas” significa, respectivamente, Monsanto; Scotts; cualquier distribuidor y/o
minorista de los Productos; Partes Relacionadas; cualquier Persona que actualmente, en el futuro
o en el pasado, comercialice, anuncie, distribuya, venda o revenda los Productos y cualquier
empresa matriz pasada, actual o futura (incluidas las matrices intermedias y las matrices finales) y
filiales, afiliados, predecesores, sucesores y cesionarios, y cada uno de sus respectivos
funcionarios, directores, empleados, agentes, miembros, franquiciados, franquiciadores, abogados,
aseguradores, accionistas, representantes, herederos, administradores, albaceas, sucesores y
cesionarios pasados, presentes o futuros; y cualquier otra persona que actúe en nombre de
Monsanto, Scotts o cualquier otra Persona Eximida.

“Minoristas” significa cualquier persona o entidad que haya ofrecido, ofrezca actualmente o pueda
ofrecer en el futuro los Productos para su venta o reventa (incluyendo, sin limitación, los
distribuidores mayoristas, los distribuidores de marca propia y todos los minoristas y distribuidores
minoristas), y todos y cada uno de sus respectivos predecesores, sucesores, matrices, subsidiarias,
filiales y divisiones pasadas, presentes o futuras, directas o indirectas; y cualquier funcionario,
director, accionista, propietario, empleado, socio, fideicomisario, representante, agente, servidor,
asegurador, abogado, predecesor, sucesor o cesionario de cualquiera de los anteriores.
“Minoristas” incluirá, pero no se limita a, Ace Hardware Corporation; Costco Wholesale

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Corporation; Home Depot U.S.A., Inc.; The Home Depot, Inc.; Lowe’s Companies, Inc.; Lowe’s
Home Centers, LLC; Target Corporation; Walmart Inc. y Wal-Mart Stores, Inc, y todos y cada uno
de sus respectivos predecesores, sucesores, matrices, filiales, afiliados y divisiones pasadas,
presentes o futuras, directas o indirectas; y cualquier funcionario, director, accionista, propietario,
empleado, socio, fiduciario, representante, agente, servidor, asegurador, abogado, predecesor,
sucesor o cesionario de cualquiera de los anteriores.



Además, se considerará que cada Miembro de la Clase ha renunciado y renunciado a los derechos
y beneficios disponibles para ellos bajo la sección 1542 del Código Civil de California.
La Sección 1542 estipula:

       “Una exención general no se extiende a las reclamaciones que el acreedor no sabe o
       sospecha que existen a su favor en el momento de ejecutar la exención, la cual, de ser
       conocida, debe haber afectado materialmente su acuerdo con el deudor.”

A pesar de la Sección 1542 del Código Civil de California o de cualquier otro estatuto federal o
estatal o precepto de ley de efecto similar, este Acuerdo tendrá plena vigencia y efecto de acuerdo
con todos y cada uno de sus términos y disposiciones expresados, incluidos los relacionados con
cualquier reclamación, responsabilidad, demanda o fundamento de la demanda ya sea desconocido
o no sospechado, que se basen, surjan o estén relacionadas de alguna manera con la Acción.




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                                   Apéndice 3

Lista de Períodos de la Demanda Colectiva Aplicables para Cada Estado o Territorio


                  Estado o Territorio          Comienzo del período
                                                      de clase
              Alabama                         Febrero 2017
              Alaska                          Febrero 2017
              Samoa Americana                 Febrero 2018
              Arizona                         Febrero 2017
              Arkansas                        Febrero 2016
              California                      Agosto 2015
              Colorado                        Febrero 2018
              Connecticut                     Febrero 2016
              Delaware                        Febrero 2017
              Distrito de Columbia            Febrero 2017
              Florida                         Febrero 2016
              Georgia                         Octubre 2016
              Guam                            Agosto 2016
              Hawái                           Febrero 2017
              Idaho                           Febrero 2017
              Illinois                        Febrero 2017
              Indiana                         Febrero 2017
              Iowa                            Febrero 2017
              Kansas                          Diciembre 2015
              Kentucky                        Febrero 2017
              Luisiana                        Febrero 2017
              Maine                           Febrero 2015
              Maryland                        Agosto 2016
              Massachusetts                   Octubre 2016
              Michigan                        Octubre 2014
              Minesota                        Diciembre 2013
              Misisipi                        Febrero 2015
              Misuri                          Agosto 2014
              Montana                         Febrero 2017
              Nebraska                        Febrero 2017
              Nevada                          Octubre 2016
              Nueva Hampshire                 Febrero 2017
              Nueva Jersey                    Noviembre 2014
              Nuevo México                    Febrero 2017
              Nueva York                      Junio 2011
              Carolina del Norte              Febrero 2017
              Dakota del Norte                Febrero 2015
              Islas Marianas del Norte        Febrero 2015


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                Estado o Territorio         Comienzo del período
                                                   de clase
             Ohio                          Febrero 2017
             Oklahoma                      Noviembre 2015
             Oregón                        Noviembre 2015
             Pensilvania                   Febrero 2015
             Puerto Rico                   Diciembre 2019
             Rhode Island                  Febrero 2017
             Carolina del Sur              Febrero 2015
             Dakota del Sur                Febrero 2017
             Tennessee                     Febrero 2017
             Texas                         Marzo 2016
             Utah                          Febrero 2016
             Vermont                       Noviembre 2013
             Islas Vírgenes                Febrero 2015
             Virginia                      Septiembre 2016
             Washington                    Febrero 2017
             Virginia Occidental           Febrero 2017
             Wisconsin                     Febrero 2015
             Wyoming                       Febrero 2017




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Gilmore v. Monsanto Company                                                                      Your Claim Form Must Be
c/o Postlethwaite & Netterville
PO Box 4208
                                                                                                  Submitted On or Before
Baton Rouge, LA 70821                                                                                  10/19/2022

                                Gilmore et al. v. Monsanto Company et al.
               United States District Court for the Northern District of California (Case No. 3:21-cv-8159)

                                                  CLAIM FORM INSTRUCTIONS
Please follow the instructions below to file a claim for any purchases you made of certain Roundup®, HDX®, or Ace® brand glyphosate based
weed-killer products (the “Roundup Products”). A complete list of eligible Products is available in Appendix A of this Claim Form.

TO RECEIVE BENEFITS FROM THIS SETTLEMENT, YOU MUST PROVIDE ALL OF THE REQUIRED (*) INFORMATION BELOW AND YOU MUST
SIGN THIS CLAIM FORM. THIS CLAIM FORM SHOULD ONLY BE USED IF A CLAIM IS BEING MAILED IN AND IS NOT BEING FILED ONLINE.
YOU MAY ALSO FILE YOUR CLAIM ONLINE AT www.WeedKillerAdSettlement.com.

  CLASS MEMBERS WILL RETAIN THEIR RIGHT TO SUE IF THEY CURRENTLY HAVE, OR LATER DEVELOP, CANCER OR ANY OTHER
                              ILLNESS OR INJURY FROM EXPOSURE TO THE PRODUCTS

Section I: Claimant Information
    1.   Claimant Information: Complete all fields in Section I. Please be sure to only enter one letter/character in each box as needed.

Section II: Purchase History
General Instructions: Before entering your purchase details in Section II, please review the product code table in Appendix A on page 3 of
this Claim Form and the purchase location and threshold values on page 4 of this Claim Form. Detailed instructions regarding these two tables
are included below.

    2.   Find Your Product Code in Appendix A of this Claim Form: A list of all eligible products is included in Appendix A on page 3 of
         this Claim Form. Review these products carefully to identify each product you purchased and use the four-digit Product Code when
         you enter your purchases in Section II.
    3.   Determine Your Eligible Purchase (Class) Period: To determine if your purchases were made during the eligible purchase period
         for this settlement, please refer to Appendix B on page 4 of this Claim Form. You will first need to locate the state(s) where your
         purchases were made, then review the Eligible Purchase Period for those states to determine if your purchases were made in the
         eligible purchase period. If you claim any purchases prior to the start of the eligible purchase period, those purchases will be deemed
         ineligible and not approved for recovery within this settlement.
    4.   Enter Purchase History Details: Once you have reviewed the eligible purchase period and Product Code(s) for your purchases, you
         must enter the details for each purchase you made for eligible product(s). For each purchase transaction, you must enter the name
         of the retail location where the purchase was made, the city and state where the retailer was located, the year the purchase was
         made, the quantity purchased, and the Product Code related to the product you purchased. Repeat this step for each purchase
         transaction you are claiming. An example has been included in Section II to assist you.
    5.   Provide Supporting Documentation: You must provide documentation showing proof of purchase if you are:
              a. claiming purchases of 1 Gal. Roundup® Weed and Grass Killer Super Concentrate, 2.5 Gal. Roundup® Pro Concentrate,
                   and/or 2.5 Gal. HDX® Weed & Grass Killer Concentrate will require reasonable proof of purchase; OR
              b. claiming more than 1 purchase a year per household for any of the other eligible Products during the eligible class period
                   based on the state of purchase.

         The total allowable purchases that can be claimed without providing documentation are listed in Appendix B on page 4 of this claim
         form. If you exceed the limits outlined within Appendix B, you must provide copies of documentation supporting each purchase
         claimed on this claim form. If the documentation provided does not adequately support the quantity of purchases claimed, you may be
         required to provide additional information or your claim may be reduced or denied by the Claims Administrator. Please include copies
         of the supporting documentation along with completed claim form that is mailed to the Claims Administrator.

Section III: Certification
    6.   Sign and Submit Your Claim Form: Once you have completed Sections I and II of this claim form, you must sign and date the
         certification section of this Claim Form for your claim to be valid. After you have completed this step, you must return the completed
         Claim Form to the Claims Administrator at the address located at the top of this page. Your claim must be postmarked no later
         than October 19, 2022.
                                                Please keep a copy of your Claim Form for your records.




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                 Gilmore et al. v. Monsanto Company et al.
                   United States District Court for the Northern District of California (Case No. 3:21-cv-8159)

                                                                   CLAIM FORM
                                                 CLAIM SUBMISSION DEADLINE: 10/19/2022
                                                  Section I: Claimant Information

    First Name*



    Last Name*                                                                                                                                   Suffix



    Mailing Address: Street Address/P.O. Box (include Apartment/Suite/Floor Number)*



    City*                                                                                                              State*           Zip Code*



    Email Address*

(                  )                 ‐
    Current Phone Number

    Were the Roundup Products you purchased primarily used at the address indicated above?
    If No, please provide the address where the products were primarily used below.                                                 Yes          No


    Address Where Products Were Primarily Used



    City                                                                                                                   State        Zip Code

                                                      Section II: Purchase History
    Provide the following information regarding purchases of Roundup Products you made during the Class Period.

    Supporting Documentation Requirements: Absent actual proof of purchase, claims are limited to a maximum of one (1) Product
    for each year or partial year within the Class Period. However, all claims purchases of 1 Gal. Roundup® Weed and Grass Killer Super
    Concentrate, 2.5 Gal. Roundup® Pro Concentrate, and/or 2.5 Gal. HDX® Weed & Grass Killer Concentrate will require reasonable
    proof of purchase. There are no purchase limits for products for which Proof of Purchase is provided. See Appendix B on page 4 of
    this claim form for additional information on product purchase limits.

                                                                                                        Product               Year of
            Retail Location of                 State of                                                  Code*               Purchase*        Quantity
               Purchase*                      Purchase*            City of Purchase*                   (Appendix A)          (Appendix B)    Purchased*

    Ex. Home Depot                                C A         Sacramento                              U 0 2 4               2 0 1 7                0 2

     1

     2

     3

     4

     5
                   If more space is necessary, you may also attach a separate sheet or complete your claim form online.

                                                       Section III: Certification
I declare, under penalty of perjury, that all of the information on this claim form is true and correct to the best of my knowledge. I understand that
                                        my claim from may be subject to audit, verification, and Court review.



      Signature*:

             Date*:             /            /

                       FOR MORE INFORMATION, VISIT www.WeedKillerAdSettlement.com or CALL 1‐833‐749‐1489
         *It is your responsibility to notify the Claims Administrator of any changes to your contact information after the submission of your Claim Form.




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                            Appendix A
                                            Product Codes
Sample Images   Product Code                                                 Product Description

                   G005                                        5 oz. Roundup® Precision Gel Weed and Grass Killer
                   F016                                     16 oz. Roundup® Weed and Grass Killer Sure Shot Foam
                   F022                                     22 oz. Roundup® Weed and Grass Killer Sure Shot Foam
                   U024                                      24 oz. Roundup® Ready-to-Use Weed and Grass Killer
                   U030                                      30 oz. Roundup® Ready-to-Use Weed and Grass Killer
                   U064                                  0.5 gal. (64 oz.) Roundup® Ready-to-Use Weed and Grass Killer
                   U128                            1 gal. Roundup® Ready-to-Use Weed and Grass Killer (all applicator types)
                   U140                            1.1 gal. Roundup® Ready-to-Use Weed & Grass Killer (all applicator types)
                   U160                           1.25 gal. Roundup® Ready-to-Use Weed and Grass Killer (all applicator types)
                   U170                            1.33 gal. Roundup® Ready-to-Use Weed & Grass Killer (all applicator types)

                   E024                    24 oz. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer

                   E032                     32 oz. Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer

                   E064                0.5 gal. (64 oz.) Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer

                   E128                    1 gal. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer

                   E140         1.1 gal. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer (all applicator types)

                   E160         1.25 gal. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer (all applicator types)

                   E170         1.33 gal. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer (all applicator types)

                   CE16                     16 oz. Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer
                                  Combination pack – 1.33 gal. Roundup® Extended Control Weed & Grass Killer Plus Weed Preventer and 16 oz.
                   CP16
                                              Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer.

                   P024           24 oz. Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer or Wild Blackberry Plus Vine & Brush Killer


                   P032            32 oz. Roundup® Concentrate Poison Ivy Plus Tough Brush Killer or Wild Blackberry Plus Vine & Brush Killer


                   P128           1 gal. Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer or Wild Blackberry Plus Vine & Brush Killer


                   P170          1.33 gal. Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer or Wild Blackberry Plus Vine & Brush Killer

                   M032                                          32 oz. Roundup® Concentrate Max Control 365
                   M160                             1.25 gal. Roundup® Ready-to-Use Max Control 365 (all applicator types)
                   M170                             1.33 gal. Roundup® Ready-to-Use Max Control 365 (all applicator types)
                               Combination pack – 1.33 gal. Roundup® Ready-to-Use Max Control 365 and 8 oz. Roundup® Concentrate Max Control
                   CP8C
                                                                                   365.
                   C306                                  3-pack – 6 oz. Roundup® Weed & Grass Killer Concentrate Plus
                   C016                                      16 oz. Roundup® Weed & Grass Killer Concentrate Plus
                   C032                                     32 oz. Roundup® Weed and Grass Killer Concentrate Plus
                   C035                                    35.2 oz. Roundup® Weed and Grass Killer Concentrate Plus
                   C036                                     36.8 oz. Roundup® Weed & Grass Killer Concentrate Plus
                   C040                                      40 oz. Roundup® Weed & Grass Killer Concentrate Plus
                   C064                                 0.5 gal. (64 oz.) Roundup® Concentrate Plus Weed & Grass Killer
                   C080                                      80 oz. Roundup® Weed & Grass Killer Concentrate Plus
                   C280                                 2-pack – 80 oz. Roundup® Weed & Grass Killer Concentrate Plus
                               Combination Pack – 1.33 gal Roundup® Ready-to-Use Weed & Grass Killer and 2x7 oz. Roundup® Weed & Grass Killer
                   CP27
                                                                             Concentrate Plus
                   C320                                                2.5 gal. Roundup® Pro Concentrate
                               Combination Pack – 1.33 gal. Roundup® Ready-to-Use Weed & Grass Killer and 8 oz. Roundup® Weed & Grass Killer
                   CP8S
                                                                            Super Concentrate
                   S035                                    35.2 oz. Roundup® Weed & Grass Killer Super Concentrate
                   S053                                    0.42 gal. Roundup® Weed & Grass Killer Super Concentrate
                   S064                                0.5 gal. (64 oz.) Roundup® Weed & Grass Killer Super Concentrate
                   S128                                     1 gal. Roundup® Weed & Grass Killer Super Concentrate
                   A024                                          24 oz. Ace® Ready-to-Use Weed & Grass Killer
                   A032                                           32 oz. Ace® Concentrate Weed & Grass Killer
                   A128                                           1 gal. Ace® Ready-to-Use Weed & Grass Killer
                   A901                           1 gal. Ace® Ready-to-Use Weed & Grass Killer with battery-operated sprayer
                   A800                                           1 gal. Ace® Concentrate Weed & Grass Killer
                   H032                                           32 oz. HDX® Concentrate Weed & Grass Killer
                   H064                                          0.5 gal. HDX® Concentrate Weed & Grass Killer
                   H320                                           2.5 gal. HDX Concentrate Weed & Grass Killer


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                                        Appendix B
          Eligible Purchase (Class) Periods and Proof of Purchase Requirements
                                                                                                 Maximum Units Eligible without
                                                                                                      Proof of Purchase*
  State or Territory of            State                                                        (See Note below for list of Roundup Products
         Purchase               Abbreviation          Eligible Purchase (Class) Period                that require proof of purchase)
          Alabama                   AL                     February 2017 - Present                                   6
            Alaska                  AK                     February 2017 - Present                                   6
     American Samoa                 AS                     February 2018 - Present                                   5
          Arizona                   AZ                     February 2017 - Present                                   6
         Arkansas                   AR                     February 2016 - Present                                   7
         California                 CA                      August 2015 - Present                                    8
          Colorado                  CO                     February 2018 - Present                                   5
        Connecticut                 CT                     February 2016 - Present                                   7
         Delaware                   DE                     February 2017 - Present                                   6
   District of Columbia             DC                     February 2017 - Present                                   6
           Florida                  FL                     February 2016 - Present                                   7
           Georgia                  GA                      October 2016 - Present                                   6
            Guam                    GU                      August 2016 - Present                                    7
           Hawaii                   HI                     February 2017 - Present                                   6
            Idaho                   ID                     February 2017 - Present                                   6
           Illinois                  IL                    February 2017 - Present                                   6
           Indiana                  IN                     February 2017 - Present                                   6
             Iowa                   IA                     February 2017 - Present                                   6
           Kansas                   KS                     December 2015 - Present                                   7
         Kentucky                   KY                     February 2017 - Present                                   6
         Louisiana                  LA                     February 2017 - Present                                   6
            Maine                   ME                     February 2015 - Present                                   8
         Maryland                   MD                      August 2016 - Present                                    7
      Massachusetts                 MA                      October 2016 - Present                                   6
          Michigan                  MI                      October 2014 - Present                                   8
         Minnesota                  MN                     December 2013 - Present                                   9
        Mississippi                 MS                     February 2015 - Present                                   8
          Missouri                  MO                      August 2014 - Present                                    9
          Montana                   MT                     February 2017 - Present                                   6
         Nebraska                   NE                     February 2017 - Present                                   6
           Nevada                   NV                      October 2016 - Present                                   6
     New Hampshire                  NH                     February 2017 - Present                                   6
        New Jersey                  NJ                    November 2014 - Present                                    8
        New Mexico                  NM                     February 2017 - Present                                   6
         New York                   NY                        June 2011 - Present                                   12
      North Carolina                NC                     February 2017 - Present                                   6
       North Dakota                 ND                     February 2015 - Present                                   8
 Northern Mariana Islands           MP                     February 2015 - Present                                   8
             Ohio                   OH                     February 2017 - Present                                   6
         Oklahoma                   OK                    November 2015 - Present                                    7
           Oregon                   OR                    November 2015 - Present                                    7
       Pennsylvania                 PA                     February 2015 - Present                                   8
        Puerto Rico                 PR                     December 2019 - Present                                   3
       Rhode Island                 RI                     February 2017 - Present                                   6
      South Carolina                SC                     February 2015 - Present                                   8
       South Dakota                 SD                     February 2017 - Present                                   6
         Tennessee                  TN                     February 2017 - Present                                   6
            Texas                   TX                       March 2016 - Present                                    7
             Utah                   UT                     February 2016 - Present                                   7
          Vermont                   VT                    November 2013 - Present                                    9
      Virgin Islands                 VI                    February 2015 - Present                                   8
          Virginia                  VA                    September 2016 - Present                                   6
        Washington                  WA                     February 2017 - Present                                   6
      West Virginia                 WV                     February 2017 - Present                                   6
         Wisconsin                  WI                     February 2015 - Present                                   8
         Wyoming                    WY                     February 2017 - Present                                   6
* Note : All claimed purchases of 1 Gal. Roundup® Weed and Grass Killer Super Concentrate, 2.5 Gal. Roundup® Pro Concentrate, and/or 2.5
Gal. HDX® Weed & Grass Killer Concentrate will require reasonable proof of purchase.


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Gilmore v. Monsanto Company                                                                Su formulario de reclamo debe ser
c/o Postlethwaite & Netterville
PO Box 4208
                                                                                               presentado a más tardar el
Baton Rouge, LA 70821                                                                                19/10/2022

                                Gilmore et al. v. Monsanto Company et al.
         Tribunal de Distrito de los Estados Unidos para el Distrito Norte de California (Caso n.º 3:21-cv-8159)

                                INSTRUCCIONES DEL FORMULARIO DE RECLAMACIÓN
Siga las instrucciones a continuación para presentar un reclamo por cualquier compra que haya realizado de ciertos productos herbicidas a
base de glifosato de la marca Roundup®, HDX® o Ace® (los “Productos Roundup”). Una lista completa de productos elegibles está disponible
en el Apéndice A de este Formulario de Reclamación.

PARA RECIBIR LOS BENEFICIOS DE ESTE ACUERDO, DEBERÁ INDICAR TODA LA INFORMACIÓN REQUERIDA (*) A CONTINUACIÓN Y DEBERÁ
FIRMAR ESTE FORMULARIO DE RECLAMACIÓN. DEBE USAR ESTE FORMULARIO DE RECLAMACIÓN SOLO SI ENVIARÁ POR CORREO SU
RECLAMACIÓN Y NO LA PRESENTARÁ EN LÍNEA. USTED TAMBIÉN PUEDE PRESENTAR SU RECLAMO EN LÍNEA EN
www.WeedKillerAdSettlement.com.

LOS MIEMBROS DE LA CLASE CONSERVARÁN SU DRECHO A DEMANDAR SI, ACTULAMENTE, TIENEN, O MÁS TARDE DESARROLLAN,
         CÁNCER O CUALQUIER OTRA ENFERMEDAD O LESIÓN DERIVADA DE LA EXPOSICI´ÑON A LOS PRODUCTOS.

Sección I: Información del Demandante
    1.   Información del Demandante: Complete todos los campos en la Sección I. Asegúrese de ingresar solo una letra/carácter en cada
         casilla según sea necesario.

Sección II: Historial de Compras
Instrucciones generales: Antes de ingresar los detalles de su compra en la Sección II, revise la tabla de códigos de productos en el Apéndice A
en la página 3 de este Formulario de Reclamación y la ubicación de la compra y los valores de umbral en la página 4 de este Formulario de
Reclamación. Las instrucciones detalladas referentes a estas dos tablas se incluyen a continuación.

    2.   Encuentre su Código de Producto en el Apéndice A de este Formulario de Reclamación: se incluye una lista de todos los productos
         elegibles en el Apéndice A en la página 3 de este Formulario de Reclamación. Revise estos productos cuidadosamente para identificar
         cada producto que usted compró y use el Código de Producto de cuatro dígitos cuando ingrese sus compras en la Sección II.
    3.   Determine su Período de Compra (Colectivo) elegible: Para determinar si sus compras se realizaron durante el período de
         compra elegible para este Acuerdo, consulte el Apéndice B en la página 4 de este Formulario de Reclamación. Primero deberá ubicar
         los estados donde se realizaron sus compras, luego revisar el Período de Compra Elegible para esos estados a fin de determinar si
         sus compras se realizaron en el período de compra elegible. Si reclama alguna compra previa al inicio del período de compra elegible,
         esas compras se considerarán no elegibles y no se aprobarán para su restitución dentro de este Acuerdo.
    4.   Ingrese los detalles del historial de compras: Una vez que haya revisado el período de compra elegible y los Códigos de Productos
         para sus compras, debe ingresar los detalles de cada compra que realizó para los productos elegibles. Para cada transacción de compra,
         debe ingresar el nombre de la ubicación del comercio minorista donde se realizó la compra, la ciudad y el estado donde se encontraba
         el minorista, el año en que se realizó la compra, la cantidad comprada y el Código de Producto relacionado con el producto que compró.
         Repita este paso para cada transacción de compra que está reclamando. Se ha incluido un ejemplo en la Sección II para ayudarle.
    5.   Brinde documentación de respaldo: debe proporcionar documentación que muestre un comprobante de compra si está:
              a. reclamando compras de 1 Gal. Weed & Grass Killer Super Concentrate de Roundup®, 2.5 gal. Pro Concentrate de
                   Roundup®, y/o 2.5 gal. Weed & Grass Killer Concentrate de HDX® requerirá una prueba razonable de compra, O
              b. reclamar más de 1 compra al año por hogar para cualquiera de los otros productos elegibles durante el período de la
                   demanda elegible según el estado de compra.

         El total de compras permisibles que se pueden reclamar sin proporcionar documentación se enumeran en el Apéndice B en la
         página 4 de este Formulario de Reclamación. Si excede los límites descritos en el Apéndice B, debe proporcionar copias de
         la documentación que respalda cada compra reclamada en este Formulario de Reclamación. Si la documentación proporcionada no
         respalda adecuadamente la cantidad de compras reclamadas, es posible que se le solicite que proporcione información adicional o el
         Administrador de Reclamaciones puede reducir o rechazar su reclamación. Incluya copias de la documentación de respaldo junto con
         el Formulario de Reclamación completo que se envía por correo al Administrador de Reclamaciones.

Sección III: Certificación
    6.   Firme y envíe su Formulario de Reclamación: una vez que haya completado las Secciones I y II de este Formulario de Reclamación, debe
         firmar y fechar la sección de certificación de este Formulario de Reclamación para que su reclamación sea válida. Luego de completar este
         paso, debe devolver el Formulario de Reclamación completo al Administrador de la Reclamación a la dirección que se encuentra en la parte
         superior de esta página. Su reclamación debe ser enviada con sello postal a más tardar el 19 de octubre de 2022.
                                       Conserve una copia de su Formulario de Reclamación para sus registros.



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                                              Gilmore et al. v. Monsanto Company et al.
                 Tribunal de Distrito de los Estados Unidos para el Distrito Norte de California (Caso n.º 3:21-cv-8159)

                                                      FORMULARIO DE RECLAMO
                                           FECHA LÍMITE DE PRESENTACIÓN DE RECLAMOS: 19/10/2022
                                               Sección I: Información del Demandante

    Primer nombre*



    Apellido*                                                                                                                                          Sufijo



    Dirección postal: dirección/P.O. Box (incluya el número de apartamento/oficina/piso)



    Ciudad*                                                                                                                Estado*             Código postal*



    Dirección de correo electrónico*

(                  )                   ‐
    Número de teléfono actual

    ¿Los productos Roundup® que compró se utilizaron principalmente en la dirección indicada
    anteriormente? Si su respuesta es No, brinde la dirección donde se utilizaron principalmente los
                                                                                                                                          Sí           No
    productos a continuación.


    Dirección donde se usaron principalmente los productos



    Ciudad                                                                                                                     Estado          Código postal

                                                      Sección II: Historial de Compras
    Proporcione la siguiente información referente a las compras deproductos Roundup® que realizó durante el Período de la Demanda
    Colectiva.

    Requisitos de documentación de respaldo: A falta de prueba de compra real, las reclamaciones se limitan a un máximo de un (1) Producto
    por cada año o año parcial dentro del Período de la Clase. Sin embargo, todas las reclamaciones de compras de 1 Gal. Weed & Grass Killer Super
    Concentrate de Roundup®, 2.5 gal. Pro Concentrate de Roundup®, y/o 2.5 gal. Weed & Grass Killer Concentrate de HDX® requerirá una prueba
    razonable de compra. No hay límites de compra para productos para los cuales se proporciona un Comprobante de Compra. Consulte el
    Apéndice B en la página 4 de este Formulariode Reclamación paraobtener información adicional sobre los límites de compra de productos.



         Ubicación del Comercio                                                                            Producto                   Año de
             Minorista de la                  Estado de la                                                  Código*                  compra*         Cantidad
                Compra*                        Compra*             Ciudad de la Compra*                    (Apéndice A)           (Apéndice B)      Comprada*

    Ej. Home Depósito                             C    A       Sacramento                                U 0       2   4         2    0   1     7       0       2

     1

     2

     3

     4

     5


         Si necesita espacio adicional, también puede adjuntar una hoja separada o completar su Formulario de Reclamación en línea.

                                                           Sección III: Certificación
Declaro, bajo pena de perjurio, que toda la información en este Formulario de Reclamación es auténtica y correcta a mi leal saber y entender. Entiendo que mi
                                  reclamación puede estar sujeta a auditoría, verificación y revisión por parte del Tribunal.



              Firma*:

              Fecha*:           /             /

                   PARA OBTENER MÁS INFORMACIÓN, VISITE www.WeedKillerAdSettlement.com o LLAME AL 1‐833‐749‐1489
      *Es su responsabilidad notificar al Administrador de la Reclamación sobre cualquier cambio en su información de contacto después de enviar su Formulario de
                                                                              Reclamación.




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                                                 Apéndice A
                                             Códigos de Producto
                      Código de
Imágenes de Muestra                                                              Descripción del producto
                      Producto
                        G005                                         5 oz. Roundup® Precision Gel Weed and Grass Killer
                        F016                                       16 oz. Roundup® Weed and Grass Killer Sure Shot Foam
                        F022                                       22 oz. Roundup® Weed and Grass Killer Sure Shot Foam
                        U024                                        24 oz. Roundup® Ready-to-Use Weed and Grass Killer
                        U030                                        30 oz. Roundup® Ready-to-Use Weed and Grass Killer
                        U064                                    0.5 gal. (64 oz.) Roundup® Ready-to-Use Weed and Grass Killer
                        U128                         1 gal. Roundup® Ready-to-Use Weed and Grass Killer (todos los tipos de aplocadores)
                        U140                         1.1 gal. Roundup® Ready-to-Use Weed & Grass Killer (todos los tipos de aplocadores)
                        U160                       1.25 gal. Roundup® Ready-to-Use Weed and Grass Killer (todos los tipos de aplocadores)
                        U170                        1.33 gal. Roundup® Ready-to-Use Weed & Grass Killer (todos los tipos de aplocadores)

                        E024                      24 oz. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer

                        E032                       32 oz. Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer

                        E064                  0.5 gal. (64 oz.) Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer

                        E128                      1 gal. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer

                        E140      1.1 gal. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer (todos los tipos de aplocadores)

                        E160      1.25 gal. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer (todos los tipos de aplocadores)

                        E170      1.33 gal. Roundup® Ready-to-Use Extended Control Weed & Grass Killer Plus Weed Preventer (todos los tipos de aplocadores)

                        CE16                       16 oz. Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer
                                   Combination pack – 1.33 gal. Roundup® Extended Control Weed & Grass Killer Plus Weed Preventer and 16 oz. Roundup®
                        CP16
                                                           Concentrate Extended Control Weed & Grass Killer Plus Weed Preventer.

                        P024             24 oz. Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer or Wild Blackberry Plus Vine & Brush Killer


                        P032              32 oz. Roundup® Concentrate Poison Ivy Plus Tough Brush Killer or Wild Blackberry Plus Vine & Brush Killer


                        P128             1 gal. Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer or Wild Blackberry Plus Vine & Brush Killer


                        P170            1.33 gal. Roundup® Ready-to-Use Poison Ivy Plus Tough Brush Killer or Wild Blackberry Plus Vine & Brush Killer

                        M032                                            32 oz. Roundup® Concentrate Max Control 365
                        M160                          1.25 gal. Roundup® Ready-to-Use Max Control 365 (todos los tipos de aplocadores)
                        M170                          1.33 gal. Roundup® Ready-to-Use Max Control 365 (todos los tipos de aplocadores)

                        CP8C       Combination pack – 1.33 gal. Roundup® Ready-to-Use Max Control 365 and 8 oz. Roundup® Concentrate Max Control 365.

                        C306                                    3-pack – 6 oz. Roundup® Weed & Grass Killer Concentrate Plus
                        C016                                        16 oz. Roundup® Weed & Grass Killer Concentrate Plus
                        C032                                       32 oz. Roundup® Weed and Grass Killer Concentrate Plus
                        C035                                      35.2 oz. Roundup® Weed and Grass Killer Concentrate Plus
                        C036                                       36.8 oz. Roundup® Weed & Grass Killer Concentrate Plus
                        C040                                        40 oz. Roundup® Weed & Grass Killer Concentrate Plus
                        C064                                   0.5 gal. (64 oz.) Roundup® Concentrate Plus Weed & Grass Killer
                        C080                                        80 oz. Roundup® Weed & Grass Killer Concentrate Plus
                        C280                                   2-pack – 80 oz. Roundup® Weed & Grass Killer Concentrate Plus
                                     Combination Pack – 1.33 gal Roundup® Ready-to-Use Weed & Grass Killer and 2x7 oz. Roundup® Weed & Grass Killer
                        CP27
                                                                                   Concentrate Plus
                        C320                                                 2.5 gal. Roundup® Pro Concentrate
                                   Combination Pack – 1.33 gal. Roundup® Ready-to-Use Weed & Grass Killer and 8 oz. Roundup® Weed & Grass Killer Super
                        CP8S
                                                                                      Concentrate
                        S035                                      35.2 oz. Roundup® Weed & Grass Killer Super Concentrate
                        S053                                      0.42 gal. Roundup® Weed & Grass Killer Super Concentrate
                        S064                                  0.5 gal. (64 oz.) Roundup® Weed & Grass Killer Super Concentrate
                        S128                                       1 gal. Roundup® Weed & Grass Killer Super Concentrate
                        A024                                            24 oz. Ace® Ready-to-Use Weed & Grass Killer
                        A032                                             32 oz. Ace® Concentrate Weed & Grass Killer
                        A128                                            1 gal. Ace® Ready-to-Use Weed & Grass Killer
                        A901                             1 gal. Ace® Ready-to-Use Weed & Grass Killer with battery-operated sprayer
                        A800                                             1 gal. Ace® Concentrate Weed & Grass Killer
                        H032                                            32 oz. HDX® Concentrate Weed & Grass Killer
                        H064                                            0.5 gal. HDX® Concentrate Weed & Grass Killer
                        H320                                             2.5 gal. HDX Concentrate Weed & Grass Killer




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                                  Apéndice B
Períodos de Compra (de la Demanda Colectiva) Elegibles y Requisitos de Comprobante
                                   de Compra
                                                                                                 Unidades máximas elegibles sin
                                                                                                   comprobante de compra*
                                                                                                  (Consulte la Nota a continuación para
Estado o Territorio de la Abraviatura del Período de Compra (de la Demanda                       obtener una lista de productos Roundup
          compra              Estado               Colectiva) Elegible                              que requieren prueba de compra)
          Alabama               AL              Febrero 2017 - Actualidad                                          6
            Alaska              AK              Febrero 2017 - Actualidad                                          6
     Samoa Americana            AS              Febrero 2018 - Actualidad                                          5
           Arizona              AZ              Febrero 2017 - Actualidad                                          6
          Arkansas              AR              Febrero 2016 - Actualidad                                          7
         California             CA              Agosto 2015 - Actualidad                                           8
          Colorado              CO              Febrero 2018 - Actualidad                                          5
        Connecticut             CT              Febrero 2016 - Actualidad                                          7
          Delaware              DE              Febrero 2017 - Actualidad                                          6
   Distrito de Columbia         DC              Febrero 2017 - Actualidad                                          6
           Florida              FL              Febrero 2016 - Actualidad                                          7
           Georgia              GA              Octubre 2016 - Actualidad                                          6
            Guam                GU              Agosto 2016 - Actualidad                                           7
           Hawaii               HI              Febrero 2017 - Actualidad                                          6
            Idaho               ID              Febrero 2017 - Actualidad                                          6
           Illinois             IL              Febrero 2017 - Actualidad                                          6
           Indiana              IN              Febrero 2017 - Actualidad                                          6
             Iowa               IA              Febrero 2017 - Actualidad                                          6
           Kansas               KS             Diciembre 2015 - Actualidad                                         7
          Kentucky              KY              Febrero 2017 - Actualidad                                          6
         Louisiana              LA              Febrero 2017 - Actualidad                                          6
            Maine               ME              Febrero 2015 - Actualidad                                          8
          Maryland              MD              Agosto 2016 - Actualidad                                           7
       Massachusetts            MA              Octubre 2016 - Actualidad                                          6
          Michigan              MI              Octubre 2014 - Actualidad                                          8
         Minnesota             MN              Diciembre 2013 - Actualidad                                         9
         Mississippi            MS              Febrero 2015 - Actualidad                                          8
          Missouri              MO              Agosto 2014 - Actualidad                                           9
          Montana               MT              Febrero 2017 - Actualidad                                          6
          Nebraska              NE              Febrero 2017 - Actualidad                                          6
           Nevada               NV              Octubre 2016 - Actualidad                                          6
      New Hampshire             NH              Febrero 2017 - Actualidad                                          6
        Nueva Jersey            NJ            Noviembre 2014 - Actualidad                                          8
       Nuevo Mexico            NM               Febrero 2017 - Actualidad                                          6
        Nueva York              NY               Junio 2011 - Actualidad                                          12
    Carolina del Norte          NC              Febrero 2017 - Actualidad                                          6
     Dakota del Norte           ND              Febrero 2015 - Actualidad                                          8
 Islas Marianas del Norte       MP              Febrero 2015 - Actualidad                                          8
             Ohio               OH              Febrero 2017 - Actualidad                                          6
         Oklahoma               OK            Noviembre 2015 - Actualidad                                          7
           Oregon               OR            Noviembre 2015 - Actualidad                                          7
       Pennsylvania             PA              Febrero 2015 - Actualidad                                          8
        Puerto Rico             PR             Diciembre 2019 - Actualidad                                         3
       Rhode Island             RI              Febrero 2017 - Actualidad                                          6
      Carolina del Sur          SC              Febrero 2015 - Actualidad                                          8
      Dakota del Sur            SD              Febrero 2017 - Actualidad                                          6
         Tennessee              TN              Febrero 2017 - Actualidad                                          6
            Texas               TX               Marzo 2016 - Actualidad                                           7
             Utah               UT              Febrero 2016 - Actualidad                                          7
          Vermont               VT            Noviembre 2013 - Actualidad                                          9
       Islas Vírgenes           VI              Febrero 2015 - Actualidad                                          8
           Virginia             VA            Septiembre 2016 - Actualidad                                         6
        Washington             WA               Febrero 2017 - Actualidad                                          6
    Virginia Occidental        WV               Febrero 2017 - Actualidad                                          6
         Wisconsin              WI              Febrero 2015 - Actualidad                                          8
         Wyoming               WY               Febrero 2017 - Actualidad                                          6
* Nota : Todas las compras reclamadas de 1 Gal. Weed & Grass Killer Super Concentrate de Roundup®, 2.5 gal. Pro Concentrate de
Roundup®, y/o 2.5 gal. Weed & Grass Killer Concentrate de HDX® requerirá una prueba razonable de compra.




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                                assurance – consulting – tax – technology

                                                                pncpa.com




Exhibit J: Claims by Product type
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Claims By Product (as of November 28, 2022)
Scott Gilmore et al. v. Monsanto Company, et al. No.3:21‐cv‐8159 (N.D. Cal.)

                                     Product                                            Per‐Unit Payment       Total Products Claimed (#)     Value of Claims   Products Approved to Date (#)    Products Approved to Date (#)

0.42 gal. Roundup® Weed & Grass Killer Super Concentrate                                     $14.00                                  58,153      $814,142.00                            55,940             $783,160.00
0.5 gal. (64 oz.) Roundup® Concentrate Plus Weed & Grass Killer                              $7.50                                   19,881      $149,107.50                            19,021             $142,657.50
0.5 gal. (64 oz.) Roundup® Ready‐to‐Use Extended Control Weed & Grass Killer Plus            $2.50                                    5,262       $13,155.00                             4,451             $11,127.50
Weed Preventer
0.5 gal. (64 oz.) Roundup® Ready‐to‐Use Weed and Grass Killer                                $2.50                                   19,606      $49,015.00                             16,883             $42,207.50
0.5 gal. (64 oz.) Roundup® Weed & Grass Killer Super Concentrate                             $15.00                                 493,034     $7,395,510.00                          491,007            $7,365,105.00
0.5 gal. HDX® Concentrate Weed & Grass Killer                                                $3.00                                    5,447      $16,341.00                              4,533             $13,599.00
1 gal. Ace® Concentrate Weed & Grass Killer                                                  $5.50                                    6,551      $36,030.50                              5,300             $29,150.00
1 gal. Ace® Ready‐to‐Use Weed & Grass Killer                                                 $1.50                                    2,158       $3,237.00                              1,520              $2,280.00
1 gal. Ace® Ready‐to‐Use Weed & Grass Killer with battery‐operated sprayer                   $3.00                                    3,996      $11,988.00                              3,185              $9,555.00
1 gal. Roundup® Ready‐to‐Use Extended Control Weed & Grass Killer Plus Weed                  $3.00                                    9,521      $28,563.00                              8,313             $24,939.00
Preventer
1 gal. Roundup® Ready‐to‐Use Poison Ivy Plus Tough Brush Killer or Wild Blackberry            $3.00                                   3,051       $9,153.00                              2,546              $7,638.00
Plus Vine & Brush Killer
1 gal. Roundup® Ready‐to‐Use Weed and Grass Killer (all applicator types)                    $2.00                                   24,835       $49,670.00                            21,547             $43,094.00
1 gal. Roundup® Weed & Grass Killer Super Concentrate                                        $21.50                                  12,297      $264,385.50                               ‐                 $0.00
1.1 gal. Roundup® Ready‐to‐Use Extended Control Weed & Grass Killer Plus Weed                $6.00                                   12,760       $76,560.00                            11,299             $67,794.00
Preventer (all applicator types)
1.1 gal. Roundup® Ready‐to‐Use Weed & Grass Killer (all applicator types)                     $4.00                                  24,870      $99,480.00                             21,238             $84,952.00
1.25 gal. Roundup® Ready‐to‐Use Extended Control Weed & Grass Killer Plus Weed                $5.00                                   7,323      $36,615.00                              6,200             $31,000.00
Preventer (all applicator types)
1.25 gal. Roundup® Ready‐to‐Use Max Control 365 (all applicator types)                        $6.00                                  16,932      $101,592.00                            15,998             $95,988.00
1.25 gal. Roundup® Ready‐to‐Use Weed and Grass Killer (all applicator types)                  $2.50                                   8,309       $20,772.50                             6,857             $17,142.50
1.33 gal. Roundup® Ready‐to‐Use Extended Control Weed & Grass Killer Plus Weed                $5.00                                  12,499       $62,495.00                            10,289             $51,445.00
Preventer (all applicator types)
1.33 gal. Roundup® Ready‐to‐Use Max Control 365 (all applicator types)                        $7.00                                  28,244      $197,708.00                            26,682             $186,774.00
1.33 gal. Roundup® Ready‐to‐Use Poison Ivy Plus Tough Brush Killer or Wild Blackberry         $3.50                                   4,726       $16,541.00                             3,752             $13,132.00
Plus Vine & Brush Killer
1.33 gal. Roundup® Ready‐to‐Use Weed & Grass Killer (all applicator types)                    $4.00                                  36,218      $144,872.00                            30,059             $120,236.00
16 oz. Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed                    $5.50                                   5,711       $31,410.50                             4,961             $27,285.50
Preventer
16 oz. Roundup® Weed & Grass Killer Concentrate Plus                                         $3.50                                    1,864       $6,524.00                              1,648              $5,768.00
16 oz. Roundup® Weed and Grass Killer Sure Shot Foam                                         $1.00                                   17,303      $17,303.00                             13,863             $13,863.00
2.5 gal. HDX® Concentrate Weed & Grass Killer                                                $12.50                                   7,476      $93,450.00                                ‐                  $0.00
2.5 gal. Roundup® Pro Concentrate                                                            $33.00                                  35,929     $1,185,657.00                              ‐                  $0.00
22 oz. Roundup® Weed and Grass Killer Sure Shot Foam                                         $1.00                                   15,375      $15,375.00                             12,537             $12,537.00
24 oz. Ace® Ready‐to‐Use Weed & Grass Killer                                                 $0.50                                    1,223        $611.50                                 911               $455.50
24 oz. Roundup® Ready‐to‐Use Extended Control Weed & Grass Killer Plus Weed                  $2.00                                    6,276      $12,552.00                              5,370             $10,740.00
Preventer
24 oz. Roundup® Ready‐to‐Use Poison Ivy Plus Tough Brush Killer or Wild Blackberry            $1.50                                   2,065       $3,097.50                              1,676              $2,514.00
Plus Vine & Brush Killer
24 oz. Roundup® Ready‐to‐Use Weed and Grass Killer                                           $1.00                                   21,107       $21,107.00                            17,604             $17,604.00
2‐pack – 80 oz. Roundup® Weed & Grass Killer Concentrate Plus                                $12.50                                  47,974      $599,675.00                            46,067             $575,837.50
30 oz. Roundup® Ready‐to‐Use Weed and Grass Killer                                           $1.00                                   17,656       $17,656.00                            14,434             $14,434.00
32 oz. Ace® Concentrate Weed & Grass Killer                                                  $3.00                                    2,665       $7,995.00                              2,256              $6,768.00
32 oz. HDX® Concentrate Weed & Grass Killer                                                  $1.50                                    3,045       $4,567.50                              2,566              $3,849.00
32 oz. Roundup® Concentrate Extended Control Weed & Grass Killer Plus Weed                   $8.00                                   61,915      $495,320.00                            57,288             $458,304.00
Preventer
32 oz. Roundup® Concentrate Max Control 365                                                   $8.50                                  20,536      $174,556.00                            19,255             $163,667.50
32 oz. Roundup® Concentrate Poison Ivy Plus Tough Brush Killer or Wild Blackberry             $5.50                                   7,390       $40,645.00                             5,771             $31,740.50
Plus Vine & Brush Killer
32 oz. Roundup® Weed and Grass Killer Concentrate Plus                                       $4.00                                    4,193       $16,772.00                             3,789             $15,156.00
35.2 oz. Roundup® Weed & Grass Killer Super Concentrate                                      $11.50                                  31,106      $357,719.00                            29,824             $342,976.00
35.2 oz. Roundup® Weed and Grass Killer Concentrate Plus                                     $4.00                                    2,175       $8,700.00                              1,894              $7,576.00
36.8 oz. Roundup® Weed & Grass Killer Concentrate Plus                                       $6.00                                    5,808       $34,848.00                             5,805             $34,830.00
3‐pack – 6 oz. Roundup® Weed & Grass Killer Concentrate Plus                                 $5.50                                    2,319       $12,754.50                             1,991             $10,950.50
40 oz. Roundup® Weed & Grass Killer Concentrate Plus                                         $6.00                                    5,668       $34,008.00                             5,509             $33,054.00
5 oz. Roundup® Precision Gel Weed and Grass Killer                                           $3.00                                   70,581      $211,743.00                            58,465             $175,395.00
80 oz. Roundup® Weed & Grass Killer Concentrate Plus                                         $9.50                                   27,316      $259,502.00                            26,510             $251,845.00
Combination Pack – 1.33 gal Roundup® Ready‐to‐Use Weed & Grass Killer and 2x7 oz.            $7.50                                   18,046      $135,345.00                            17,000             $127,500.00
Roundup® Weed & Grass Killer Concentrate Plus
Combination pack – 1.33 gal. Roundup® Extended Control Weed & Grass Killer Plus              $10.50                                  72,172      $757,806.00                            66,522             $698,481.00
Weed Preventer and 16 oz. Roundup® Concentrate Extended Control Weed & Grass
Killer Plus Weed Preventer
Combination pack – 1.33 gal. Roundup® Ready‐to‐Use Max Control 365 and 8 oz.                  $9.00                                  36,376      $327,384.00                            34,090             $306,810.00
Roundup® Concentrate Max Control 365
Combination Pack – 1.33 gal. Roundup® Ready‐to‐Use Weed & Grass Killer and 8 oz.              $9.50                                  24,216      $230,052.00                            22,883             $217,388.50
Roundup® Weed & Grass Killer Super Concentrate
                                                                                                      Totals                  1,391,159       $14,711,068.50                      1,247,109            $12,710,305.50
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                                assurance – consulting – tax – technology

                                                                pncpa.com




Exhibit K: Exclusions
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                                     Exclusion Requests
             Scott Gilmore et al. v. Monsanto Company, et al. Case No. 3:21‐cv‐8159
Count First Name                     Last Name                       State Postmarked Date
     1 Aaron                         Naparstek                       CA          October 7, 2022
     2 Alfred                        Wilkins                         MD         October 18, 2022
     3 John                          Lysek                           CA          October 7, 2022
     4 Mark                          Endry                           CO         October 17, 2022
     5 Ruby                          Cornejo                         CA          October 7, 2022
     6 Scott                         Koller                          CA          October 7, 2022
     7 Tim                           Ferguson                        CA          October 7, 2022
